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IN THE UNITED STATES DISTRICT COURT OF SOUTH CAROLINA
BARBARA STONE
PLAINTIFF
V
NELSON MULLINS RILEY & SCARBOROUGH LLP
1320 MAIN STREET – 17TH FLOOR
COLUMBIA, SC 29201
JAMES K. LEHMAN, INDIVIDUALLY AND IN HIS CAPACITY AS MANAGING
PARTNER AND A SHAREHOLDER WITH NELSON MULLINS RILEY &
SCARBOROUGH LLP AND NELSON MULLINS BROAD AND CASSEL LLP
1320 MAIN STREET -17TH FLOOR
COLUMBIA, SC 29201
WILLIAM C. HUBBARD, INDIVIDUALLY AND IN HIS CAPACITY AS A
SHAREHOLDER WITH NELSON MULLINS RILEY & SCARBOROUGH LLP AND
NELSON MULLINS BROAD AND CASSEL LLP
1320 MAIN STREET -17TH FLOOR
COLUMBIA, SC 29201
GEORGE B. WOLFE, INDIVIDUALLY AND IN HIS CAPACITY AS A SHAREHOLDER
WITH NELSON MULLINS RILEY & SCARBOROUGH LLP AND NELSON MULLINS
BROAD AND CASSEL LLP
1320 MAIN STREET - 17TH FLOOR
COLUMBIA, SC 29201
TREY GOWDY, INDIVIDUALLY AND IN HIS CAPACITY AS A SHAREHOLDER WITH
NELSON MULLINS RILEY & SCARBOROUGH LLP AND NELSON MULLINS BROAD
AND CASSEL LLP
POINSETT PLAZA -104 SOUTH MAIN STREET - SUITE 900
GREENVILLE, SC 29601
DAVID WILKINS, INDIVIDUALLY AND IN HIS CAPACITY AS A SHAREHOLDER
WITH NELSON MULLINS RILEY & SCARBOROUGH LLP AND NELSON MULLINS
BROAD AND CASSEL LLP
POINSETT PLAZA - 104 SOUTH MAIN STREET - SUITE 900
GREENVILLE, SC 29601
MARK F. RAYMOND, INDIVIDUALLY AND IN HIS CAPACITY AS A SHAREHOLDER
WITH NELSON MULLINS BROAD AND CASSEL LLP AND NELSON MULLINS RILEY
& SCARBOROUGH LLP
2 SOUTH BISCAYNE BLVD.21ST FLOOR
MIAMI, FL 33131
CARL ROSEN, INDIVIDUALLY AND IN HIS CAPACITY AS A SHAREHOLDER WITH
NELSON MULLINS BROAD AND CASSELL LLP AND NELSON MULLINS RILEY &
SCARBOROUGH LLP
LYNN FINANCIAL CENTER - 1905 NW CORPORATE BLVD - SUITE 310
BOCA RATON, FL 33431

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DOUGLAS E. STARCHER, INDIVIDUALLY AND IN HIS CAPACITY AS MANAGING
PARTNER AND A SHAREHOLDER WITH NELSON MULLINS BROAD AND CASSEL
LLP AND NELSON MULLINS RILEY & SCARBOROUGH LLP
390 NORTH ORANGE AVENUE SUITE 1400
ORLANDO, FL 32801
C. DAVID BROWN, II, INDIVIDUALLY AND IN HIS CAPACITY AS MANAGING
PARTNER AND A SHAREHOLDER WITH NELSON MULLINS BROAD AND CASSEL
LLP AND NELSON MULLINS RILEY & SCARBOROUGH LLP
390 NORTH ORANGE AVENUE SUITE 1400
ORLANDO, FL 32801
RONALD DESANTIS, INDIVIDUALLY AND IN HIS CAPACITY AS GOVERNOR OF
THE STATE OF FLORIDA
THE CAPITOL
400 SOUTH MONROE STREET
TALLAHASSEE, FL 32399-0001
ASHLEY MOODY, INDIVIDUALLY AND IN HER CAPACITY AS ATTORNEY
GENERAL OF THE STATE OF FLORIDA
THE CAPITOL – PLAZA LEVEL – 01
400 SOUTH MONROE STREET
TALLAHASSEE, FL 32399-1630
ALAN STONE
1261 HAYES STREET
HOLLYWOOD, FL 33019
WILLIAM ELMORE, INDIVIDUALLY AND IN HIS CAPACITY AS A MANAGER AND
INVESTMENT ADVISOR WITH OPPENHEIMER AND CO.
100 NE 3RD AVE – 5TH FLOOR
FT LAUDERDALE, FL 33301
OPPENHEIMER HOLDINGS INC.
125 BROAD STREET
NEW YORK, NY
OPPENHEIMER & CO. INC.
85 BROAD ST
NEW YORK, NY 10004
ALBERT G. LOWENTHAL, INDIVIDUALLY AND IN HIS CAPACITY AS CEO AND A
DIRECTOR OF OPPENHEIMER HOLDINGS, INC.
85 BROAD STREET
NEW YORK, NY 10004
CAROL-LISA PHILLIPS, INDIVIDUALLY AND IN HER CAPACITY AS A JUDGE IN
THE BROWARD COUNTY COURT
201 S.E. 6TH STREET # WW15127
FT. LAUDERDALE, FL 33301

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MILTON HIRSCH, INDIVIDUALLY AND IN HIS CAPACITY AS A JUDGE IN THE
DADE COUNTY COURT
175 N.W. 1ST AVENUE – CHC 1131
MIAMI, FL 33128

JIMMY PATRONIS, INDIVIDUALLY AND IN HIS CAPACITY AS FLORIDA’S CHIEF
FINANCIAL OFFICER
FLORIDA RISK MANAGEMENT FUND
200 EAST GAINES STREET
TALLAHASSEE, FL 32399-0336
DEFENDANTS
AND
JOINDER PLAINTIFFS
ROBERT SARHAN
AND
LESA M. MARTINO
V
RONALD DESANTIS, INDIVIDUALLY AND IN HIS CAPACITY AS GOVERNOR OF
THE STATE OF FLORIDA
THE CAPITOL - 400 SOUTH MONROE STREET
TALLAHASSEE, FL 32399-0001
AND
ASHLEY MOODY, INDIVIDUALLY AND IN HER CAPACITY AS ATTORNEY
GENERAL OF THE STATE OF FLORIDA
THE CAPITOL – PLAZA LEVEL – 01 - 400 SOUTH MONROE STREET
TALLAHASSEE, FL 32399-1630
DEFENDANTS
(Defendants Ron Desantis and Ashley Moody are collectively referred to as the “Florida Public
State Actor Defendants”)



                                       COMPLAINT
A.     DEMAND FOR JURY TRIAL
B.     DEMAND FOR EN BANC PANEL OF ARTICLE III JUDGES
C.     NO CONSENT AND OBJECTION TO ANY MAGISTRATE JUDGE
D.     PLAINTIFFS DEMAND THE JUDICIAL PANEL ORDER THE INTERVENTION OF THIS
       IN THIS ACTION BY THE F.B.I. AND D.O.J.




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                            URGENT MATTERS FOR JUDICIAL NOTICE

I.    THIS UNPRECEDENTED CASE IS THE SINGLEMOST URGENT AND IMPORTANT
               MATTER IN AMERICA AND AN URGENT WAKE-UP CALL TO
                 AN ORGANIZED RACKETEERING ENTERPRISE WHERE
                PROBATE COURT JUDGES, ATTORNEYS AND GUARDIANS
            ARE RULING COMPETENT SENIOR CITIZENS INCAPACITATED TO
                  STRIP THEM OF THEIR CIVIL AND HUMAN RIGHTS
                           SO THEY CAN’T FIGHT BACK;
                      THEN STEALING THEIR ENTIRE ESTATES:
           LIFE SAVINGS; GENERATION OF ASSETS; 401KS; SOCIAL SECURITY;
              PENSION FUNDS; JEWELRY; ART; CARS; HOMES; INVESTMENTS
                AND ONCE THEIR ASSETS ARE EMBEZZLED AND STOLEN,
                            THESE VULNERABLE ADULTS
             ARE PUT ON HIGH DOSES OF TOXIC PSYCHOTROPIC MEDICATION
                       TO CAUSE THEIR SUDDEN CARDIAC DEATH

     THIS IS A PANDEMIC CRISES, A NATIONAL DISASTER THAT SURPASSES CORONA

                         A. THE FUNDAMENTAL AND ELEMENTARY
                      LEGAL TENETS AND FACTS ARE SUMMARIZED HEREIN
                                    FOR THIS COURT AND THE PUBLIC TO
                      TAKE NOTICE OF THE WELL KNOWN AND DOCUMENTED
           LAWLESS, CORRUPT AND ILLEGAL STATE OF AFFAIRS OF AMERICA’S
                         JUDICIAL, LEGISLATIVE AND EXECUTIVE OFFICES
     1. This lawsuit is rooted in, describes and exposes what is unquestionably the most important issue
        of the century in this country and the world… the top to bottom lawless American
        government that infects all branches – judicial, legislative and executive. 1

       1
        Bharara Sees 'Pervasive' Corruption - WSJ / www.wsj.com/articles/SB...
       Mr. Bharara, the top federal prosecutor in Manhattan, said a series of corruption cases has convinced him that
       wrongdoing is "downright pervasive" in New York politics. He compared a parade of ...
       The Tragic Reality of the World's Biggest Corrupt Legal ...
       A question of public corruption and pervasive racketeering ...
       judicialcouncilwatcher.com/2011/01/25/a-question...
       Jan 25, 2011 · Members of groups or organizations acting in concert to violate the law present a grave threat to
       society, especially when members of such an organization stand in judgment over the rest of the populace.
       www.jail4judges.org/J.A.I.L._News_Journals/2008/2008-05...
       The tragic reality of the world's biggest corrupt legal system America's rigged courts, bribed judges, fake and phony
       trials, extortion by lawyers, and over 2.2 million prisoners in the USA gulag. Right now, about 1 out of every 45
       working age males in the US are BEHIND BARS inside the US empire - Many of those millions of US prisoners are

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2. Plaintiffs are victims of crimes and massive human rights violations being committed in
   organized crime rackets taking place in state and federal courts by lawless corrupt state and
   federal judges and attorneys in collusion with other state and federal government officials.
3. In many states including Florida, the only result when legal redress is sought is that the seeking
   party such as Plaintiffs is subjected to vicious retaliation on the order of hate crimes.
4. Thus Plaintiffs cannot address their individual matters and must unite in a global effort to seek
   relief as they are subjected to a raging storm of corruption by their individual efforts.
5. The unrelenting corruption2 that has infested the State and Federal Courts of the United States
   of America has become so explosive it has been acknowledged and exposed by even judges
   themselves, many who are responsible for breeding the corruption beast and using the courts as
   an organized crime racket.
6. Justice John M. Molloy, formerly in the Supreme Court of Arizona, authored a book: “The
   Fraternity: Lawyers and Judges in Collusion3 exposing the tsunami of corruption. Excerpts:
       Disturbing evolution: Our Constitution intended that only elected lawmakers be permitted
       to create law. Yet judges create their own law in the judicial system based on their own
       opinions and rulings. It’s called case law, and it is churned out daily through the rulings of
       judges. When a judge hands down a ruling and that ruling survives appeal with the next tier
       of judges, it then becomes case law, or legal precedent. This now happens so consistently
       that we’ve become more subject to the case rulings of judges rather than to laws made by
       the lawmaking bodies outlined in our Constitution. This case-law system is a constitutional
       nightmare as it continuously modifies Constitutional intent.
       Lawyer domination: When a lawyer puts on a robe and takes the bench, he or she is called
       a judge. But in reality, when judges look down from the bench they are lawyers looking

  Americans view U.S. government as increasingly corrupt ...
  sunlightfoundation.com/2017/12/12/americans-view...
  Dec 12, 2017 · 44% of Americans believe that corruption is pervasive in the White House, up from 36 per cent in
  2016. Almost 7 out of 10 people believe the government is failing to fight corruption, up from half in 2016. Close to
  a third of African-Americans surveyed see the police as highly corrupt, compared to a fifth across the survey overall.
  2
    http://alegaldictionary.com/corruption/ What is CORRUPTION
  Illegality; a vicious and fraudulent intention to evade the prohibitions of the law. The act of an official or fiduciary
  person who unlawfully and wrongfully uses his station or character to procure some benefit for himself or for
  another person, contrary to duty and the rights of others. U. S. v. Johnson (C. C.) 20 Fed. 082; State v. Ragsdale. 59
  Mo. App. 003; Wight v. Rindskopf, 43 Wis. 351; Worsham v. Murchison, 00 Ga. 719; U. S. v. Edwards (C. C.) 43
  Fed. 07.
  https://dictionary.thelaw.com/corruption/
  Illegality; a vicious and fraudulent intention to evade the prohibitions of the law. The act of an ofilclal or fiduciary
  person who unlawfully and wrongfully uses his station or character to procure some benefit for himself or for
  another person, contrary to duty and the rights of others.
  3 The Fraternity: Lawyers and Judges in Collusion: John ... /
  www.amazon.com/Fraternity-Lawyers-Judges...
  The Fraternity: Lawyers and Judges in Collusion [John Fitzgerald Molloy] on Amazon.com. *FREE* shipping on
  qualifying offers. As lawyer and judge for half a century, John Fitzgerald Molloy both profited from our legal
  system and saw how it has been altered in favor of lawyers

                                                             5
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       upon fellow members of their fraternity. In any other area of the free-enterprise system,
       this would be seen as a conflict of interest. When a lawyer takes an oath as a judge, it
       merely enhances the ruling class of lawyers and judges.
       Bureaucratic design: Today the skill and gamesmanship of lawyers, not the truth, often
       determine the outcome of a case.
       Surely it’s time to question what has happened to our justice system and to wonder if it
       is possible to return to a system that truly does protect us from wrongs.”
7. The media has exposed that the entire American legal system has become a rotted carcass.4 It
    devours anyone who becomes ensnared therein to loot their assets and destroy their lives.
8. Prominent media organizations, including the U.S. News and Courier have warned the public of
    the corruption in courts throughout the country5 , even South Carolina courts. 6
9. Corrupt public servant legislators collude with their fellow corrupt judicial public servants by
    enacting illegal, unconstitutional legislation replete with devious procedural “loopholes” that
    unlawfully and unconstitutionally provide judges with vast “discretion” to make legal
    interpretations enabling them to make illegal void rulings on the basis of personal
    vendettas/retaliation, political persuasion, often bribes and other diabolical, self serving tactics.
10. Thomas Jefferson expressed his concerns about the pervasive corruption in the Federal courts: 7


  4
   The American Justice System Is Broken | National Review
  www.nationalreview.com/2016/01/american-justice...
  (Nejron/Dreamstime) Two relatively recent articles in respected publications have piercingly reminded me of what a
  rotting carcass much of the American legal system has become. The articles were ...
  U.S. heading toward lawlessness - Washington Times www.washingtontimes.com/news/2017/mar/22/us...
  5
   https://www.globalresearch.ca/america-s-corrupt-legal-system/885
  The Supreme Court’s Bribery-Blessing McDonnell Decision | The ...
  www.newyorker.com/news/amy-davidson/the-supreme...
  Jun 27, 2016 · The Court, in Citizens United and now in McDonnell, has looked upon the worst, most endemically
  corrupt aspects of American politics and enshrined them.
  The Federal Courts Are Running An Online Scam - POLITICO Magazine
  www.politico.com/.../20/pacer-court-records-225821
  Mar 20, 2019 · The Federal Courts Are Running An Online Scam ... In January, I found a search warrant related to a
  wide-ranging investigation into public corruption in the Los Angeles City Council. When I made ...
  https://www.newyorker.com/news/daily-comment/the-supreme-court-gets-ready-to-legalize-corruption
  6
   Probe: SC Magistrate Court System Breeds Untrained Judges ...
  https://www.usnews.com › News › Best States › South Carolina News
  Nov 27, 2019 - An investigation by The Post and Courier and ProPublica found that the South Carolina
  magistrate court system is a breeding ground for untrained judges, corruption and other abuse. ... It says
  magistrates are selected by political appointment and require less hours of training than ...
  Probe: SC magistrate court system breeds untrained judges
  https://apnews.com › ...
  Nov 27, 2019 - ... and Courier and ProPublica found that the South Carolina magistrate court system is a breeding
  ground for untrained judges, corruption and.
  7
    Thomas Jefferson's Warnings on the Federal Judiciary
  famguardian.org/.../History/JeffersonWarning.htm

                                                          6
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    “At the establishment of our constitutions, the judiciary bodies were supposed to be the most
    helpless and harmless members of the government. Experience, however, soon showed in what
    way they were to become the most dangerous; that the insufficiency of the means provided for
    their removal gave them a freehold and irresponsibility in office; that their decisions, seeming to
    concern individual suitors only, pass silent and unheeded by the public at large; that these
    decisions, nevertheless, become law by precedent, sapping, by little and little, the foundations
    of the constitution, and working its change by construction, before any one has perceived that
    that invisible and helpless worm has been busily employed in consuming its substance. In truth,
    man is not made to be trusted for life if secured against all liability to account.” (Letter to A.
    Coray, October 31, 1823)
11. The Federalist Papers make clear the obvious foundation of the Constitution, i.e.:
    COMMONSENSE.8
12. However, the irrational, illogical, preposterous and VOID “rulings” and “orders” by persons
    wearing black robes are glaringly and insultingly nothing more than the rantings of madmen and
    women who are stealing our rights, family, property and liberty under color of law9.
13. The commonsense, fundamental and elementary law – that a party cannot benefit from his
    own criminal acts – is the exact antithesis of lawless judges and attorneys who run organized
    criminal enterprises out of the courthouse.
14. One of the racketeers herein, Roy R. Lustig, is an unindicted felon, having been found guilty of
    felony crimes, including perjury, fraud on the court, repeatedly lying under oath and subverting



  JEFFERSON'S WARNINGS. In 1789 Thomas Jefferson warned that the judiciary if given too much power might
  ruin our REPUBLIC, and destroy our RIGHTS! "The new Constitution has secured these [individual rights] in the
  Executive and Legislative departments: but not in the Judiciary.
  8
    The Federalist Papers - Library of Congress Research Guides
  https://guides.loc.gov › federalist-papers › text-31-40
  Aug 13, 2019 - The Federalist Papers: Primary Documents in American History ... dictates of common-sense, that
  they challenge the assent of a sound and ... the power of making that provision ought to know no other bounds than
  The Federalist Papers Essay 33 Summary and Analysis | GradeSaver
  https://www.gradesaver.com › the-federalist-papers › study-guide › summar...
  Feb 22, 2020 - Hamilton responds that both clauses are common-sense provisions necessary for any functioning
  government. If Congress is entrusted with ...
  Federalist No 83 - The Avalon Project
  https://avalon.law.yale.edu › fed83
  The rules of legal interpretation are rules of COMMONSENSE, adopted by the courts in the construction of the
  laws. The true test, therefore, of a just application of them is its conformity to the source from which they are
  derived.
  9
   Color (law) - Wikipedia /en.wikipedia.org/wiki/Color_(law): Under "color of law," it is a crime for one or more
  persons using power given by a governmental agency (local, state or federal), to deprive or conspire willfully to
  deprive another person of any right protected by the Constitution or laws of the United States.
  Color of law dictionary definition | color of law defined /www.yourdictionary.com/color-of-law
  The conduct of a police officer, judge, or another person clothed with governmental authority that, although it
  superficially appears to be within the individual’s lawful power, is actually in contravention of the law.

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    the courts to achieve his own illegal financial gain by the 3rd DCA in Leo’s Gulf Liquor, 02 So
    2d 337.
15. The court stated in its order it was transferring the matter to the state attorney and the bar for
    criminal investigation and discipline of Roy R. Lustig.
16. So corrupt are Florida courts that it violated its own order to transfer the matter, thereby leaving
    a felon and master racketeer unleashed on the public and Plaintiff Stone and her mother. See
    Article VI. By their willful failure to hold Roy R. Lustig criminally and civilly accountable and
    in violation of their duty to protect under 18 U.S.C 1986, he has masterminded and orchestrated
    a terrorist enterprise of epic proportion involving murder-for-hire, embezzlement, human
    trafficking, forced disappearance and other crimes against humanity perpetrated through and in
    conspiracy with all Defendants.
17. Ironically, in that case, the judges cited Cox v. Burke, 706 So. 2d 43, 47 (Fla. 5th DCA 1998)
    stating elementary law obviously applicable to the entire American legal system: “The integrity
    of the civil litigation process depends on truthful disclosure of facts. A system that depends on
    an adversary’s ability to uncover falsehoods is doomed to failure.”
18. Cox epitomizes “for show only” slogans in Florida courts where courts collude in a mountain of
    fraud, routinely ignore their own orders, violate the law and deliberately obstruct justice.
19. This entire matter is buried under an avalanche of fraud so deep that it permeates and infects the
    whole foundation of the legal system.
20. The modus operandi of the Guardian Human Trafficking/Corruption Racket, a state sponsored
    and Florida’s largest secretive enterprise, is to recruit and assemble the most slime infested
    judges and attorneys and turn them loose, like piranhas on the public.
21. The consensus of its intelligent citizens is “America is an experiment in democracy gone
    irreparably awry” 10
22. Nowhere is the criminal racket taking place in courts more terrifying and heinous than that run
    under the guise of “guardianship” where our parents, older, retired or disabled adults are
    forcibly disappeared11, human trafficked12, embezzled and murdered in a state sanctioned
    organized criminal enterprise” (the “Guardian Human Trafficking/Corruption Racket”).


  10 The End of the American Experiment - Bad Words - Medium

  medium.com/bad-words/the-end-of-the-american...
  It’s safe to say, I think, that the American experiment is at an end. No, America might not be finished as in civil war
  and secession. But it is clearly at an end in three ways. First, to the world, as a serious democracy. Second, to itself,
  as a nation with dignity and self-respect. Third, its potential lies in ruins.
  11
     In international human rights law, a forced disappearance (or enforced disappearance) occurs when a person
  is secretly abducted or imprisoned by a state or political organization or third party with the authorization, support,
  or acquiescence of a state or political organization, followed by a refusal to acknowledge the person's fate and
  whereabouts, with the intent of placing the victim outside the protection of the law. According to the Rome Statute
  of the International Criminal Court, when committed as part of a widespread or systematic attack directed at any
  civilian population, a "forced disappearance" qualifies as a crime against humanity. Often, forced disappearance
  implies murder. The victim in such a case is abducted, illegally detained and often tortured during interrogation, and
  killed, with the body hidden.

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23. Plaintiffs and their families along with millions of other American citizens are being terrorized,
    embezzled and subjected to vicious atrocities by the Guardian Human Trafficking/Corruption
    Racket. All remedy in Florida is futile as this enterprise is protected from top to bottom.
24. THE STATE OF FLORIDA IN COLLUSION WITH AND UNDER THE AUSPICES OF ITS
    GOVERNOR AND ATTORNEY GENERAL, RON DESANTIS AND ASHLEY MOODY IS
    MURDERING ITS CITIZENS AND EMBEZZLING THEIR ASSETS.
25. Plaintiffs are forced to relive this nightmare every minute of every day by being forced to file
    and re-file documents into corrupt courts, ALL OF WHOM protect each other.
26. PLAINTIFFS ARE REPORTING CRIMES IN THE NATURE OF WAR CRIMES
    TAKING PLACE IN OPEN SIGHT13 FOR THE RECORD. IN A TRAVESTY OF
    JUSTICE, THEY ARE FORCED TO FILE CIVIL ACTIONS FOR THESE CRIMINAL
    ACTS AS AMERICA’S LAW ENFORCEMENT AGENCIES ACT IN COLLUSION.
27. The crimes and civil torts set forth herein are glaringly obvious on their face by virtue of this
    Complaint itself, and Plaintiffs have established proof, civilly and criminally:
     1. By preponderance of the evidence;
     2. By clear and convincing evidence;
     3. Beyond a reasonable doubt;
     4. By probable cause.

  12
     Is Elder Guardianship A New Form Of Human Trafficking?
  nasga-stopguardianabuse.blogspot.com/2016/09/is...
  A 2013 AARP report gave a “best guess” estimate of the number of adults under ... within the Florida Department
  of Elder ... a form of human trafficking. On the ...
  https://www.abcactionnews.com/.../they’re-court-appointed-to-protect-the-elderly-but-...Feb 21, 2019 -
   Professional guardians have become a booming industry in Florida, ... They're court-appointed to protect
  the elderly, but who's policing Florida guardians? .... Florida doesn't limit how many people guardians can
  oversee and ...
  America’s Shame: Trafficking Our Elderly | SENIOR LIVING WATCH
  seniorlivingwatch.wordpress.com/2014/01/21/...
  2 thoughts on “ America’s Shame: Trafficking Our Elderly ” cgd1947 January 25, 2016 at 3:13 PM. There is another
  form of elder human traffic that can take place in the elder’s own home.
  Is Elder Guardianship A New Form Of Human Trafficking? | HuffPost Life
  https://www.huffingtonpost.com/dr-terri.../is-elder-guardianship-a-n_b_11970144.ht...
  Sep 13, 2016 - In Florida, there are 5 million people age 60 and older and that ... Yet, seniors who have come to this
  retirement haven are actively being ...
  Elder Guardianship Abuse – www.elderdignity.org / elderdignity.org/elder-guardianship-abuse/
  Doctors – Sign off on the incapacity of the senior and often refers a petitioner to a ... In Florida and Flagler County,
  these predators are allowed to liquidate the senior's ... “Is Elder Guardianship a New Form of Human Trafficking?
  Seniors Stripped Of The Right To Vote; Florida Is A Hotspot | HuffPost ...
  https://www.huffpost.com/entry/seniors-stripped-of-the-r_b_12794608
  Nov 7, 2016 - As explained in "Is Elder Guardianship A New Form Of Human Trafficking?," guardianships are
  supposed to protect older citizens. However ...
  13
    This matter is identical to the collusive acts of the “silent judicial and legal brotherhood” in the Kids for Cash
  organized crime racket but even far more dangerous as millions are murdered and countless lives are destroyed– see
  paragraph 37.

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28. There is NO PLAUSIBLE DENIALITY BY THIS COURT.
29. This Court has a duty under 42 U.S.C. 1986 to protect Plaintiffs from existing, clear and
    present and imminent danger and irreparable harm from crimes against humanity;
    genocide; loss of life, liberty and property; human trafficking; and forced disappearance
    that are state sanctioned, sponsored and orchestrated by all branches of government in the
    state of Florida in collusion with United States federal agencies.
30. In addition, this Court is mandated to report these crimes and this matter to federal law
    enforcement pursuant to judicial ethics and 18 U.S.C. 4.
31. Plaintiffs demand this Court comply with ethical, equitable, moral and fundamental legal
    principles and immediately order the intervention and joinder by law enforcement into
    this matter and criminal investigation.
32. PLAINTIFFS SEEK ZERO TOLERANCE AND WILL CONSIDER THIS
   COURT A PARTY SHOULD THIS MASSIVE CORRUPTION MATTER
   BE    OBSTRUCTED   OR    DETERED    BY    DUPLICITOUS
   “TECHNICAL/PROCEDURAL”    IMPEDIMENTS.   SUCH    ACTS
   CRIMINALLY VIOLATE PLAINTIFF’S RIGHTS AND CONSTITUTE
   ACTS OF TREASON.
       B. MASSIVE HUMAN RIGHTS VIOLATIONS; CRIMES AGAINST HUMANITY;
       SLAVERY AND FORCED LABOR PERPETRATED BY COLOR OF LAW JUDGES;
        THE FLORIDA PUBLIC STATE ACTOR DEFENDANT AND OTHER COLOR OF
            LAW PUBLIC SERVANTS UNDER THE RUSE OF “GUARDIANSHIP”
33. Protection of human rights and adherence to the law is all that distinguishes America from
    barbaric third world governments.
34. However, America does not protect human rights, in fact it likely the worst offender and
    violator of human rights as documented by its failure to sign/ratify even one significant human
    rights treaty. 14
35. It is inconceivable/incomprehensible that in 21st century America, we are terrorized and
   tyrannized by a government that operates as a KLEPTOCRACY 15 and forced to sue in
   a civil court for remedy against organized crime rackets taking place BY the court.

  14
       https://www.jstor.org/stable/29766443?read-now=1&seq=1
  15 Kleptocracy Is on the Rise in America - The Atlantic
  www.theatlantic.com/magazine/archive/2019/03/how...
  Russian-Style Kleptocracy Is Infiltrating America. When the U.S.S.R. collapsed, Washington bet on the global
  spread of democratic capitalist values—and lost.
  Kleptocracy - Wikipedia
  en.wikipedia.org/wiki/Kleptocracy
  Kleptocracy (from Greek κλέπτης kléptēs, "thief", κλέπτω kléptō, "I steal", and -κρατία -kratía from κράτος krátos,
  "power, rule") is a government with corrupt leaders (kleptocrats) that use their power to exploit the people and
  natural resources of their own territory in order to extend their personal wealth and political powers.

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36. This matter originates from the Guardian Human Trafficking/Corruption Racket.
37. The human trafficking of its vulnerable adults has become the biggest business in the murky
    swamp state of Florida that has taken corruption to deranged new heights by preying on and
    stealing the assets of its large population of affluent older and retired adults.
38. This diabolical Florida sponsored human trafficking scam under the ruse of guardianship works
    in two ways:
    a. the state of Florida steals the life savings and home of its vulnerable citizens in a
        manufactured, scam court proceeding; and
    b. it illegally obtains federal funds to fund this criminal racket.
39. Moreover, when this criminal operation is exposed, diabolically, the state of Florida goes back
    to the federal government to seek more funds to “study” the “problem” – thereby perpetrating
    this plague in the pretense of looking for remedy.
40. Has the U.S. government’s transmogrify from a republic and democracy to a government
    sanctioned enterprise of bigotry, discrimination and bribery beyond redemption complete
    as referenced by Judge Dannenberg in a letter to Justice Roberts?
41. The government sponsored human trafficking/ murder-for-hire enterprise operates under the
    auspices, financial sponsorship; and protection of corrupt Governor Ron Desantis (who took pay
    for play to a whole new level complete with a price list); 16 attorney general Ashley Moody;
    their immoral predecessors, Rick Scott, Pam Bondi; the State of Florida and the Federal
    Government who illegally use federal and state money to fund this treasonous racket in criminal
    violation of a host of federal laws including 18 U.S.C.§ 641;17 18 U.S.C.§ 1346; 18 and 18
    U.S.C.§ 134919 under color of law.

  Kleptocracy | Definition of Kleptocracy at Dictionary.com
  www.dictionary.com/browse/kleptocracy
  Kleptocracy definition, a government or state in which those in power exploit national resources and steal; rule by a
  thief or thieves. See more.
  16
     DeSantis has become the most corrupt governor in the U.S. ...
  Sep 26, 2019 - DeSantis has become the most corrupt governor in the U.S., and is ... as that extremely racist guy
  who Florida elected as the state's top official.
  DeSantis has become the most corrupt governor in the U.S ...
  www.dailykos.com/stories/2019/9/26/1887046/...
  Sep 26, 2019 · But he’s so much more than that! While other politicians had an informal system
  of grift, DeSantis took it to an extreme: He literally made a price list. Secret, internal memos recently ...
  Ron DeSantis’ political team planned $25K golf games, $250K ...
  www.tampabay.com/florida-politics/buzz/2019/09/...
  Sep 12, 2019 · Ron DeSantis’ political team planned $25K golf games, $250K ‘intimate gatherings,’ memos say
  Corrupt - https://dictionary.cambridge.org/us/dictionary/english/corrupt:
   dishonest and willing to use your position or power to your own advantage, especially for money
  17
    18 U.S. Code § 641.Public money, property or records
  Whoever embezzles, steals, purloins, or knowingly converts to his use or the use of another, or without authority,
  sells, conveys or disposes of any record, voucher, money, or thing of value of the United States or of
  any department or agency thereof, or any property made or being made under contract for the United States or
  any department or agency thereof; or Whoever receives, conceals, or retains the same with intent to convert it to his
  use or gain, knowing it to have been embezzled, stolen, purloined or converted—

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42. State and federal law enforcement agencies deliberately and wantonly mischaracterize criminal
    acts of judges acting under the auspices of Ron Desantis and Ashley Moody as “civil” matters,
    thereby deliberately violating their mandate to enforce the law and protect the public by
    illegally exempting judges from being accountable for criminal acts and forcing Plaintiffs to
    litigate crimes in the very same color of law courts in which the crimes are being committed.
43. The Guardian Human Trafficking/Corruption Racket also known as the Probate Mafia 20
    became an entrenched arm of the Florida government under the auspices of prior corrupt
    governor Rick Scott who instead of being indicted and incarcerated after embezzling TWO
    BILLION DOLLARS IN MEDICARE FRAUD expanded his empire into the human
    trafficking of vulnerable adults in guardianship and then while America sleeps, became the most
    proliferate racketeer in the country, cross corrupting government and private enterprises,
    criminally abusing his position and using blind trusts to hide his criminal conflicts of interest.
44. Ron DeSantis has taken over the human trafficking empire of vulnerable adults that has become
    Florida largest business.
45. In a recent television interview about guardianship21, when Ron DeSantis was asked about what
    he was going to do about a whopping ONE HUNDRED AND THIRTY TWO OPEN CASES
    OF ABUSE BY GUARDIANS (which is only the very tip of the iceberg) including a case
    where a complete stranger to a vulnerable adult put her in guardianship because the stranger,
    Diana Sames, a Remax real estate agent, thought she sold her own home at a too low price (see
    Article I. Paragraph C for the story of that victim and her nephew) and in another case, where a
    court-appointed guardian took the wedding ring off an 85-year-old widow's finger, Ron
    DeSantis’ “duh” response was “What troubled me about some of the issues you guys raised was
    obviously bad things are happening, but there doesn't seem to be anybody held accountable."

  Shall be fined under this title or imprisoned not more than ten years, or both;
  18
    18 U.S. Code § 1346.Definition of “scheme or artifice to defraud”
  For the purposes of this chapter, the term “scheme or artifice to defraud” includes a scheme or artifice to deprive
  another of the intangible right of honest services. Any plan or course of action intended to deceive others, and to
  obtain, by false or fraudulent pretenses, representations, or promises, money or property from persons so deceived.


  19
    18 U.S. Code § 1349.Attempt and conspiracy
  Any person who attempts or conspires to commit any offense under this chapter shall be subject to the same
  penalties as those prescribed for the offense, the commission of which was the object of the attempt or conspiracy.
  20
    The Probate Mafia – A Color of Law Organized Crime Industry /www.probatemafia.com
  The legal system in the United States of America, and in the several states that comprise that union, have become a
  national disgrace and a global embarrassment.
  CITIZEN4 JUSTICE / www.citizen4justice.com
  The Las Vegas Probate Mafia How the Elderly Lose Their Rights Guardians can sell the assets and control the lives
  of senior citizens without their consent—and reap a profit from it.
  21
    Gov. DeSantis: 'There doesn't seem to be anybody held ...
  www.abcactionnews.com/news/local-news/i-team...
  Feb 27, 2019 · Florida Gov. Ron DeSantis says "There doesn't seem to be anybody held accountable," in reaction to
  ABC Action News I-Team investigation, which revealed not a single guardian's registration has

                                                            12
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46. The persons responsible are Ron DeSantis, Ashley Moody, the state of Florida and the
    United States.
47. We should be respected and lauded for our efforts to expose and eradicate this Crime Against
    Humanity where Florida’s families are destroyed; their rights eradicated and their loved ones
    put to death; annihilating all that distinguishes America from fascist, third world countries and
    Nuremberg law 22. Instead we are viciously retaliated 23and subjected to hate crimes24.
48. Florida has been reported as the most corrupt state25 in the country.
49. THERE IS NO REMEDY IN FLORIDA, THE HUMAN TRAFFICKING AND
    CORRUPTION CAPITAL OF THE WORLD.
50. The state and Federal courts in Florida have criminally deprived and denied Plaintiffs and their
    vulnerable adult family members of their inalienable Constitutional rights 26 to life, liberty,

 22
    As defined in Wikipedia: The Nuremberg Laws (German: Nürnberger Gesetze) were antisemitic and racial laws
 in Nazi Germany were enacted by the Reichstag in 1935. Jewish citizens were harassed and subjected to violent
 attacks. They were actively suppressed, stripped of their citizenship and civil rights, and eventually completely
 removed from German society
  23
     18 U.S. Code § 1513.Retaliating against a witness, victim, or an informant
   (b)Whoever knowingly engages in any conduct and thereby causes bodily injury to another person or damages the
  tangible property of another person, or threatens to do so, with intent to retaliate against any person for—
  (1)the attendance of a witness or party at an official proceeding, or any testimony given or any record, document, or
  other object produced by a witness in an official proceeding;
  or attempts to do so, shall be fined under this title or imprisoned not more than 20 years, or both.
   (e)Whoever knowingly, with the intent to retaliate, takes any action harmful to any person, including interference
  with the lawful employment or livelihood of any person, for providing to a law enforcement officer any truthful
  information relating to the commission or possible commission of any Federal offense, shall be fined under this title
  or imprisoned not more than 10 years, or both.
  (f)Whoever conspires to commit any offense under this section shall be subject to the same penalties as those
  prescribed for the offense the commission of which was the object of the conspiracy.
 24
      18 U.S. Code § 249.Hate crime acts
 25
    Miami-Dade's Most Corrupt Cities Ranked | Miami New Times https://www.miaminewtimes.com/.../miami-
 dades-most-corrupt-cities-ranked-1053346... Jul 17, 2018 - South Florida has had some iconic pairs over the years,
 but none ... Law Enforcement suspected was filled with a big wad of corruption money.
  Miami named one of the most corrupt cities nationwide - South Florida ... https://www.sun-sentinel.com/.../fl-
 ne-miami-ranked-among-most-corrupt-cities-2019...
  Harvard finds Florida among most politically corrupt states in U.S. https://floridapolitics.com/.../191150-
 harvard-says-florida-one-of-americas-most-politi... Sep 25, 2015 - Florida is also listed as one of America's most
 corrupt states, along with Arizona, California, Kentucky, Alabama, Illinois, New Jersey, Georgia, ...
  What is the evidence that Florida is the most corrupt of the 50 ... https://www.quora.com/
 Jul 30, 2018 - There appears to be an overwhelming amount of websites devoted to exposing corruption in Florida.
 There are countless websites devoted to ... Is the city of Tallahassee the most corrupt in Florida as President ...
 Justice Network - Florida Corruption - NoSue.org https://www.nosue.org/florida-corruption/ Jun 7, 2012 –
 A new study by nonprofit Integrity Florida ranks the Sunshine State as the country's most corrupt. According
 to the "Corruption Risk Report: ...
  26
    Section 242 of Title 18 makes it a crime for a person acting under color of any law to willfully deprive a person
  of a right or privilege protected by the Constitution or laws of the United States.
  For the purpose of Section 242, acts under "color of law" include acts not only done by federal, state, or local
  officials within the their lawful authority, but also acts done beyond the bounds of that official's lawful authority, if
  the acts are done while the official is purporting to or pretending to act in the performance of his/her official duties.
  Persons acting under color of law within the meaning of this statute include police officers, prisons guards and other

                                                            13
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    property and pursuit of happiness under color of state law by engaging or conspiring in a state
    sanctioned, sponsored and orchestrated human trafficking, genocide, embezzlement and
    racketeering enterprise under the guise of “guardianship”.
51. The deprivation of rights and criminal activity by Florida state and federal Courts under color of
    law is state sanctioned, sponsored, orchestrated and protected by:
     a. All Florida judicial and attorney oversight commissions as they have no independent
         oversight authority as they are members of the Florida Bar and have no prosecutorial power
         to investigation and discipline their own member’s conduct 27;
     b. The Florida Public State Actor Defendants who fail to comply with their mandate to follow
         and enforce the law.
     c. The Florida legislative branch of government who illegally enable Florida judges who have
         no independent oversight authority as they are members of the Florida bar and who have no
         prosecutorial power to investigate and discipline their own member’s conduct; a
     d. All state of Florida and federal law enforcement agencies who deliberately and wantonly
         mischaracterize criminal acts of judges as “civil” matters, thereby deliberately violating
         their mandate to enforce the law and protect the public by illegally exempting judges from
         being accountable for criminal acts and forcing Plaintiffs to litigate crimes in the very same
         color of law courts in which the crimes are being committed.
52. UNDER THE FIRST AMENDMENT “CONGRESS SHALL MAKE NO LAW …
    ABRIDGING … THE RIGHT OF THE PEOPLE …TO PETITION THE GOVERNMENT
    FOR A REDRESS OF GRIEVANCES.”


  law enforcement officials, as well as judges, care providers in public health facilities, and others who are acting as
  public officials. It is not necessary that the crime be motivated by animus toward the race, color, religion, sex,
  handicap, familial status or national origin of the victim.
  The offense is punishable by a range of imprisonment up to a life term, or the death penalty, depending upon the
  circumstances of the crime, and the resulting injury, if any.
  26
     18 U.S. Code 241.Conspiracy against rights
      If two or more persons conspire to injure, oppress, threaten, or intimidate any person in any State, Territory,
  Commonwealth, Possession, or District in the free exercise or enjoyment of any right or privilege secured to him by
  the Constitution or laws of the United States, or because of his having so exercised the same; or
      If two or more persons go in disguise on the highway, or on the premises of another, with intent to prevent or
  hinder his free exercise or enjoyment of any right or privilege so secured—
      They shall be fined under this title or imprisoned not more than ten years, or both; and if death results from the
  acts committed in violation of this section or if such acts include kidnapping or an attempt to kidnap, aggravated
  sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill, they shall be fined under this
  title or imprisoned for any term of years or for life, or both, or may be sentenced to death.
  27
    Reference should be made to The Fraternity: Lawyers and Judges in Collusion by Justice John F. Molloy as set
  forth in the Introduction wherein Molloy defines “Lawyer domination,” stating “When a lawyer puts on a robe and
  takes the bench, he or she is called a judge. But in reality, when judges look down from the bench they are lawyers
  looking upon fellow members of their fraternity. In any other area of the free-enterprise system, this would be
  seen as a conflict of interest” (emphasis added). “When a lawyer takes an oath as a judge, it merely enhances the
  ruling class of lawyers and judges. Surely it’s time to question what has happened to our justice system and to
  wonder if it is possible to return to a system that truly does protect us from wrongs” (emphasis added).


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53. This clause thus affirms the right to petition for redress for violation of First, Fifth, Eighth,
    Ninth, and Fourteenth Amendments (No State shall make or enforce any law which shall
    abridge the privileges or immunities of citizens of the United States; nor shall any State deprive
    any person within its jurisdiction the equal protection of the laws).
54. It is oxymoronic that when the state and the federal courts themselves are the perpetrators and
    violators, there can be no expectation of just, indeed any, relief from these courts.

                              C.      COMMON CAUSES OF ACTION
55. The provisions of paragraphs 1-54 are incorporated herein.
56. The Guardian Human Trafficking/Corruption Racket is a cartel who engages in a common
    playbook of criminal acts against all Plaintiffs (Exhibit A).
57. All Defendants are and continue to be associated together for a common purpose of engaging in
    a pattern of corrupt activities as defined and contemplated by 18 USC § 1961.
58. Plaintiffs have directly sustained injuries and damages as a result of the pattern of racketeering
    and corrupt activities by Defendants.
59. Because the victims of the Guardian Human Trafficking/Corruption Racket and their family
    members are terrorized, threatened, extorted, subjected to hate crimes and their loved ones
    have been murdered in collusion with the Florida State Actor Defendants, they are terrified
    to file litigation.
60. Each time they have sought any remedy, another reign of hell is launched against them, thus the
    crimes perpetrated have reached the level of war crimes, crimes against humanity, domestic
    terrorism and Nazi patterned atrocities all as documented herein.
61. As documented herein and below, the family members are falsely accused IN THE LAWLESS
    CIVIL COURT of preposterous criminal allegations to threaten them into silence. Incredibly,
    many of the family members described herein HAVE BEEN ILLEGALLY ARRESTED AND
    INCARCERATED FOR SPEAKING UP TO REPORT THESE CRIMES.
62. Thus many of these war crime victims are terrified to be a party to this lawsuit or others,
    thereby in addition to being crime victims, they are criminally and civilly being deprived of
    access to the very courts who are terrorizing them and denied remedy by the Florida Public
    State Actor Defendants who are acting in collusion to this UNHOLY war against Americans.
63. A series of articles by John Pacenti, a reporter at the Palm Beach Post 28 and many other articles
    graphically expose ghoulish, hair raising, murderous crimes in Florida including Plaintiffs’


   28
     Florida: The Judge’s wife, a frequent court-appointed guardian
   aaapg.net/florida-the-judges-wife-a-frequent...
   As the wife of Palm Beach County Circuit Judge Martin Colin, Savitt wields power in her husband’s Probate &
   Guardianship Division, where guardians are appointed to take over the lives of seniors no longer able to care for
   themselves. Fees for guardians and their attorneys are paid from the assets of their elderly wards and approved by
   the court.
   This judge’s household benefits from frail seniors’ money
   www.mypalmbeachpost.com/news/religion/this-judge...

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 stories and those of many others who are DESPERATELY BEGGING TO SAVE THEIR
 LOVED ONE’S LIVES and instead are viciously threatened and retaliated, thus terrified to file
 legal action. The perpetrators of these horrifying atrocities fit within the definition of domestic
 terrorists29 and belong on the F.B.I.’s most wanted list. This court is mandated to report these
 crimes and ORDER INTERVENTION BY THE F.B.I. and D.O.J.:
 a.   Plaintiff Stone and her mother, Helen Stone. Barbara herself filed for guardianship of her
      mother to protect her from documented abuse and financial exploitation by her son, Alan
      Stone and Barbara’s sibling. Barbara was forced to file guardianship after obtaining no
      relief from any law enforcement agency who criminally ignored their duty to protect Helen
      Stone and threatened Barbara when she filed complaints, treatening the matter as if it were a
      joke as the dysfunctional Florida law enforcement is a protection racket for the Florida
      Sponsored Guardian Racket. The remedy of course was not to put Helen Stone in

The savings of incapacitated seniors flow into the household of Palm Beach County Circuit Judge Martin Colin.
This occurs courtesy of Colin’s wife — Elizabeth “Betsy” Savitt. She serves as ...
Florida: Case after case of abuse and criminality in Palm ...
aaapg.net/case-after-case-of-abuse-and...
The senior’s former attorneys also question whether Savitt’s husband, Judge Colin, had anything to do with her
getting the appointment. He was initially assigned the case before it was given to another judge, who appointed
Savitt. At the time, Colin was also the judge presiding over the probate case for Berkowitz’s late husband, Jerry.
May 13, 2016 – Living wills of Incapacitated seniors ignored ...
scannedretina.com/2016/05/15/may-13-2016-living...
The Palm Beach Post in its series, Guardianships: A Broken Trust, revealed the incestuous nature of guardianship
and how money from the savings of incapacitated seniors flowed into the household of Circuit Judge Martin
Colin through his wife, professional guardian Elizabeth “Betsy” Savitt.
Report: Savitt involved with ‘corruption, collusion of judges ...
www.palmbeachpost.com/news/20180910/report...
"Corruption and collusion of judges and lawyers in Delray Beach for financial gain" centered around dubious
professional guardian Elizabeth "Betsy" Savitt and her husband, former Circuit Judge ...
David E. French - Jason Halle - Investigative Blogger
jasonhalle.com/tag/david-e-french
If Judge David E. French had allowed such a hearing or granted the motion for relief both John G. White, III and
Michael J. Napoleone from the law firm of Richman Greer could have been brought up on charges of
misconduct. Judge David E. French was not going to let that happen to his colleagues.
Report: Savitt involved with ‘corruption, collusion of judges’
nasga-stopguardianabuse.blogspot.com/2018/09/...
Marx, French and Scher, along with Circuit Judges Howard Coates and Jessica Ticktin approved $21,500 in
retainers taken by Savitt from her wards’ banking accounts that the report said violates Florida guardianship law.
Circuit Judge Peter Blanc, the chief judge in 2012, received the initial verbal report finding a conflict of interest.
Chief judge thwarts guardian’s effort to move cases - News ...
www.palmbeachpost.com/news/local/chief-judge...
A year ago, the chief judge booted the cases of controversial guardian Elizabeth "Betsy" Savitt out of the South
County Courthouse over apparent concerns about favoritism and conflict of interest ...
29 18 U.S.C. § 2331 - U.S. Code Title 18. Crimes and Criminal ...
codes.findlaw.com/us/title-18-crimes-and...
(5) the term “ domestic terrorism ” means activities that-- (A) involve acts dangerous to human life that are a
violation of the criminal laws of the United States or of any State; (B) appear to be intended--

                                                         16
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     guardianship but to indict and arrest Alan Stone for abuse and exploitation. Instead of being
     protected, Helen Stone was criminalized, her rights stripped, and she has been subjected to
     unthinkable atrocities including deprivation of food and medical attention and ruthless
     drugging with toxic illegal psychotropic drugs to incite litigation to embezzle her life
     savings through the criminal enterprise known as “guardianship”. Plaintiff Stone’s mother
     was repeatedly brought to the brink of death and the emergency hospitalized over 15 times
     with horrific conditions of abuse including malnutrition, dehydration, suspicious fractures,
     fungus and horrific infections which Plaintiff Stone suspects were caused by sexual abuse.
     Plaintiff Stone’s mother was murdered by depraved indifference to her life and being
     ruthlessly drugged with toxic illegal psychotropic drugs. Plaintiff Stone has been
     repeatedly arrested for removing her mother from this murderous racket, taking her to be fed
     and reporting the crimes of the terrorist judges and attorneys involved. Plaintiff Stone was
     stripped of her law license in vicious and obvious retaliation as she was a retired attorney at
     the time, having no client complaints and having received a letter of appreciation from the
     bar association at the time of her retirement for her many years of service. Plaintiff Stone is
     now legally blind, having been forced to spend upwards of 20 hours a day on the computer
     to file pleadings in the multiple rackets in which is embroiled and her inability to obtain
     medical services because her assets have been embezzled. Plaintiff Stone’s story has been
     reported nationally with the result that she is even more viciously abused and subjected to
     hate crimes and her mother was murdered in the Nazi patterned state of Florida murder
     for hire, extortion racket.30 See Exhibit B: atrocities perpetrated against Helen Stone.

30
    Florida's Guardians Often Exploit the Vulnerable Residents ...
www.miaminewtimes.com/news/floridas-guardians...
But even as the rest of South Florida gets serious about guardianship abuse, Miami-Dade seems stuck in the past.
... Barbara Stone is far from the only family member driven to desperation by Miami ...
Activist Alert: Barbara Stone in jail, to go to prison for ... /
marygsykes.com/2018/01/12/activist-alert-barbara...
Activist Alert: Barbara Stone in jail, to go to prison for feeding her mother in an abusive gship in Miami Dade Fla–
please write and call and demand her immediate release
From EB: an update on Barbara Stone and her mother held in an ...
marygsykes.com/2017/10/18/from-eb-an-update-on...
Subject: Texas Attorney Schwager produces Lawyer (Debra Rochlin, an American Hero) to Federal Court who
claims she was threatened by FL Judge (Michael Genden) to stop representing Helen Stone a woman in a
predatory guardianship with a feeding tube shoved down her throat while the lawyers guardians etc rip off her
Estate) or Else he…
Eliot Ivan Bernstein: I have witnessed firsthand the .../scannedretina.com/2015/08/08/eliot-ivan...
Aug 08, 2015 · My name is Eliot Ivan Bernstein and I am a resident of the State of Florida who has reviewed
the Barbara Stone complaint attached herein against Judge Michael Genden and witnessed firsthand the injustice of
his court in retaliation against Barbara who is desperately trying to save her mother’s life and which danger is
confirmed by medical reports and eyewitnesses.
Getting Away with Egregious Guardianship Fraud - by Michael ...
www.hospicepatients.org/professional...
The Case of Attorney Barbara Stone and Her Mother Helen 5. Barbara Stone traveled to Florida from her home in
New York to find her mother emaciated in a nursing home where she was under guardianship. (Barbara mistakenly
thought placing her mother in guardianship would be a way to protect her from harm).

                                                        17
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     Plaintiff Martino and her father, Roland Martino.31 Roland T. Martino was being
     financially exploited by his daughter, Lena Fussell CPA when she placed herself as sole
     beneficiary of his 800,000 dollar Morgan Stanley account when he had all 3 of his children
     listed as beneficiaries in his will. Plaintiff Martino contacted Gerald Hemness Esq. who
     railroaded her into agreeing to filing a Petition for Guardianship with misinformation and
     false statements concerning guardianship. Roland was wrongly incapacitated by an
     unqualified examining committee by state paid actors acting without capacity; medical
     training and without physical, mental or medical tests and on the basis of a 5 minute
     secretive “meeting”, falsely issued a fraudulent “opinion” of incapacity against Mr. Martino.
     Mr. Martino, a competent vulnerable adult was then kidnapped and forced into

Exposing guardianship as human ownership. Depriving .../
guardianshipexposed.wordpress.com/2014/08/26/...
We cannot countenance their exploitation, abuse, fraudulent and malicious desecration and the violation of their
declared wishes by predatory guardians and lawyers” says member Barbara Stone, who has been wrongfully
arrested twice just for trying to see and protect her mother who has been unlawfully isolated from her, when her
actions, in ...
Court to Hear Extradition of Woman Accused of Feeding her ...
newsmaven.io/pinacnews/eye-on-government/court...
Barbara Stone is charged with “failing to comply with the plea agreement…..(stating that Stone) shall not file any
documents in the pending guardianship case, or in any other court of competent jurisdiction, concerning her mother
or any other parties/participants unless said documents are filed by and through an attorney licensed to ...
Professional Guardianship Abuse is accomplished under “Color ...
corruptwashington.com/2018/02/10/professional...
The Case of Attorney Barbara Stone & Her mother Helen. Barbara Stone traveled to Florida from her home in New
York to find her mother emaciated in a nursing home where she was under guardianship (Barbara mistakenly
thought placing her in a nursing home for care would be a way to protect her mother from harm).
Florida’s most lucrative cottage industry: The Trafficking of ...
ppjg.me/.../floridas-most-lucrative-cottage-industry
Florida’s most lucrative cottage industry: The Trafficking of Humans May 2, 2014 ppjg financial
exploitation, Guardianship Abuse Barbara Stone,     corrupt     courts,    elder abuse,   financial exploitation,
Florida, Guardianship Abuse, human trafficking, looting estates, predatory guardians 8 Comments
31
   Roland Thomas Martino - National Association to STOP Guardian ...
stopguardianabuse.org/.../roland-thomas-martino-fl
Father of Advocate and Member, Lesa Maria Martino Guardianship is a person’s worst nightmare. Following a
family feud and discovering my sister, who is a CPA, will inherit everything since she put everything under her
name as sole Paid on Death, I was poorly advised by my attorney, Gerald Hemness, to file for a guardianship.
Daughter names Florida judge in federal lawsuit over elderly ...
setexasrecord.com/stories/522951033-daughter...
DeSantis et al, alleging theft, trafficking and abuse of the elderly under court appointed guardianship, was dismissed
without prejudice on December 9, 2019. Martino v. Manning has been assigned to the Honorable Mary S. Scrivens
who was nominated by former President George W. Bush and confirmed by the Senate in 2008.
Daughter names Florida judge in federal lawsuit over elderly ...
aaapg.net/daughter-names-florida-judge-in...
(Jan. 8, 2020) A concerned daughter sued a Florida state judge in federal court over civil rights violations and
alleged fraud upon the court after her elderly father became a ward of the State under guardianship. The Plaintiff
daughter Lesa Martino named the Honorable Hillsborough County Judge Daryl M. Manning in a petition filed in the
U.S. District Court for the Middle District of Florida.
TRACI HUDSON, INDIVIDUALLY, et al Vs LESA MARTINO, et al ...
unicourt.com/case/fl-picc-traci-hudson-ind-vs...

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    “guardianship” where he was illegally stripped of all of his rights and subjected to physical
    abuse and atrocities in the nature of war crimes, isolated/forcibly disappeared from his
    family, left to languish alone, mercilessly drugged, unattended and deprived of medical
    attention; mental stimulation and association with his daughter, Plaintiff Martino, his
    grandchildren, his dog, and all former friends. He was left with untreated urinary tract
    infections, shortness of breath, extreme confusion, drooling, and untimely incontinence care.
    Plaintiff Martino has been falsely threatened with arrest for reporting her father’s abuse.
    Her home has been seized by an illegally judgment that was orchestrated by the guardian,
    Tracy Samuel Hudson. Tracy Samuel Hudson has been arrested with first degree felony
    charges of elderly financial exploitation. YET INCREDIBLY, the fabricated accusations
    against Plaintiff Martino and the extortion attempts by the arrested guardian to steal Plaintiff
    Martino’s home are still being illegally perpetrated in the corrupt courts in collusion with
    the corrupt Florida Public State Actor Defendants who are orchestrating this charade. See
    Exhibit F: atrocities perpetrated against Plaintiff Martino’s father.
 b. Plaintiff, Dr. Robert Sarhan and his mother, Yvonne Sarhan. Dr. Sarhan’s mother
    was murdered in the Florida Sponsored Guardian Racket. 32 As shown in these articles,

32
  MY BEAUTIFUL MOTHER YVONNE SARHAN WAS MURDERED BY …
https://guardianabuse.blogspot.com/2010/09/my-beautiful-mother...
steven leslie kaplan and judge celeste muir and our government let it happen Dear Readers and Elder Abuse
Advocates, After a 7 year battle the Guardian Vicki Brail murdered my mother with medication called Seroquel.
"Dr Robert Sarhan" talks about his mother ... - Internet Archive
archive.org/details/scm-450093-eyesonpreditor...
Ripoff Report: Reiser & Reiser Company, INC Guardianship ...
https://www.ripoffreport.com/reports/reiser-reiser-company-inc/...
Please call Judge Celeste Muir at 305-349-7105, chief Judge Joseph Farina at 305-349-7054 and the Governor
Charlie Christ at 850-488-5603 and tell them to release Yvonne Sarhan from this fraudulent guardianship scam.
NATIONAL ASSOCIATION TO STOP ELDERLY ABUSE AND ...
guardianabuse.blogspot.com/2010
My mother Yvonne Sarhan was murdered by Judge Celeste Muir on February 2, 2010 she allowed the Guardian
Vicki Brail and Dr Steven Leslie Kaplan to poison my mother with 400 mg of Seroquel a day until she was dead,
why because the guardian and attorney's already took all the money from our family.
These Judge's are Forcing Elderly People into ...
www.fourwinds10.com/siterun_data/health/abuse/news.php?q=1255198115
Please call Judge Celeste Muir at 305-349-7105, chief Judge Joseph Farina at 305-349-7054 and the Governor
Charlie Christ at 850-488-5603 and tell them to release Yvonne Sarhan from this fraudulent guardianship scam.
Plea for Justice | National Association to Stop Guardian Abuse
https://nasga.wordpress.com/2008/01/28/plea-for-justice-2
Jan 28, 2008 · Dr. Robert Sarhan's plea for justice is circulating the Internet. According to Dr. Sarhan, here is the
problem: Yvonne Sarhan, never wanted nor requested a guardian, this was forced against her will. Yvonne Sarhan
requested orally and in writing to the judge, that if she had to have a guardian she wanted her son, Robert…
ElderAbuseHelp.Org: Dr.Sarhan Fighting to Get His Mother ...
elder-abuse-cyberray.blogspot.com/2008/12/judge-norman-gerstein...
Dec 17, 2008 · Judge Norman Gerstein took over a fraudulent guardianship case and continued to allow the elderly
person to lose all of her assets. While the case was under investigation, Norman Gerstein allows large of money to
be extorted from the then 74 year old, Yvonne Sarhan, the victim.

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    Mrs. Sarhan DIED from cardiac arrest after being administered illegal psychotropic drugs
    that contain black box warning against their use by elderly adults as they cause cardiac
    arrest. Dr. Sarhan frantically pleaded for his beautiful mother’s life in state and federal
    courts throughout Florida, each of whom colluded with the Florida Sponsored Guardians
    Racket and denied relief. Mrs. Sarhan was subjected to acts of terror and war crimes
    throughout the “guardianship” to incite fabricated litigation in order to embezzle her life
    savings and her home. Dr. Sarhan lost his home to a fraudulent foreclosure as he spent his
    life savings trying to save his mother’s life and fell prey to a mortgage fraud scheme during
    the time he spent fighting for his mother’s life. See Exhibit G: atrocities perpetrated against
    Dr. Sarhan’s mother.
 c. Eliot Bernstein and his family were embroiled with the same color of law judge as
    Skender Hoti, described hereafter. Eliot Bernstein and his family are the beneficiaries of a
    trust left by his parents. His sons who lost surpassed the age of being captured in
    guardianship have nonetheless been illegally kidnapped in guardianship to insure the
    extortion of their inheritance. Eliot’s car was bombed and blown up and he and his wife
    almost lost their life as he has assiduously exposed and filed racketeering lawsuits
    against the prolific corrupt color of law attorneys, judges and others in the Florida
    Sponsored Guardian Racket. A murdered body was found in the home of a family
    member to threaten him.33
                                                                                 34
 d. Skender Hoti and his mother Gyndolyn Batson who is now deceased.                Mrs. Batson, a
    perfectly competent senior adult was illegally forced into guardianship controlled by the
    guardian wife of the color of law judge who illegally presided over the matter. Hoti’s home
    was vandalized by this judge’s “guardian” wife who used a sledgehammer to break into
    his home and looted all of his possessions and those of his mother in broad daylight.

33
   Welcome to Iviewit Technologies ~ Surf with Vision / www.iviewit.tv
WARNING, p. Stephen Lamont has been terminated from acting on behalf of Iviewit or Eliot Bernstein and has
been reported for certain alleged criminal misconduct to THE state of new York and other authorities. If Lamont
offers you shares of stock or any other inducement involving Eliot Bernstein or Iviewit he is committing further
fraud-----
34
  Professional guardian's lawyer empties man's home - News - The ...
https://www.palmbeachpost.com/article/20150403/NEWS/812064418Apr 3, 2015 - One afternoon three years
ago, Skender Hoti received an unusual call from a neighbor asking whether he was moving out of his Lake ... This
was an attorney operating under a court-ordered guardianship. ... By John Pacenti ...
Post investigates: Professional guardian’s lawyer empties man ...
nasga-stopguardianabuse.blogspot.com/2015/04/...
Post investigates: Professional guardian’s lawyer empties man’s home By John Pacenti One afternoon three
years ago, Skender Hoti received an unusual call from a neighbor asking whether he was moving out of his Lake
Worth home.
Guardianships: A Broken Trust: Gwen Batson: Savitt Clears ...
nasga-stopguardianabuse.blogspot.com/2016/01/...
Hoti said he saw Savitt scream at deputies: “You can’t do that. I’m a judge’s wife. I’m Judge Colin’s wife." Three
days after the seizure of Hoti’s property, Colin recused himself from the case. Savitt wasn’t Batson’s guardian,
yet Judge French approved paying her $1,500 of Batson’s money.

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    Repeated police and F.B.I. reports resulted in nothing as they are conspirators in the Florida
    Sponsored Guardian Racket.
 e. Glenda Smith and her war veteran husband, Alan Smith. Their marriage was illegally
    “annulled” by the Florida Sanctioned Guardian Racketeers who viciously tortured Mr.
    Smith; 35 Mrs. Smith was not allowed to see her husband and pleaded for Plaintiffs Stone
    and Sarhan, who despite the threats of their arrest went to see Mr. Smith and reported that
    he had bloody injuries on his face, was not being fed and was so traumatized, he could not
    speak and reported his abuse. Plaintiffs Stone and Sarhan were then prohibited from seeing
    Mr. Smith. It is believed the guardian, John Cramer has been arrested 3 times for D.U.I. He
    is the guardian for a the widow of a Robert Montgomery, whose wealth is being
    systemically embezzled and whose daughter had been ceaseless unlawfully arrested for
    trying to protect her mother and her mother’s assets.
 f. Miriam Herandez and her daughter, Myda Hernandez. Miriam Hernandez was the
    guardian of her daughter. The same corrupt judge in Dr. Sarhan’s case colluded in
    fabricated fraudulent allegations by the corrupt guardian and her attorney (the very same
    predators involved in Dr. Sarhan’s matter) falsely accusing her of having a felon record. the
    hospitalization of Miriam Hernandez’ daughter for over a year who was subjected to a
    battery for the implant of a tracheotomy that causes her to suffer extensive bleeding from
    the throat because the predator judge, attorneys and guardian refuse to allow her to be
    transferred to the care of a doctor in another hospital to obtain the needed medical surgery.
 g. Patty Reid and her son Landon Reid. Landon Reid is a beautiful black man who was
    born blind and his mother obtained a medical settlement. Because there was medical
    settlement money, Landon was captured and forcibly disappeared in a “guardianship” in
    Broward County where these assets are being embezzled. Patty Reid, like Plaintiff Stone,
    both of whose stories were reported was falsely arrested for the ludicrous charge of
    “interference” with “custody” of her own son when she tried to remove her son from the
    Florida Sponsored Guardian Racketeers. 36 Landon Reid has been forcibly disappeared


35
  Marriage annulment in guardianship case heads to Florida ...
www.palmbeachpost.com/lifestyles/health/marriage...
John Pacenti @jpacenti ... Circuit Judge Martin Colin threw her out of the courtroom. ... The 4th DCA wants to
know whether a judge can approve a marriage after the fact or whether the ...
Post investigates: How professional guardian got marriage annulled ...
https://www.palmbeachpost.com/article/20150403/NEWS/812063143
Apr 3, 2015 - Glenda Martinez-Smith found the love of her life as a senior citizen. ... By John Pacenti ... $200,000
and counting — in legal fees fighting guardian John Cramer and orders by judges on his behalf. ... a retired
physician from Aventura who is co-founder of Americans Against Abusive Probate Guardianships.
36
  Disability Rights: When Is Taking Your Mother to Lunch a Felony? Janet Phelan: One might come away with the
impression that the US simply views its elders as bank accounts to be harvested, without ...
US Political Prisoner Update - activistpost.com /www.activistpost.com/2016/06/us-political...
Taking Your Mother to Lunch is a Felony Barbara Stone was on house arrest for close to a year for taking her
mother, who was under guardianship in Florida, to Denny’s Restaurant.

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    from the face of the earth. Patty Reid does not know where her son is and has not seen her
    son in over 2 years. Her son has no idea why his mother is not with him and is cruelly led to
    believe his mother abandoned him.
 h. Gediminas Pakalnis and his aunt Genyte Dirse. Gedi is the person referenced by the
    journalist in Paragraph A. 38. who interviewed Ron Desantis. Desantis’ criminal violation
    of his duty to protect, follow and enforce the law has destroyed Gedi’s life and that of his
    aunt, a perfectly competent woman who was kidnapped in guardianship by Diana Sames,
    who criminally retaliated against her because the women did not give that broker a listing
    for the sale of her property. Instead of Desantis ordering the criminal investigation of that
    broker who is perpetrating capital crimes, kidnapping, forced disappearance and collusion
    and conspiracy in the theft of Gedi’s aunt’s assets, incredulously in the underworld of Ron
    Desantis’ “guardian world”, Gedi has been viciously attacked with crimes, he has been
    denied his Constitutional rights of association with his aunt, his home is threatened with
    foreclosure, he is hemorrhaging money on legal fees in a sham, outrageous proceeding, his
    attorneys as is the mantra in this racket are ruthlessly sabotaging him and exacerbating this
    lunacy and madness to extort his assets and his family life has been destroyed.
 i. Teresa Lyles and her mother. Included in this complaint is a heartbreaking affidavit by
    Teresa Lyles, the daughter of another vulnerable parent, describing sickening atrocities to
    her mother. After Ms. Lyles submitted this Affidavit to agencies throughout Florida and the
    country to plead for her mother’s life, in retaliation, her mother was immediately forced into
    hospice, relentless drugged and died from chemical restraint. Ms. Lyles Affidavit
    exemplifies the identical stories of hundreds of thousands of affluent, law abiding Florida
    citizens and their families who are murdered; human trafficked and embezzled in this
    Gestapo terrorist racket.
                                                                                           37
 j. Teresa Kennedy and her aunt, Lillie. Ms. Kennedy is a Harvard educated author . Her
    aunt has a huge family, none of whom have seen her in years because she was forcibly


How They Get Away with Egregious Professional Guardianship ...
www.case-abuse.org/professional-guardianship-fraud-by-larsen
Finding no one around to help her, Barbara used a wheelchair and put her mother in her car, and tried to take her to
Denny’s Restaurant for lunch. Barbara was stopped by police and thrown in jail, and her mother was taken to a
hospital where it was verified that she was malnourished, dehydrated, bruised, and a host of other medical problems
from lack of care under guardianship.
37
    www.elderdignity.org – The Right to be Protected & Respected / elderdignity.org
The Guardian refused to let Lillie's 83-year-old sister and 50+ nieces and nephews know where she is.
... Teresa Kay-Aba Kennedy, was a featured speaker at the AAAPG ...
Is Elder Guardianship A New Form Of Human Trafficking ...
www.huffpost.com/entry/is-elder-guardianship-a-n...
Sep 13, 2017 · Teresa Kay-Aba Kennedy is a Harvard Business School-trained strategist and President of Power
Living Enterprises, Inc. Her mission is to raise the consciousness of the planet and create a more sustainable world
by releasing the potential in individuals
human trafficking – Elder Dignity
elderdignity.org/tag/human-trafficking

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       disappeared in guardianship. Mrs. Kennedy’s assets are being feasted on in a free for all by
       racketeering attorneys and judges who are perpetrating crimes on the order of war crimes
       against Ms. Kennedy and her aunt.
                                                              38
    k. Beverly Newman and her father, Al Newman . Beverly Newman’s father was a
       Holocaust survivor who was captured in the Guardian Human Trafficking/Corruption
       Racket. Ms. Newman wrote a pleading letter to Pam Bondi and Rick Scott, the processors
       of the Florida Public State Actors seeking relief for the horrors to which her father was
       subjected. Excepts include: At least equally hideous to the abusive use of chemical
       restraints on the elderly is the forcible immobilization of them through physical restraints,
       tethering frail elderly women and men to beds and chairs, such that they cannot move their
       bodies or limbs. On September 21, 2009, I personally witnessed both the chemical and
       physical restraint of my 89-year-old Father, Al Katz, at Manatee Memorial Hospital, against
       his will and mine. From September 21 through September 24, with an emergency room
       diagnosis of cardiac and respiratory distress, my Father, a Ward of the State of Florida, was
       repeatedly drugged with Haldol, a narcotic that caused him to suffer vivid flashbacks to the
       tortures he endured as a slave laborer for seven years in the Holocaust. With each dosage of
       Haldol, Dad was infused with fear, which invariably led to what is known as four-point
       physical restraints on his wrists and ankles, tying him to the bed so that he could not move
       at all. Despite my pleas to cease the pill mill administration of Haldol to my Dad and to
       loosen the rigid physical restraints on him, which were causing him untold cardiac and
       respiratory stress, the Hospital staff did not relent. This heartbreaking letter pleading for
       the life of her father from the Guardian Human Trafficking/Corruption Racket WAS
       IGNORED by the responsible Florida officials, the very same officials who are
       perpetrating the racket.
64. The list of victims of these gristly crimes is endless. Kidnapping, murder, extortion,
    embezzlement, theft, war crimes run through fake courts of no law.




   Please SIGN THE PETITION to Governor DeSantis to free Dr. Lillie Sykes White. For more on involuntary
   guardianships, watch The Deception of Protection and Silent Torture: Trafficking Through Guardianship.
   Contributed by Teresa Kay-Aba Kennedy, Founder of Elder Dignit
   38
     Beverly Newman - National Association to Stop Guardian Abuse
   https://nasga-stopguardianabuse.blogspot.com › 2014/09 › beverly-newma...
   Sep 16, 2014 - Beverly Newman: Dear Rick and Pam - as in Scott and Bondi ... both the chemical and physical
   restraint of my 89-year-old Father, Al Katz, ...
   Beverly Newman – AAAPG
   https://aaapg.net › tag › beverly-newman
   AAAPG member Beverly Newman on ABC Action news in Tampa Florida, discussing her father, Al Katz, the
   abusive guardianship to which he was subjected by ..



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65. These unthinkable Nazi type- atrocities are brazenly taking place in corrupt color of law
    courts throughout the state of Florida accompanied and colluded by the Florida Public
    State Actor Defendants.
66. Justice Richard D. Fybel, Chair of the California Supreme Court’s Advisory Committee on the
    Code of Judicial Ethics and a co-author of the Fourth Edition of the California Judicial Conduct
    Handbook (2017) was a member of the Holocaust Program Planning Committee for “How the
    Courts Failed Germany.” Justice Fybel is also the author of Assassins In Judicial
    Robes published in Gavel to Gavel, the L.A. Superior Court Judicial Magazine (Spring 2013).
67. Assassins in Judicial Robes is an apt description of this Nazi patterned criminal
    enterprise. How do the Florida judges differ from the Nazi Assassins in Judicial Robes? In the
    Nazi holocaust a class of citizens – there Jews – here vulnerable adults, were seized/forcibly
    disappeared from their homes and their families, subjected to forced labor, their assets, art,
    jewelry, home, heirlooms and personal possessions looted and then they were exterminated…
    there by gas chambers, here by illegal toxic psychotropic drugs.
68. The public recognizes the embezzlement racket as evidenced by their jury verdict against a
    participant in the Guardian Human Trafficking/Corruption Racket. 39
69. Not so the Florida Public State Actor Defendants. Even after extensive and exhaustive exposes,
    instead of DEMANDING criminal investigation by the FBI and DOJ and indictment and arrest
    of all judges, attorneys and guardians perpetrating the Guardian Human Trafficking/Corruption
    Racket, the only minuscule result was the removal of the license of the guardian working in
    collusion with her husband, corrupt judge Martin Colin to embezzle the life savings of
    vulnerable adults she was entrusted to protect 77 and the TRANSFER of corrupt Martin Colin
    from acting as a judge in guardianship 78 instead of their transfer to the federal penitentiary.
70. THE GROTESQUE DEATH SENTENCES TO WHICH OUR FAMILIES ARE BEING
    SUBJECTED MANDATE AND WARRANT, URGENT AND IMMEDIATE RELIEF.
71. Any judge who fails to order the criminal investigation of these predators is an accessory and
    accomplice under 18 U.S.C. 2 and 18 U.S.C. 3.

                        D. - THE GUARDIAN RACKET –
              HUMAN TRAFFICKING/EMBEZZLEMENT/MURDER-FOR-HIRE
                      OF FLORIDA’S VULNERABLE ADULTS

   39
     Jury hits lawyers with $16.4M for doing senior wrong in ...
   www.palmbeachpost.com/news/jury-hits-lawyers...
   Oliver Wilson Bivins Sr. was an oil man whose family were pioneers in Amarillo, Texas. He visited his Florida
   condo infrequently yet ended up under control of a professional guardian. In July, 2017, a unanimous jury in the
   U. S. District Court, West Palm Beach, awarded $16,400,000 to the Estate of Oliver Wilson Bivins, Sr., and against
   West Palm Beach guardianship attorneys, Brian O’Connell and Ashley Crispin of the Ciklin Lubitz & O’Connell
   law firm.
   Reference should also be made to the case of Michael James BROWN a/k/a Michael J. Brown v. STATE of
   Mississippi. 178 So.3d 1234 where the court found that an attorney who was attorney for guardianship,
   converted guardianship funds to his own use so as to support conviction for embezzlement

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                              UNDER THE GUISE OF “GUARDIANSHIP”
                                       HOW IT WORKS
72. All across the country, particularly in Florida, vulnerable citizens who have the highest
    protection under American law 40are instead targeted, kidnapped, illegally stripped of their
    rights and forcibly disappeared 41 by simulated state of Florida actors in an organized crime
    racket they coin “guardianship” that is populated and operated by an incestuous cabal of dirty,
    bribe-infested judges, attorneys and guardians.
73. The members of the Guardian Human Trafficking/Corruption Racket deviously and diabolically
    identify themselves by some variation of “guardian” related terms that they coin i.e.: “Guardian
    Judge”, “Guardian Court” and “Guardian” to pretend legitimacy by implying “protection” and
    “care” to mask the deadly human trafficking racket that has become Florida’s biggest
    underground enterprise.
74. In this unholy and ungodly organized crime racket, the so called “guardian” judges are typically
    breed and assembled EXACTLY because they are known to be lawless. It could not be more
    apparent that they have sociopath traits and other dangerous mental disorders whereby they are
    a danger to the public:
    a. Typically they are specifically plucked from the “criminal” court whereby they have
        amassed a litany of dirty tactics to use against those accused of crimes so that they can
        employ these deranged tactics against vulnerable adults, who are entitled to the highest
        protections by law but instead treating them as if they are criminals accused of the worst
        possible crimes.
    b. This is because “guardianship” is not by any sane measure a real event… it is an aboriginal,
        savage creation of sociopaths that works diametrically in reverse of any illusory concept of
        “guardianship”.
    c. As an example, as soon as Plaintiff Stone notified Defendant Hirsch of the failure by Nelson
        Mullins or himself to provide Plaintiff Stone with any pleadings and orders and notified
        Defendant Hirsch of documented crimes, he immediately ex parte awarded and rewarded
        them with fees. He then issued an order refusing to disqualify himself although by law he is
        disqualified as he failed to respond to a disqualification petition with the time required by
        law. Thus he is willfully and intentionally acting without jurisdiction.
   40
       The Olmstead Doctrine (which requires older adults be integrated into the community, Americans with
   Disabilities Act, The Elder Justice Act, the U.S. Constitution itself which guarantees due process and the right to
   life, liberty. property and pursuit of happiness.
   41
      In international human rights law, a forced disappearance (or enforced disappearance) occurs when a person is
   secretly abducted or imprisoned by a state or political organization or third party with the authorization, support, or
   acquiescence of a state or political organization, followed by a refusal to acknowledge the person's fate and
   whereabouts, with the intent of placing the victim outside the protection of the law. According to the Rome Statute
   of the International Criminal Court, when committed as part of a widespread or systematic attack directed at any
   civilian population, a "forced disappearance" qualifies as a crime against humanity. Often, forced disappearance
   implies murder. The victim in such a case is abducted, illegally detained and often tortured during interrogation, and
   killed, with the body hidden.

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    d.   The Florida oversight judges and the appeal courts are aware of these criminal acts and act
         in collusion and as a protection racket.
75. Many of these dirty corrupt so-called “guardian” judges and protection racket judges are also
    “selected” as they are moved from “criminal bench” to employ the dirty tactics used against
    those accused of crimes and are known to engage in theft, fraud and other crimes as shown in
    their “financial disclosure statements” they are mandated to file.
76. Instead of using the brazen fraudulent financial statements to root out the dirty corrupt judges
    and criminally investigate them, the state sponsored corruption racket specifically designates
    these dirtiest of the dirty judges to act in matters involving vulnerable adults and to act in the
    attendant litigation that proliferates as a result of the racket in order to cover it up.
77. As shown herein, this pattern is present with regard to Milton Hirsch and Carol-Lisa Phillips.
78. It is also a tsunami with regard to the color of law judges in the embezzlement rackets described
    herein as these corrupt to the core judges run their own racket within the racket.
79. See Exhibit A for a step by step graphic description and articles of the workings of the Guardian
    Human Trafficking/Corruption Racket and exposure of this Racket in an article in the Houston
    Examiner entitled “The New Gestapo: Probate Court”.
                              E. THE DIABOLICAL FLORIDA
          HUMAN TRAFFICKING/EMBEZZMENT/MURDER-FOR-HIRE RACKET
                                       AND COVER UP RACKET
                                            HOW IT WORKS
80. The human trafficking racket that takes place under the ruse of ‘guardianship” is prolific in the
    state of Florida due to its position as the corruption capital of the world and its huge population
    of affluent retired and senior citizens who are open targets for Florida’s lawless public officials.
81. The alligator swamp infested Florida as a breeding ground for corruption has been exposed on
    the national stage by the insidious human trafficker/sexual molester Jeffrey Epstein crime spree.
82. The murder, human trafficking and looting “guardianship” enterprise in Florida is exemplified
    by discovery of the bodies of nine CREMATED vulnerable adults in urns in the office of
    Rebecca Fierle, one of Florida’s most prolific “serial killer/embezzler/ guardian”.42
83. But for the fact judges and attorneys involved in murder, human trafficking and embezzlement
    of Florida’s vulnerable adults is a protected racket in the state of Florida (and across the U.S.)
    Rebecca Fierle would have been charged and indicted as a serial killer and imprisoned for life.



   42
      Cremated remains of 9 people found in Rebecca Fierle's office /
   www.wesh.com/article/cremated-remains-rebecca...
   The Florida Department of Law Enforcement and Orange County Sheriff’s Office executed a search warrant
   at Rebecca Fierle's Orlando office Monday.
   FDLE: Professional guardian accused of causing death under .../ www.abcactionnews.com/news/local-news/...
   The FDLE opened a criminal investigation into professional guardian Rebecca Fierle on July 25, according to FDLE
   spokeswoman Jessica Cary.

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84. Instead, in order to fool the public, the lawless Florida law enforcement (FDLE), a corrupt, state
    protection racket agency that operates under the auspices of corrupt to the core Ron Desantis is
    running a sham, cover up “investigation” deviously mischaracterizing this atrocity as the crimes
    of a “guardian.”
85. Fierle’s serial killing spree is not murder by a solo, lowly predator guardian; it was carried out
    in a corrupt human trafficking court proceeding with the collusion and abetment of corrupt
    judges and attorneys that is sponsored by Ron Desantis.
86. Ron DeSantis and every corrupt judge, attorney and cohorts who were parties to the scam fake
    “court proceedings” in each and every “Rebecca Fierle Case” are involved.
87. Serial Killer Fierle should have been imprisoned the same day these bodies were discovered and
    each and every “guardian” matter criminally investigated and we demand such action by the
    Department of Justice.
88. These are atrocities devised and perpetrated by attorneys and judges -the very same judges who
    are “presiding” over their own crimes in collusion with Ron DeSantis.

       F. THE CRIMES PERPETRATED IN THE GUARDIAN CORRUPTION/HUMAN
                            TRAFFICKING RACKET
                  ARE ALSO CRIMES AGAINST FLORIDA FAMILIES
89. This Nazi-derived racket is a crime perpetrated against entire Florida families.
90. We are doctors; lawyers; pharmacist; educators and educated, productive American citizens –
    sons and daughters and close relatives of loved ones captured in this Nazi- patterned racket.
91. We are crime victims as well - we are terrified of the predator judges who devise deranged
    perverse terror tactics to relentlessly and viciously attack us for our efforts to rescue our parents
    and loved ones from this organized crime racket and expose the atrocities being committed.
    These crimes include:
      a. Criminally depriving us of our right of association with our families by perverse, illegal
         “isolation” orders. This racket is so brazen in Miami-Dade country that the “menu” of
         illegal options on the Florida e-filing “portal,” includes a “PETITION FOR AN
         ISOLATION ORDER”. HOW IS THIS POSSIBLE IN THE UNITED STATES OF
         AMERICA SYSTEM OF LAWS???
      b. Reference is again made to article “The New Gestapo: Probate Court”- Exhibit A.
      c. We are illegally “gag” ordered to PROHIBIT us from reporting crimes to law enforcement
         agencies. This is a Nazi derivative of “VERBOTIM”
      d. We are embroiled in an endless onslaught and bottomless pit of lawsuits that originate
         from the human trafficking “guardianship” proceeding.
      e. The usual scenario is for the guardian and their attorney to file fabricated statements
         against family members falsely alleging “misdeeds” and “crimes” with a colluding judge
         (usually accusations of “agitation” that the abusive guardians cause themselves by
         administering contraindicated medications with dangerous side effects and “interference


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           with custody” when family members who are horrified at the abuses and atrocities being
           perpetrated against their loved ones attempt to protect their loved one) in order to obtain a
           fraudulent court order “isolating” (in reality, criminally “forcibly disappearing”) the
           victim from their family and life.
      f. We are sued in illegal, fabricated “SLAPP” lawsuits falsely accused of “DEFAMATION”
           for reporting crimes to steal our assets to attempt to “silence” us.
      g. Corrupt judges in these collusive color of law courts that are protection rackets for the
           Probate Mafia judges issue illegal judgments against us in fabricated “defamation”
           lawsuits to garnish our assets and steal our homes;
      h. We are sued in farcical lawsuits where the filers, racketeers in the “guardian racket”
           commit diabolical crimes and fabricate outrageous lies to accuse us of their crimes and in
           collusion with their crony corrupt judges obtain illegal void “judgments” against us to
           steal our homes and property in an embezzlement racket.
      i. We are forced to sue corrupt judges and attorneys in futile lawsuits that spew further
           litigation because THE REPORTED CRIMES PERPETRATED BY THESE COLOR OF
           LAW STATE ACTORS ARE IGNORED BY THE F.B.I. and the D.O.J.;
      j. We are forced into bankruptcy and foreclosure courts because our homes and property are
           illegally seized in ex parte fake court proceedings;
      k. We are arrested for contempt of court and outlandish fabricated accusations to silence us;
      l. These dirty judges pack their courts with their crony “bailiffs” to intimidate us;
      m. We are falsely accused of preposterous crimes; the most common “interference with
           CUSTODY” of our own parents when we attempt to report and remedy these crimes.
      n. We have been put forced in the position of “UNCOVERING” capital crimes, the
           antithesis of the premise of America’s legal system. That is because CAPITAL CRIMES
           ARE BEING PERPETRATED BY CIVIL COURT ACTORS IN CIVIL COURTS.
92. We are subjected to ruthless emotional trauma and distress as we are forced to relive this
    nightmare every minute of every day, as we are forced to continue to seek remedy (including
    the filing of this lawsuit).

               G. THE BARBARIC HISTORY OF THIS NAZI-DERIVED ENTERPRISE
93. As far back as 1987, Claude Pepper, a congressman from Florida, said of guardianships: ‘The
    typical [person subject to guardianship] has fewer rights than the typical convicted
    felon… It is, in one short sentence, the most punitive civil penalty that can be levied
    against an American citizen, with the exception, of course, of the death penalty.”
94. In August, 2016, attorney Mark D. Andrews wrote “The Elderly in Guardianship: A Crisis of
    Constitutional Proportions” 43 wherein he critiques the state of the current guardianship
    establishment and concludes that both constitutional and policy reasons compel the need for

   43
        https://www.case-abuse.org/mark-d-andrews/

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      change in this system. He states: “Guardianship threatens to remove from the elderly the ability
      to make basic life decisions and to live unfettered by the control …”
 95. On September 30, 2010 the Government Accountability Office (GAO), a federal government
      agency, issued a report documenting horrific abuse of the elderly and financial exploitation.
      This report was distributed throughout the federal government, WHO DID NOTHING.
 96. Thus the government of the United States is acting as an accomplice, accessory and conspirator
      to this Nazi patterned extermination operation.
 97. The F.B.I. and D.O.J. must be exposed and held accountable for their collusion and blind eye.
  93. Our individual attempts for remedy are completely futile and only put us in greater danger.
      These acts fall within the definition of war crimes, Crimes against Humanity under the Hague
      Convention 44 and hate crimes45.
  94. In violation of journalist ethics to report public matters of public interest, the media is mute on
      judicial tyranny/corruption in the guardian racket.
  95. Our right to free speech is criminally denied in violation of 18 USC 241 and 242.
  96. Judicial public servants and court officers are perpetrating embezzlement, honest services theft,
      extortion, threats and other crimes using the auspices of a de facto46 court under color of law.
  97. These self-dealing corrupt judges orchestrate pre-ordained fabricated court proceedings using a
      bottomless pit of schemes to defraud where they criminally favor other incestuous public
      officials for their own illegal financial benefit or other illegal gain.
  98. We are terrified of these judges as they are deliberately violating the law in order to
      ruthlessly engage in a calculated, pre-plotted agenda to loot, embezzle and extort our
      assets, while making it appear they are conducting a court proceeding.
  99. How does this racket differ from the crimes taking place in the Holocaust where a class of
      citizens were rounded up, put into forced labor, their life savings, home, jewelry, art and
      heirlooms are looted and they are put to death by chemical restraints/gas? 47 These are
      Nazi derived terror tactics. 48

               H. PHOTO GALLERY ON THE ORDER OF HOLOCAUST VICTIMS POSTED
                                  IN HOLOCAUST MUSEUMS
100. The attached Photo Gallery with unspeakable photos of brutality against innocent vulnerable
     adults. These citizens are the faces of and epitomize American values and success stories and
     because they have grown older and vulnerable, this country has criminalized them and

    44
         https://www.icc-cpi.int/resourcelibrary/official-journal/rome-statute.aspx
    45
         18 U.S.C. § 245.Federally protected activities; 18 U.S.C. § 249 Hate Crimes Act
    46
     De jure is according to law or by rightful inheritance.
    De facto refers to a practice or a state of affairs in existence that is not sanctioned by law.
    47
                https://training.ehri-project.eu/auschwitz-similar-and-unique-characteristic-aspects-largest-german-nazi-
    concentration-and
    48
         https://encyclopedia.ushmm.org/content/en/article/the-press-in-the-third-reich

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     unleashed acts of barbarians against them, capturing, kidnapping, terrorizing, human trafficking
     and brutalizing them beyond recognition and comprehension in a savage “guardian” racket.
                   I. ERADICATING THE BARBARIC GUARDIAN HUMAN
                TRAFFICKING/CORRUPTION RACKET RESTORES INTEGRITY TO
            AMERICA, A NATION POISED TO TOPPLE BY CORRUPTION AS DID ROME
                                         AND
                        OPENS THE DOORS FOR THE FLOURISHING
           OF LONG REPRESSED AND SURPRESSED INNOVATION AND ADVANCEMENT
            OF TECHNOLOGY, MEDICINE, INFRASTRUCTURE, EDUCATION, ARTS BY
            FREEING UP THE LOOTED ASSETS THAT ARE MONEY LAUNDERED AND
              KEPT HIDDEN BY THE RACKETEERS IN OVERSEAS BANK ACCOUNTS

101. The lawless, barbaric political forces of the United States of America that have incubated and
      fostered the Guardian Human Trafficking/Corruption Racket, an operation of epic domestic
      terrorism proportion to become galvanized and penetrated into every orifice of the American
      government makes the United States of America its own greatest danger and threat to its
      existence as a democratic republic. Many believe our country has passed the point of no return
      and no longer fits within any conceivable definition of a democratic Constitutional republic.
102. The United States has become a backwardly peddling nation that is not in the top 10 list
      compiled by the Human Development Index which is lead by Norway.49
103. The United States does not appear on the top 10 ranked by tech, data and business by the
      Harvard Business Review.50
104. Instead the United States invests in corruption.51
105. The illegal, void, “guardianship” sham laws are an immoral, archaic, draconian enslavement of
      an American class of citizens that on their face are an outrage.


    49
         https://traveljee.com/top-10/top-10-most-advanced-countries-world-modern-era/
    50
      Ranking Countries and Industries by Tech, Data, and Business ...
    hbr.org/2019/05/ranking-countries-and-industries...
    May 27, 2019 · Finland, Switzerland, Austria, Sweden, Germany, Belgium, Norway, and the Netherlands are
    consistently cutting-edge in all three domains. Even so, some countries known as global innovation hubs ..
    51
      How the Elderly Lose Their Rights | The New Yorker
    www.newyorker.com/magazine/2017/10/09/how-the...
    In the United States, a million and a half adults are under the care of guardians, either family members or
    professionals, who control some two hundred and seventy-three billion dollars in assets, according to an auditor
    for the guardianship fraud program in Palm Beach County.
    Author: Rachel Aviv
    Abuses of Guardianship and Conservatorship in the U.S.
    www.nextavenue.org/guardianship-u-s-protection...
    May 23, 2016 · As is common in guardianship cases, the court granted permission for the guardian to sell Franklin’s
    home and its contents. The owners of the group home where she was placed then put Franklin to work: She was
    forced to do the grocery shopping, cook, dispense medication,...

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106. It is incredulous that we are in the year 2020 in a supposed advanced nation of laws yet the
      simulated “guardian” law is identical to feudal, medieval laws in the 15th century.
107. Thus Plaintiffs hereby state the obvious, oppressive and depraved Crimes against Humanity that
      are inherent in this aberration:
       a. Murder, human trafficking and looting enterprise: These simulated, barbaric courts
          have masterminded an organized criminal enterprise that is responsible for the murder,
          human trafficking and looting of millions of vulnerable Florida and American citizens and
          the destruction of entire families.
       b. Forcible disappearance: It is maniacal that an American citizen could be forcibly
          disappeared from their family and the world and become “owned” by another citizen.
       c. Venal, barbaric remnant of slavery and forced labor camps: Amendment 13, Section 1
          of the Constitution abolishes slavery and involuntary servitude. 52

    52
      https://www.justice.gov/crt/involuntary-servitude-forced-labor-and-sex-trafficking-statutes-enforced
    Involuntary Servitude, Forced Labor, and Sex Trafficking Statutes Enforced
    A number of provisions in the U.S. Code target trafficking in persons, also known as involuntary servitude/slavery
    or forced labor. These provisions are contained in Chapter 77 of Title 18 and are sometimes referred to generally as
    Chapter 77 offenses. The Trafficking Victims Protection Act (TVPA) of 2000 supplemented existing laws, primarily
    18 U.S.C. § 1584 (Involuntary Servitude), and also provided new tools to combat trafficking.
    Peonage
    Section 1581 of Title 18 makes it unlawful to hold a person in "debt servitude," or peonage, which is closely related
    to involuntary servitude. Section 1581 prohibits using force, the threat of force, or the threat of legal coercion to
    compel a person to work against his/her will.
    18 U.S.C. § 1581
    (a) Whoever holds or returns any person to a condition of peonage, or arrests any person with the intent of placing
    him in or returning him to a condition of peonage, shall be fined under this title or imprisoned not more than 20
    years, or both. If death results from the violation of this section, or if the violation includes kidnapping or an attempt
    to kidnap, aggravated sexual abuse or an attempt to commit aggravated sexual abuse, or an attempt to kill, the
    defendant shall be fined under this title or imprisoned for any term of years or life, or both.
    (b) Whoever obstructs, or attempts to obstruct, or in any way interferes with or prevents the enforcement of this
    section, shall be liable to the penalties prescribed in subsection (a).

    Involuntary Servitude
    Summary: Section 1584 of Title 18 makes it unlawful to hold a person in a condition of slavery, that is, a condition
    of compulsory service or labor against his/her will. A Section 1584 conviction requires that the victim be held
    against his/her will by actual force, threats of force, or threats of legal coercion. Section 1584 also prohibits
    compelling a person to work against his/her will by creating a "climate of fear" through the use of force, the threat of
    force, or the threat of legal coercion [i.e., If you don't work, I'll call the immigration officials.] which is sufficient to
    compel service against a person's will.
    18 U.S.C. § 1584
    Whoever knowingly and willfully holds to involuntary servitude or sells into any condition of involuntary servitude,
    any other person for any term, or brings within the United States any person so held, shall be fined under this title or
    imprisoned not more than 20 years, or both. If death results from the violation of this section, or if the violation
    includes kidnapping or an attempt to kidnap, aggravated sexual abuse or the attempt to commit aggravated sexual
    abuse, or an attempt to kill, the defendant shall be fined under this title or imprisoned for any term of years or life, or
    both.

    Forced Labor
    Summary: Section 1589 of Title 18, which was passed as part of the TVPA, makes it unlawful to provide or obtain
    the labor or services of a person through one of three prohibited means. Congress enacted § 1589 in response to the

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Supreme Court’s decision in United States v. Kozminski, 487 U.S. 931 (1988), which interpreted § 1584 to require
the use or threatened use of physical or legal coercion. Section 1589 broadens the definition of the kinds of coercion
that might result in forced labor.
18 U.S.C. § 1589
Whoever knowingly provides or obtains the labor or services of a person--
(1) by threats of serious harm to, or physical restraint against, that person or another person;
(2) by means of any scheme, plan, or pattern intended to cause the person to believe that, if the person did not
perform such labor or services, that person or another person would suffer serious harm or physical restraint; or
(3) by means of the abuse or threatened abuse of law or the legal process,
shall be fined under this title or imprisoned not more than 20 years, or both. If death results from the violation of this
section, or if the violation includes kidnapping or an attempt to kidnap, aggravated sexual abuse or the attempt to
commit aggravated sexual abuse, or an attempt to kill, the defendant shall be fined under this title or imprisoned for
any term of years or life, or both.

Trafficking with Respect to Peonage, Slavery, Involuntary Servitude, or Forced Labor
Section 1590 makes it unlawful to recruit, harbor, transport, or broker persons for labor or services under conditions
which violate any of the offenses contained in Chapter 77 of Title 18.
18 U.S.C. § 1590
Whoever knowingly recruits, harbors, transports, provides, or obtains by any means, any person for labor or services
in violation of this chapter shall be fined under this title or imprisoned not more than 20 years, or both. If death
results from the violation of this section, or if the violation includes kidnapping or an attempt to kidnap, aggravated
sexual abuse, or the attempt to commit aggravated sexual abuse, or an attempt to kill, the defendant shall be fined
under this title or imprisoned for any term of years or life, or both.

Sex Trafficking of Children or by Force, Fraud, or Coercion
Section 1591 criminalizes sex trafficking, which is defined as causing a person to engage in a commercial sex act
under certain statutorily enumerated conditions. A commercial sex act means any sex act, on account of which
anything of value is given to or received by any person. The specific conditions are the use of force, fraud, or
coercion, or conduct involving persons under the age of 18. The punishment for conduct that either involves a victim
who is under the age of 14 or involves force, fraud, or coercion is any term of years or life. The punishment for
conduct that involves a victim between the ages of 14 and 18 is 40 years.
18 U.S.C. § 1591
Whoever knowingly--
(1) in or affecting interstate or foreign commerce, or within the special maritime and territorial jurisdiction of
the United States, recruits, entices, harbors, transports, provides, or obtains by any means a person; or
(2) benefits, financially or by receiving anything of value, from participation in a venture which has engaged in an
act described in violation of paragraph (1), knowing that force, fraud, or coercion described in subsection (c)(2) will
be used to cause the person to engage in a commercial sex act, or that the person has not attained the age of 18 years
and will be caused to engage in a commercial sex act, shall be punished as provided in subsection (b).

Unlawful Conduct with Respect to Documents in Furtherance of Trafficking, Peonage, Slavery, Involuntary
Servitude, or Forced Labor
Section 1592 makes it illegal to seize documents in order to force others to work. By expanding its coverage to false
documents as well as official documents, § 1592 recognizes that victims are often immobilized by the withholding
of whatever documents they possess, even if the documents are forged or fraudulent. Section 1592 expands the
scope of federal trafficking statutes to reach those who prey on the vulnerabilities of immigrant victims by
controlling their papers.
18 U.S.C. § 1592
(a) Whoever knowingly destroys, conceals, removes, confiscates, or possesses any actual or purported passport or
other immigration document, or any other actual or purported government identification document, of another
person--
(1) in the course of a violation of section 1581, 1583, 1584, 1589, 1590, 1591, or 1594(a);
(2) with intent to violate section 1581, 1583, 1584, 1589, 1590, or 1591; or
(3) to prevent or restrict or to attempt to prevent or restrict, without lawful authority, the person's liberty to move or
travel, in order to maintain the labor or services of that person, when the person is or has been a victim of a severe

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  d. Patterned and Derived from Nazi influences: The guardianship system resembles the
     Holocaust, a shameful era in history and all that is immoral and evil in history.
  e. Identical to hate crimes of Klu Klux Klan: This crime targets not only a class of citizens
     but a protected class of citizens.
  f. Cruel and Unusual Punishment: Any single “act” removing a single right of a vulnerable
     adult is cruel and unusual punishment in the nature of criminal “sentencing” without a crime
     being committed. Vulnerable adults in guardianship are punished for the act of growing old.
  g. Contradicts the entire concept of equal opportunity in a democratic republic: With the
     concept of “guardianship” looming, the greater the achievement of financial success, the
     greater the danger of a Florida citizen becoming a target for the guardian enterprise, as it is
     an industry that exists solely to devour the assets, life and liberty of its prey, a financially
     affluent Florida vulnerable citizen.
  h. An affront and offense to the American public: Toxic, illegal “guardianship” has
     absolutely no semblance to legitimacy and is an affront to the American public. There is
     nothing “legal” about this concept – it is madness. If this activity occurred outside of the
     guardian racket, the perpetrators would be imprisoned for life.
  i. Human ownership and trading enterprise: “Guardianship” would not exist but for its
     fueling a color of law “for profit” enterprise operating through the courts wherein human
     life is traded and sold to lawless grifters who use the term “guardian” to attempt to
     legitimize their criminal endeavor. The removal of all profit from this industry would
     eliminate this predatory self-created cottage industry.
  j. Oppressive, despotic and backwoods: One need only look to Sweden and other
     progressive countries to see that there are extraordinary enlightened options to this country’s
     venal cruel punishment of its elderly vulnerable citizens. These countries morally and
     legally advance a system to integrate their vulnerable citizens into the community with non-
     paid assistance as needed instead of enacting unenforced Olmstead-type laws that are
     trampled upon by the courts and are a charade to the American and international public.
                    This lawsuit serves as a huge wake-up call and demand
                   for enforcement of a civilized, lawful, moral government
                          where criminal sanctions and accountability
  are imposed on color of law public officials who deliberately destroy lives of American
   families by means of a state of Florida racketeering enterprise run through the court.

form of trafficking in persons, as defined in section 103 of the Trafficking Victims Protection Act of 2000, shall be
fined under this title or imprisoned for not more than 5 years, or both.
(b) Subsection (a) does not apply to the conduct of a person who is or has been a victim of a severe form of
trafficking in persons, as defined in section 103 of the Trafficking Victims Protection Act of 2000, if that conduct is
caused by, or incident to, that trafficking.

Additional provisions of the TVPA provide for mandatory restitution (18 U.S.C. § 1593) and forfeiture (18 U.S.C. §
1594(b)), criminalize attempt (18 U.S.C. § 1594(a)), and give victims an avenue for civil lawsuits (18 U.S.C. §
1595).

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                The State of Florida and the government as a whole is in complete crises.
                             Lawless courts that destroy America’s families
                               are by far the greatest danger to our country.
                              This lawsuit is reflective of how deep and dire
                      is the utter lawlessness and corruption of Florida’s “courts.”


                                            II.      JURISDICTION
108. The provisions of paragraphs 1-107 are incorporated herein.
109. Jurisdiction is proper in this Court as the Defendants, Nelson Mullins have a place of business
    in Columbia, South Carolina.
110. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331.
111. This matter also arises from violations of 18 U.S.C. § 1961 et seq. (“Racketeer Influenced and
    Corrupt Organizations Act” or “RICO”). RICO addresses the corrupt abuse and misuse –
    usually covertly – of organizations, entities, businesses, institutions or even governments or
    government agencies, such that superficially legitimate entities actually operate for criminal
    purposes irrelevant to the entity’s purpose.
112. Jurisdiction is also pursuant to 18 U.S.C. § 1965, which allows for nationwide jurisdiction
    pursuant to the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§
    1961-1968. 53
113. This Court also has jurisdiction over this matter pursuant to Rule 18, Federal Rules of Civil
    Procedure.
114. This Court also has subject matter jurisdiction over this action based on diversity of citizenship
    pursuant to 28 U.S.C. § 1332(a)(2).
115. This Court has supplemental jurisdiction over this action pursuant to 28 U.S.C. § 1367.

III. THIS MATTER EXPOSES AND MAKES KNOWN FOR JUDICIAL NOTICE AND TO
                THE PUBLIC DEVIANT SCHEMES AND TACTICS EMPLOYED BY
                                    CORRUPT JUDGES AND ATTORNEYS

   53
     See Rolls-Royce Corp. v. Heros, Inc., 576 F.Supp.2d 765, 778-79 (N.D. Tex. 2008) (citing cases); Oblio Telecom,
   Inc. v. Patel, No. 3-08-CV-0279-L, 2008 WL 4936488 at *4 (N.D. Tex. Nov. 18, 2008) (citing cases). Stated
   differently, if a RICO plaintiff can show that at least one defendant "resides, is found, has an agent, or transacts his
   affairs" in the forum, then jurisdiction is proper as to all other defendants if "the ends of justice require." Rolls-
   Royce, 576 F.Supp.2d at 779; Paolino v. Argyll Equities, L.L.C., 401 F.Supp.2d 712, 718 (W.D. Tex. 2005).
   In a RICO action, the "ends of justice" require nationwide service of process to further the Congressional intent of
   allowing "plaintiffs to bring all members of a nationwide [ ] conspiracy before a court in a single trial." Butcher's
   Union Local No. 498 v. SDC Investments, Inc., 788 F.2d 535, 539 (9th Cir. 1986), citing Sanders v. United
   States, 373 U.S. 1, 17, 83 S.Ct. 1068, 1078, 10 L.Ed.2d 148 (1963); accord Johnson v. Investacorp, Inc., No. 3-89-
   CV-2607-H, 1990 WL 25034 at *1 (N.D. Tex. Jan. 31, 1990). Nationwide service of process also promotes the
   "ends of justice" where, as here, numerous defendants reside in different states, and there likely is no alternative
   forum in which jurisdiction would be proper as to all defendants.

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                                                  __________________________


        SHOULD ANY CORRUPT AND DEVIOUS SCHEMES BE PERPETRATED HEREIN,
                          PLAINTIFFS WILL FILE CRIMINAL COMPLAINTS
               WITH ALL APPROPRIATE LAW ENFORCEMENT AGENCIES AND
                                THE INTERNATIONAL CRIMINAL COURT
116. The provisions of paragraphs 1-115 are incorporated herein.
117. As exposed by Justice Malloy, there is an insidious 4th branch of government built on a
     fraternity of lawyers who become judges, legislators, governors and F.B.I. attorneys, illegally
     insolating themselves from accountability and protecting their own crimes:
     a. They ignore the law.
     b. They ignore the facts.
     c. They deviously misstate the law and misstate the facts, thereby committing perjury.
     d. They mastermind and create litigation by these criminal and civil violations of the law in
         order to extort fees.
     e. In doing so, they are MAKING A BUSINESS FROM ORGANIZED CRIME.
     f. They are not only STEALING AND EXTORTING FEES, THEY ARE STEALING THE
         LIVES OF THEIR PREY WHO ARE NOT MEMBERS OF THIS ORGANIZED CRIME
         RACKET – their victims not only suffer the extortion and theft of their assets but the theft
         of their livelihood, their life, their family life and their home, the very essence of
         “American values” as they are typically forced to leave their jobs or are fired as a result of
         the 24/7 effort involved to futilely seek remedy in the very courts perpetrating the crimes.
     g. These union members protect each other by illegally establishing “self policing” judicial
         and attorney “oversight committees” to oversee their own misconduct and illegal acts.
     h. Without legal/legislative authority, they have illegally seized self policing jurisdiction,
         deviously circumventing oversight by an independent law enforcement agency with
         prosecutorial powers. They have no lawful authority to “self police”.
     i. They brazenly act as their own protection racket.
     j. They have created illegal, illusory and unconstitutional “immunity” for their own crimes.
     k. They mastermind illegal “local rules” that violate fundamental Constitutional rights.
     l. They are imposters, criminally violating 18 USC 912 54 by issuing illegal, void orders that
         criminally violate human rights laws and the Constitution.
     m. We are being forced to “appeal” the crimes of corrupt judges when the correct remedy is
         their criminal investigation and arrest by Federal law enforcement.

   54
     18 U.S. Code § 912.Officer or employee of the United States
   Whoever falsely assumes or pretends to be an officer or employee acting under the authority of the United States or
   any department, agency or officer thereof, and acts as such, or in such pretended character demands or obtains any
   money, paper, document, or thing of value, shall be fined under this title or imprisoned not more than three years, or
   both.

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          n. In a dance of deception, when we report their crimes to the F.B.I. and D.O.J., these
             agencies pretend the crimes are a “civil” matter as they hold corrupt judges above the law.
          o. Moreover, criminal complaints to these agencies are futile as they are wrongfully diverted
             to their attorneys, who are crony bar union members of judges, complicit with and cover up
             public corruption in violation of Hobbs Act, 18 USC 1951.
          p. Any “appeal” of the illegal, void decisions of these corrupt judges brings no relief as the
             appellate judges act in collusion and issue more brazenly illegal and irrational
             “pronouncements” that “affirm” the openly corrupt decision of these judges. Thus each
             encounter with another court tier only serves to escalate the corruption, further obstruct
             justice and perpetrate the global judicial lawlessness that has infiltrated our country.
          q. To keep their unlawful appellate orders secret from the public, the second tier judges’ order
             they are “not to be published.”
          r. They hide behind an illegal, void shield of “immunity”. The Constitution grants the right
             to petition for redress of grievances. The flagrantly corrupt concept of “immunity” IS
             TANTEMOUNT TO PARDONING THEMSELVES FOR COMMITING CRIMES AND
             VIOLATING THE CONSTITUTION.                    Only presidents and governors have the
             Constitutional Power to grant pardons, but lawyers and lawyer-judges are
             unconstitutionally granting pardons of themselves by illegally designating themselves as
             "immune from prosecution." This is an act of treason against the Constitution.
          s. They protect each other and the dirty judges who are murdering our parents and loved
             one in this unholy organized guardian crime racket.
118. The public is not fooled as to the decay and decline of America as a democracy.
119. By its failure to adhere to the law, violation of fundamental human rights, criminal violation of
     rights to free speech and suppressing the media, America has surfaced as a government patterned
     after that in Nazi Germany55 and Nazi law and order.56

                IV.     SUMMARY OF CAUSES OF ACTION AND REMEDIES SOUGHT
120. The provisions of paragraphs 1-119 are incorporated herein.
121. Summary of Counts/Causes of Action by Plaintiff Stone:
   a. Negligence;
     b. Loss of Familial Association and Interference with Constitutionally Protected Associations;
      c. Wrongful Death;
      d. Racketeering and conspiracy to commit racketeering;
      e. Deprivation of Rights under Color of Law;

     55
          https://encyclopedia.ushmm.org/content/en/article/the-press-in-the-third-reich
     56
       Nazi law and order - Nazi Germany
     alphahistory.com/nazigermany/nazi-law-and-order
     Nazi law and order was predicated on the idea that individuals should be subordinate to the state, law-abiding and
     obedient. Everyone was to be aware of their place in German society and refrain from causing trouble

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      f. Discrimination and Retaliation in Violation of Americans with Disabilities Act
      g. Breach of Fiduciary Duty; Ipso Facto Liability; and Legal Malpractice
      h. Unjust Enrichment and Fraud in the Inducement;
      i. Intentional Infliction of Emotional Distress;
      j. Abuse of Process and Malicious Prosecution
122. Summary of Relief Demanded by Plaintiff Stone:
      a. Compensatory, punitive and treble damages and attorneys’ fees, costs and expenses.
      b. Order Donald Trump issue Executive Orders to federal law enforcement, the F.B.I. and
          D.O.J. mandating their criminal investigation and arrest of the Nelson Mullins officials
          involved, the state actor judges involved including Milton Hirsch and Carol Lisa Phillips
          and the state actor public official including Ron Desantis, Ashley Moody and their
          processors, and all corrupt judges, attorneys and guardians involved in the Guardian Human
          Trafficking/Corruption Racket;
      c. Order Federal Grand Juries and transfer this matter to the F.B.I. and D.O.J. for investigation
          and arrests;
      d. Order F.B.I. and D.O.J.to investigate, issue subpeonas, wiretap and confiscate all
          documents, computers, telephone records, medical, bank and all other records, all
          communications and other documents involved in the matters herein;
      e. Grant Plaintiff Stone the same powers as those of law enforcement to obtain access to
          documents and discovery;
 123. Summary of Counts/Causes of Action by all Plaintiffs:
      a. Racketeering;
      b. Deprivation of Rights under Color of Law
      c. Discrimination and Retaliation in Violation of Americans with Disabilities Act
 124. Summary of Relief Demanded by all Plaintiffs:
      a. Compensatory, punitive and treble damages and attorneys’ fees, costs and expenses.
      b. Order Donald Trump issue Executive Orders to federal law enforcement, the F.B.I. and
          D.O.J. mandating their criminal investigation and arrest of the public officials involved
          including Ron Desantis, Ashley Moody and their processors, and all corrupt judges,
          attorneys and guardians involved in the Guardian Human Trafficking/Corruption Racket;
      c. Order Federal Grand Juries and transfer this matter to the F.B.I. and D.O.J. for investigation
          and arrests;
      d. Order F.B.I. and D.O.J.to investigate, issue subpeonas, wiretap and confiscate all
          documents, computers, telephone records, medical, bank and all other records, all
          communications and other documents involved in the matters herein;
      e. Grant Plaintiffs the same powers as those of law enforcement to obtain access to documents
          and discovery;




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125. Reference should be made to the below article 57dealing with a similar abhorrent criminal
     racket. This organized crime racket KidsForCash was also run through the courts where, like
     the vulnerable adults involved in this matter, another class of vulnerable citizens, juveniles and
     young adults, were preyed on and extorted by dirty corrupt color of law federal judges who
     committed inhumane crimes against humanity, stealing their liberty and their human rights
     persons, sending these vulnerable citizens to jails in which they were secret investors. The
     article exposes the countless attorneys (and other judges) involved in the cover up and
     protection racket that kept this atrocity under wraps for years.
126. In the interest of justice, there should be no page restriction on this Complaint as it has been
     painstakingly and reasonably compiled and prepared to set forth the enormity of the
     racketeering activities and the organized crime rackets and there are multiple defendants which
     plaintiffs are forced to sue in this civil matter to protect themselves from dangerous organized
     crime rackets against whom this Court has a duty to protect.

                         V.   WARNING TO PUBLIC AND
              FOR THIS COURT TO TAKE GRAVE NOTICE, HEED AND REPORT
                      NELSON MULLINS ARE CRIMINAL KINGPINS
              OF THE GUARDIAN HUMAN TRAFFICKING/CORRUPTION RACKET
 127. The provisions of paragraphs 1-126 are incorporated herein.
 128. Nelson Mullins, Carl Rosen and Mark Francis Raymond, like Oppenheimer and Co., one of
      their racketeer affiliates profess to be “good citizens” when they are anything but – they are a
      plague and blight on society and shadowy underground members of the guardian
      corruption/human trafficking racket.
 129. Nelson Mullins is a shadowy figure in the Guardian Human Trafficking/Corruption Racket
      underworld, keeping its ties with the guardian racket secretive and hidden and is thereby even
      more dangerous as the public is unaware and does not take measures to avoid this firm.
 130. Their association with the racket and entrapment of the general public was made obvious when
      an unsuspecting member of the public was recently seized into the racket by Nelson Mullins.
 131. That victim has sued Nelson Mullins and Carl Rosen in a huge $250,000 lawsuit for
      malpractice relating to their perpetration of this racket.58


     57
       Daily Kos
     The Democratic nominee for Congress in Pennsylvania’s 11th District has made a focus of his campaign curbing
     judicial abuses and protecting lawyers who criticize judges. Andy Ostrowski points to the Pennsylvania kids-for-
     cash scandal, where two county judges were convicted of charges involving millions of alleged kickbacks to
     send children to private juvenile detention facilities, as an example where lawyers failed to do the right thing.
     “That didn’t happen in a vacuum,” Ostrowski said. “There were lawyers who were in there watching as these
     children were led into the courtroom in shackles without representation and led out in shackles to prison. They all
     knew it was wrong. Why didn’t they speak up? Simple — because they were afraid.”
     58
       Nelson Mullins Sued for Malpractice by Florida Couple (1)
     news.bloomberglaw.com/us-law-week/nelson-mullins...

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132. Nelson Mullins does not limit its corruption to the human trafficking of vulnerable adults and
      using its clients to steal the assets of their families. The corrupt, unlawful “law firm” has also
      expanded it criminal empire into S.E.C. fraud.59
133. Reference should be made to Exhibit C setting forth crimes, corruption and dishonest acts of
      Nelson Mullins, Mark Francis Raymond and Carl Rosen in collusion with Alan Stone.
134. Mark Francis Raymond and Carl Rosen are engaged in criminal activities and racketeering in
      the course and scope of their employment with Nelson Mullins and their firm and the lawyers
      named herein and all such named as Defendants are responsible and liable.
135. Nelson Mullins, Mark Francis Raymond and Carl Rosen are representing clients, Alan Stone
      and Culture of Corruption Elmore who are perpetrating criminal acts and they are thereby
      acting as accomplices and accessories pursuant to 18 U.S.C. 2 and 8 U.S.C. 3 and acting in
      criminal violation of ethics and bar rules.
136. Nelson Mullins, a criminal enterprise operating as a law firm has outlived its shelf life. Nelson
      Mullins is defunct and will become disbanded just as has countless other corrupt and
      purportedly “infallible” extinct behemoths60
137. It is well publicized that their racketeer cohort in this matter, Defendant Oppenheimer and Co.
      (“Culture of Corruption Oppenheimer”) has a widespread “Culture of Corruption”. 61


   Jan 17, 2020 · A Florida couple who hired an estate planning attorney to set up trusts for their five children with
   more than $250 million in funding sued the attorney and his firm, Nelson Mullins Riley & Scarborough, alleging the
   defendants exploited them for financial reasons
   59Nelson Mullins Partner Faces Complaint From SEC | JDJournal
   www.jdjournal.com/2016/01/15/nelson-mullins...
   Jan 15, 2016 · The U.S. Securities and Exchange Commission is accusing a senior partner at Nelson Mullins Riley
   & Scarborough of playing a part in a “pay-to-play” scheme involving State Street Bank and Trust Co.
   60
     Why Law Firms Collapse - Law360
   www.law360.com/.../662818/why-law-firms-collapse
   Jun 12, 2015 · The leaders of the collapsed law firm Dewey & LeBoeuf are on trial and each new day of testimony
   delivers more damning evidence about how they built a massive financial fraud. The real cause of ...
   10 Huge Law Firm Collapses Of The Decade - Business Insider
   www.businessinsider.com/decades-biggest-law-firm...
   Consequently, the New York firm was ravaged by the collapse of the subprime crisis and the ensuing credit crunch.
   Also, their biggest client was Bear Stearns, according to WSJ's Law Blog.
   The Eight Most Spectacular Law Firm Collapses In History ...
   www.businessinsider.com/the-eight-most...
   Cause of death: San Francisco law firm Brobeck, Phleger & Harrison ran into money trouble after the dot-
   com collapse, but its former chairman Tower Snow kept saying again and again that the firm ...
   Dozens of Law Firms Called It Quits in 2017 | New York Law ...
   www.law.com/newyorklawjournal/sites/newyorklaw...
   News Dozens of Law Firms Called It Quits in 2017 The pace of law firm dissolutions will likely keep up in
   the new year, said industry observers, as the same challenging market conditions prevail.
   This Biglaw Firm Is Defunct, But Not Forgotten | Above the Law
   abovethelaw.com/2019/02/this-biglaw-firm-is...
   Feb 01, 2019 · This Biglaw Firm Is Defunct, But Not Forgotten Remembering the Biglaw firms of the past. ... and
   opinions on law firms, lawyers, law schools, lawsuits, judges, and more.
   61
        http://www.investorprotection.com/blog/2016/06/09/oppenheimer-co-widespread-culture-of-corruption/

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138. Culture of Corruption Oppenheimer has been the subject of over a whopping 250 regulatory
     investigations and customer complaints. See Exhibit D.

 VI.     BACKGROUND AS TO PLAINTIFF STONE AND SUMMARY OF ORGANIZED
          CRIMINAL ENTERPRISES (“CRIME RACKETS”) BEING PERPETRATED
                          AGAINST PLAINTIFF STONE
139. The provisions of paragraphs 1-138 are incorporated herein.
140. In keeping with the modus operandi of racketeers, Defendants have stalked, extorted and
      viciously embroiled Plaintiff Stone is a litany of racketeering enterprises taking place in
      collusive, corrupt, racketeer courts that are illegally using the courts to engage to
      perpetrate fabricated, sham litigation that is the product of their criminal acts.
141. These Crime Rackets originate with the Guardian Human Trafficking/Corruption Racket.
142. The modus operandi of the Guardian Human Trafficking/Corruption Racket is to keep their
      victims embroiled in an army of rackets in corrupt courts throughout the state such that:
      a. their lives are destroyed and their lose their livelihood defending diabolically corrupt
          litigation throughout dirty courts all over the state;
      b. their terrorist activities are insulated as each court is involved in their own separate racket;
      c. this operates as a diversion for their criminal activities as their target is so entrenched in
          dealing with futile, rigged litigation that they are unable to expose these racketeers whose
          actions fit within the definition of domestic terrorists; 62 and
      d. threaten, stalk and terrorize their victims so they are terrified to bring litigation against the
          crime racket. This is exactly the result with another victim referenced herein who narrowly
          missed being MURDERED WHEN HIS CAR WAS BOMBED after filing suit.
           WHERE IS THE IMPOTENT, DYSFUNTIONAL CORRUPT TO THE CORE
                                F.B.I. AND D.O.J.?
          THIS COURT IS MANDATED TO ORDER THE INTERVENTION OF THESE
                   FEDERAL AGENCIES AS WAS DONE BY A JUDGE
                         IN THE KIDS FOR CASH SCANDAL.
143. The following is a summary of the diabolical FIVE (5) parallel crime rackets being
     perpetrated against Plaintiff Stone orchestrated by Nelson Mullins, Mark Francis Raymond,
     Carl Rosen, Alan Stone, William Elmore, Oppenheimer, their fellow racketeer and an
     unindicted felon, Roy R. Lustig and others in collusion with Milton Hirsch and Carol Lisa
     Phillips and others under the auspices of the Florida Public State Actor Defendants:

   62
     18 U.S.C. § 2331 - U.S. Code Title 18. Crimes and Criminal ...
   codes.findlaw.com/us/title-18-crimes-and...
   (5) the term “ domestic terrorism ” means activities that-- (A) involve acts dangerous to human life that are a
   violation of the criminal laws of the United States or of any State; (B) appear to be intended--


                                                         40
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             A. THE GUARDIAN HUMAN TRAFFICKING/CORRUPTION RACKET
144. Plaintiff Stone’s mother, Helen Stone (“Mrs. Stone”) was financially exploited and abused by
      her son, Alan Stone.
145. Alan Stone used secret wire transfers and forged checks to embezzle approximately $800,000.
146. Alan Stone isolated Mrs. Stone from the eyes of the world and her daughter, Plaintiff Stone as a
      precursor to his abuse.
147. Nelson Mullins and Mark Francis Raymond represent Alan Stone and accomplices to his
      crimes.
148. As a last resort, having filed lawsuits, criminal complaints and other acts to remedy the
      documented crimes and abuse of her mother that were futile as law enforcement operates as a
      protection racket for crimes against seniors and considers them a “civil matter”, as the guardian
      racket was unknown to Plaintiff Stone at the time, Plaintiff Stone filed for guardianship of her
      mother to protect her from crimes perpetrated by her son. In the modus operandi of this crime
      racket, Plaintiff Stone was wrongfully informed she could not be her mother’s guardian as she
      lived out of state at the time.
149. Plaintiff Stone’s mother did not need a guardian. She needed for law enforcement to criminal
      investigate the crimes being perpetrated against her by Alan Stone.
150. Plaintiff’s Stone’s mother was perfectly competent but ambushed in her home by collusive state
      actors without credentials and who without any physical or other medical tests illegally and
      fraudulently declared Mrs. Stone incapacitated to human traffic her and embezzle her assets.
151. THUS THE ENTIRE GUARDIANSHIP PROCEEDING WAS A SHAM AND IS VOID AND
      ILLEGAL.
152. As a result, all of the twisted, demented “activities” that constitute war crimes are a complete
      farce, the acts of domestic terrorists.
153. In the modus operandi of this terrorist-type operation, Plaintiff Stone was immediately falsely
      accused of a variety of “misdeeds” in order to forcibly disappear Mrs. Stone from the eyes of
      the world and her daughter. In the depraved world of guardianship, Mrs. Stone was thereby
      venally punished for Plaintiff Stone’s inane, purported (albeit falsified) “misdeeds”.
154. Thereafter Mrs. Stone illegally stripped of her rights and was human trafficked and embezzled.
155. Mrs. Stone was deprived food and medical attention in order to steal her money that would be
      used for those basis needs.
156. Mrs. Stone was repeatedly brought to the brink of death and emergency hospitalized for
      conditions related to her abuse, i.e.: dehydration, malnutrition, fungus, infections, falls from
      suspected abuse and other sickening conditions.
157. Mrs. Stone was the victim of a criminal battery as her stomach was cut open to implant a
      medically unneeded feeding tube because Nelson Mullins, Mark Francis Raymond, Carl
      Rosen, Milton Hirsch, Alan Stone and others (the “Stone Guardian Human
      Trafficking/Corruption Racket”) deprived her of food.


                                                    41
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158. Mrs. Stone’s home was sold from under her and the Stone Guardian Human
     Trafficking/Corruption Racket embezzled the proceeds.
159. Mrs. Stone was held against her will at a vile nursing home that criminally violated state
     regulations.
160. Mrs. Stone was drugged illegally into a stupor with illegally psychotropic drugs to keep her
     incoherent.
161. Mrs. Stone was removed on a daily basis from the vile nursing home by persons who had no
     license and taken to unknown places where it is suspected she was subjected to sexual abuse.
162. All of Mrs. Stone’s life savings were embezzled by the Stone Guardian Human
     Trafficking/Corruption Racket under the guise of “fees” in the sham color of law court known
     preposterously as “guardian” court under the guise of “fees” that were invented by the Stone
     Guardian Human Trafficking/Corruption Racket.
163. Mrs. Stone was murdered by the members of the Stone Guardian Human
     Trafficking/Corruption/ Racket by depraved indifference to her life, a crime of depraved heart
     murder63 by being subjected to crimes on the order of war crimes and being administered
     illegal toxic psychotropic drugs that contain black box warnings against their use by senior
     adults as they cause cardiac arrest and stroke.
164. Only those whose conduct fits within the definition of sociopaths/psychopaths could conjure up
     these depraved criminal tactics…. removing a vulnerable adult from her daughter, her rabbi,
     her home, her surroundings and placing her in an unknown location where she is disappeared
     from the eyes of the outside world, looting her asset; ruthlessly chemically restraining her with
     illegal psychotropic drugs in order to keep her incoherent; warehousing/human trafficking her
     for death to steal her assets and murdering her by depraved heart murder.
165. Reference should be made to Exhibit B setting forth the atrocities perpetrated against Mrs.
     Stone in graphic detail.
166. These crimes are of record in the color of law “guardian” court.
167. This racket has been and is being perpetrated in the color of law court of and in collusion with
     color of law Milton Hirsch.
168. Milton Hirsch is an imposter judge, who as is a tactic of this racket, by criminal intent, was
     “transferred” to the sham, color of law “guardian” and “probate” court from the criminal court.
     This is a vicious tactic of the unholy racket where dirty judges without a whit of education,
     competency, regard for or knowledge about the needs of vulnerable adults whose principles of
     care are the polar opposite to those in a criminal court are diabolically and in judicial
     malpractice “transferred” to “guardian court” as they have amassed an arsenal of depraved

   63 Depraved Heart Murder Definition - Duhaime.org

   www.duhaime.org/LegalDictionary/D/DepravedHeartMurder.aspx
   Depraved Heart Murder Definition: Where an individual under circumstances evincing a depraved indifference to
   human life, recklessly engaged in conduct which created a grave risk of death to another person, and thereby caused
   the death of another person.


                                                           42
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      tricks in connection with their immersion in an arena filled with the most heinous crimes to
      demonically employ the dirty deranged tactics they use against those accused of crimes,
      treating vulnerable adults as criminals.
169. Milton Hirsch in one of these deranged tactics never notified Plaintiff Stone of his “transfer”
      into the guardian matter.
170. Nor has color of law Milton Hirsch ever provided Plaintiff Stone of nary of his illegal void
      orders.
171. Corrupt Nelson Mullins never provided Plaintiff with many of their perjured “pleadings” as
      Plaintiff Stone later learned, however knowing Plaintiff Stone was not provided such pleading,
      Milton Hirsch proceeded to conduct illegal ex parte proceedings.
172. This deliberate breach of law is a felon crime and arises to the conduct of a hate crime.
173. In addition, color of law Milton Hirsch is civilly and criminally depriving Stone of her rights
      under color of law, including her right to access to the court and objecting her justice.
174. In addition, color of law Milton Hirsch intentionally, deviously and criminally acts without
      jurisdiction as he is disqualified as a matter of law, having failed to respond to Plaintiff’s
      Stone’s petition to disqualify him as he so mandated within 30 days by law.
175. In addition, color of law Milton Hirsch is acting as an accessory and accomplice to the crimes
      of Nelson Mullins and their attorneys.
176. Milton Hirsch’s pervasive diabolical corruption is all the most perverse, given his ominous
      history of corruption, financial statement fraud and other crimes:
       a. This court is notified of the shocking case of State v. Bailey 3D14-1917 over which color
           of law Milton Hirsch “presided” that made headlines64 and vilified the judicial profession,
           wherein his highly unethical acts would lead any reasonable person to conclude he acted
           as an accomplice65 and accessory 66to embezzlement by failing to hold an attorney
           criminally liable for the embezzlement of $700,000.
       b. In that case, an attorney pillaged $700,000 from funds of his client held in trust. Milton
           Hirsch failed to impose jail time and allowed him to pay only a few dollars of that which

   64 Miami lawyer convicted of looting trust fund avoids prison ...

   www.miamiherald.com/news/local/community/miami...
   Florida State University ... Miami-Dade Circuit Judge Milton Hirsch ruled Friday in a decision that outraged
   prosecutors and victims. ... Hirsch insisted that Bailey – who once “stood at the ...
   65
      18 U.S. Code § 2.Principals
   (a) Whoever commits an offense against the United States or aids, abets, counsels, commands, induces or procures
   its commission, is punishable as a principal. (b) Whoever willfully causes an act to be done which if directly
   performed by him or another would be an offense against the United States, is punishable as a principal.
   66
      18 U.S. Code § 3.Accessory after the fact
    Whoever, knowing that an offense against the United States has been committed, receives, relieves, comforts or
   assists the offender in order to hinder or prevent his apprehension, trial or punishment, is an accessory after the fact.
   Except as otherwise expressly provided by any Act of Congress, an accessory after the fact shall be imprisoned not
   more than one-half the maximum term of imprisonment or (notwithstanding section 3571) fined not more than one
   half the maximum fine prescribed for the punishment of the principal, or both; or if the principal is punishable by
   life imprisonment or death, the accessory shall be imprisoned not more than 15 years.

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          he embezzled. The Third DCA lambasted Milton Hirsch (but violating their duty to
          protect and judicial ethics doing nothing to investigate and protect the public from
          corruption) stating:
            “The trial judge (sic Hirsch) labored mightily to spare Bailey jail time, discoursing
            through thousands of years of penological thought from Plato’s Protagoras (380 BC)
            “No one punishes the evil doer under the notion or for the reason that he has done wrong
            only the unreasonable fury of a beast acts in that manner. But he who desires to inflict
            rational punishment does not retaliate for a past wrong which cannot be undone…”) to
            the deontological…But contrary to the writings of these philosophers, the
            Shakespearean-like angst of the trial judges, and the fury of beasts notwithstanding, we
            have no difficulty preferring in each of their steads the prevenient principles of
            punishment enunciated by our controlling muse, the Florida legislature, which has
            instructed that “the primary purpose of sentencing is to punish the offender,” Section
            921.002 (1) (b) Fla. Stat (2010) and that under our system, “the punishment must fit the
            crime”… Turning then to Florida law, our Criminal Punishment Code plainly instructed
            the trial judge what punishment fites the crime in this case – twenty one months to thirty
            years in state prison.…the trial judge offered Bailey the opportunity of a lifetime – no
            prison time provided he repay just some, even a few dollars in good faith, of the money
            he stole.” The 3rd DCA reversed and remanded for a prison sentence to be imposed.
        c. Any reasonable person would conclude that Hirsch’s recital to “beasts” and to “Plato”
            an absurdity and insult to the intelligence of even a lunatic and only for the purpose of
            clearing a path to and covering up for brazen bribery.
        d. This is all the more obvious when Hirsch’s financials are reviewed that reveal
            unexplained vast increase in assets and unexplained funds that appear in neon lights.
177. Nelson Mullins, Mark Francis Raymond, Carl Rosen, Alan Stone and Milton Hirsch are
     perpetrators, colluders, accomplices and accessories to these Crimes Against Humanity.
178. The organized crime racket being perpetrated in the color of law “guardian racket” by Nelson
     Mullins, Mark Francis Raymond, Carl Rosen and Milton Hirsch is not limited to atrocities
     perpetrated against Mrs. Stone.
179. Plaintiff Stone was seized and embroiled in a concurrent organized crime racket in the same
     predatory “guardian” court wherein atrocities are being perpetrated against her.
180. Mark Francis Raymond concocted an illegal “settlement agreement” that was the product of
     fraud in the inducement.
181. Not only were the terms violated by all parties thereto including Nelson Mullins, Mark Francis
     Raymond, Carl Rosen and Alan Stone but it was only used to bind Plaintiff Stone to an illegal
     document that purports to legalize the human trafficking and embezzlement of Plaintiff Stone’s
     mother.
182. Plaintiff Stone entered into the fraudulent “settlement agreement” in reliance on the
     representations therein that the reasons for which Plaintiff Stone filed the guardianship would



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      be resolved and Mother would be protected, physically, mentally, emotionally and financially
      from all abuse and exploitation from Alan Stone and all other parties.
183. It became immediately obvious that the fraudulent Settlement Agreement prepared by Mark
      Francis Raymond was an illusory bogus fabrication to which Nelson Mullins, Mark Francis
      Raymond, Alan Stone or any party thereto had the remotest intention to comply with.
184. Before the ink was dry, Plaintiff Stone was attacked with fabricated “crimes” including
      “interference” with the “custody” of her own mother for objecting to her mother being
      administered Miralax, which as stated herein causes “agitation” and the failure of vital organs
      in a vulnerable adult. In the insane guardian world, Plaintiff Stone was also fraudulently
      accused of causing the very same “agitation” that they diabolically orchestrated by their
      administration of this dangerous drug.
185. This fabricated accusation, orchestrated in the underworld world of Florida human trafficking
      through guardianship precipitated:
       a. illegal hate crimes perpetrated against Plaintiff Stone, a former attorney who was illegally
           disbarred in retaliation after exposing this massive crime racket. This vicious hate crime
           and retaliation was all the more glaringly obvious as Plaintiff Stone was a RETIRED
           ATTORNEY AT THE TIME, having been in practice as an attorney for over 20 years
           without one client complaint and who had received a letter of appreciation from the bar
           thanking her for her long years of service; and
       b. the first of Plaintiff Stone’s many illegal, retaliatory “arrests” and incarcerations to silence
           and illegal “gag” her from reporting crimes as she was mandated to do both as a daughter
           and an attorney.
       c. Incredibly, in this saga of medieval tyranny and corruption, the latest illegal incarceration
           of Plaintiff Stone was the result of Mark Francis Raymond, Culture of Corruption Elmore
           and their cohort dirty judges ganging up against her and attacking her like a pack of blood-
           thirsty hound dogs in a dirty courtroom 67 where Plaintiff Stone sat in shackles while
           incredibly they spouted one preposterous purported “injury” after another desecrating
           Plaintiff Stone’s inherent right to protect her mother from harm and the exercise of her
           right to free speech and her duty as a daughter and public citizen to expose the racket,
           ranging from dental problems to spats with their spouses. This scene is one for a riveting
           Hollywood movie but it is being played out in underworld courts.

                                   B. THE PROBATE RACKET
                ]


 186. The Probate Racket is being perpetrated in the color of law “probate” court of color of law
      Milton Hirsch who is responsible as the primary principal therefore.


   67
     Their corrupt brethren was specifically the hired gun for this medieval witch hunt against Plaintiff Stone having
   been exposed by the media as issuing the most number of illegal sentences and the record of having the most
   number of orders overturned on appeal.

                                                           45
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187. Nelson Mullins, Mark Francis Raymond, Carl Rosen, Alan Stone and Milton Hirsch having
     acted as accomplices and accessories to Mrs. Stone’s murder, in ghoulish, criminal conflict
     of interest they illegally obstructed Plaintiff Stone’s petition to act as her personal
     representative in collusion with the Florida Public State Actor Defendants.
188. Their crimes are colluded by “Culture of Corruption Oppenheimer” and “Culture of
     Corruption Elmore” as hereinafter defined.
189. Plaintiff Stone’s petition to act as her mother’s personal representative was filed without
     objection within 30 days thus her petition was deemed approved.
190. However, Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone in collusion
     with Milton Hirsch secretly, illegally and ex parte filed documents with the color of law
     probate court and then miraculously and mysteriously suddenly human traffickers, murder
     accomplices and embezzlers Alan Stone became the color of law “personal representative”
     and Nelson Mullins, Mark Francis Raymond and Carl Rosen were color of law attorneys for
     the personal representative.
191. Could there be anything other than graft, bribes and kickbacks involved?
192. This set the stage for the modus operandi of this racket, whereby Nelson Mullins, Mark
     Francis Raymond and Carl Rosen, accomplices to the murder of Mrs. Stone by Alan
     Stone in collusion with Milton Hirsch are cooking the books and colluding to steal the
     assets of Mrs. Stone in the pretense of “fees” for their criminal acts in perpetrating her
     murder in collusion with the Florida Public State Actor Defendants.
193. Nelson Mullins, Mark Francis Raymond, Carl Rosen, Alan Stone and Milton Hirsch
     deviously fail to provide court filing to Plaintiff Stone, thereby criminally and civilly
     depriving Stone of her rights and access to the court.
194. Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone have lied and perjured
     themselves in representing they provided a copy of document to Plaintiff Stone in collusion
     with Milton Hirsch.
195. Nelson Mullins, Mark Francis Raymond, Carl Rosen, Alan Stone and Milton Hirsch have
     illegally altered court documents and court records in violation of Federal law.
196. Reference should be made to Exhibit C setting forth further crimes, corruption and dishonest
     acts of Nelson Mullins, Mark Francis Raymond, Carl Rosen, Alan Stone and Milton Hirsch.
                    C. THE FIRST EMBEZZLEMENT RACKET
197. Fellow Racketeer Roy R. Lustig, a kingpin in the Guardian Human Trafficking/Corruption
     Racket perpetrated against Plaintiff Stone and her mother, along with Blaire Lapides, his
     cohort human trafficking, murderer “guardian” is an unindicted felon having been
     adjudicated guilty of felony crimes by the 3rd DCA in Leos Gulf Liquor, 802 So 2d 337
     including perjury, fraud of the court, repeatedly lying under oath and subverting the court to
     achieve his own illegal financial gain.


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198. That court stated in their order they would transfer the matter to the state attorney and the
      Florida Bar for criminal investigation and discipline.
199. However because the Florida courts are corrupt to the core, they DID NOT FOLLOW THEIR
      OWN ORDER AND report Roy R. Lustig to the authorities. Thereby leaving Roy R. Lustig,
      a felon, unleashed on the public and Plaintiff Stone and her mother.
200. Any responsible rationale person, much less a judge or other public official would NEVER
      allow an unindicted felon to have anything to do with a vulnerable adult.
201. In fact, Roy R. Lustig should have been required to register as a felon, as do sex perverts.
202. Not so in the shadowy, underworld of “guardianship” where Milton Hirsch’s processor
      recruited Roy R. Lustig in the racket who was human trafficking and embezzling Plaintiff’s
      Stone’s mother, by illegally installing him as the color of law “attorney” for the color law
      “guardian” notwithstanding his standing as an unindicted felon and that he was barred from
      acting as attorney pursuant to the illegal settlement agreement referenced above.
203. Incredulously, having perfected his rackets in the scam that landed in the 3rd DCA and the
      human trafficking racket perpetrated against Plaintiff’s Stone’s mother, unindicted felon Roy
      R. Lustig concocted an embezzlement racket against Plaintiff Stone by filing a fraudulent
      SLAPP suit against her using obscene emails he created and sent around to his family
      wherein in one of these emails he fantasized to his daughter about being sodomized by male
      prisoners (See Exhibit E).
204. He then intercepted Plaintiff Stone’s mail by paying off through his racket the person in
      Plaintiff Stone’s residence who distributes the mail to return Plaintiff Stone’s mail so she
      would not have notice of court matters and hearings.
205. Using an illegal default entered by a corrupt judge who had notice that Stone was not
      receiving her mail, the corrupt to the core Florida courts issued an illegal void “judgment”
      against Plaintiff Stone awarding her life savings to unindicted felon Roy R. Lustig on the
      basis of his own obscene emails.
206. The following are examples of Roy R. Lustig’s perverse obscene emails:
      A. “DADDY with the money I have stolen i develop you to an actress. I tricked helpless
          people under guardianship and stole money from charities.” The email goes on to state:
          “Erica, that ok when Daddy is in prison you can be a waitress abd (sic) give him
          money. Actually Daddy will like taking shower parties in prison so maybe you
          should start buying soap now and baby powder for his swollen a… when he f…
          around there!”
      B. “Daddy doesn’t care about human beings.
          He gives a fu**ck about gay Greg. He is happy now!
          Who will be next? Maybe you……
          Did you tell DADDY about your drinking problem?
          Happy hanukkah you poor thing. Sent from hell.
      C. Hi you ugly cu**nt! By the way, when is your big “drunk” fat greek wedding?

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207. The inconceivable idea that sickening obscene emails could surface in a UNITED STATES
      FEDERAL COURT that violate Federal obscenity laws in an outlandish lawsuit that is the
      product of countless other crimes of which the court is aware and a sham bogus proceeding
      takes place as if somehow the extraordinary criminal racket is normal needs no further
      elaboration on the scandalous condition of the raging corruption in the Florida courts. It was
      incumbent for anyone in public office to report the obscene emails to law enforcement JUST
      AS IT IS SO MANDATED FOR THIS COURT TO REPORT.
208. It is set forth for the record that this was exactly what was done by a legitimate Federal judge
      who demanded the resignation of an attorney who engaged in such acts. “You Just Trashed
      Your Profession,” U.S. District Judge Otis Wright II told attorney Christopher Hook before
      asking him to resign. At issue were emails Hook wrote to opposing counsel telling them to
      “eat a bowl of d.….” and “pay up f…face.” 68
209. These incomprehensible, maniacal organized crime rackets being run through cesspool
      Florida courts are the subject of blockbuster Hollywood movies, yet they are real and being
      played out in depraved legal proceedings in demonically corrupt courts.
210. This Court is mandated to protect Plaintiff Stone and the public and not only report these
      crimes but declare the pervasive corruption as a national public disaster.

                     D. THE COPY-CAT EMBEZZLEMENT RACKET
          (the “NELSON MULLINS/ OPPENHEIMER EMBEZZLEMENT RACKET”)
211. Among his many places of employment, Alan Stone worked at Culture of Corruption
      Oppenheimer.
212. William Elmore is the manager of Culture of Corruption Oppenheimer in its Ft. Lauderdale
      office (“Culture of Corruption Elmore”) and Alan Stone’s former employer.
213. Culture of Corruption Elmore should have known about Alan Stone’s propensity for fraud
      and financial exploitation of seniors as Alan Stone was “permitted to resign” by several of
      his prior firms.
214. An investigation of the reason for his resignation would reflect that he forged the signatures
      of his clients, most if not all of them being senior vulnerable adults.
215. In a responsible manner, Plaintiff Stone sought that Culture of Corruption Elmore facilitate a
      meeting with Alan Stone to address his vicious abuse and exploitation of Mrs. Stone.
216. Culture of Corruption Elmore acknowledged that he was well aware of vulnerable adult
      financial exploitation in the course and scope of his employment.
217. However, Culture of Corruption Elmore ignored the financial exploitation of Mrs. Stone
      taking place under his nose by his predator employee Alan Stone.



 68
   https://www.law.com/therecorder/2019/12/16/judge-demands-resignation-of-lawyer-who-wrote-profanity-
 laced-emails/

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218. Culture of Corruption Elmore is required to report these abuses to senior officers within his
     company under the Code of Conduct of Culture of Corruption Oppenheimer and to the
     Securities and Exchange Commission under the Advisory rules of the Financial Crimes
     Enforcement Network (FinCEN)69 which provide:
           a. Paragraph 3 of the Culture of Corruption Oppenheimer Code of Conduct provides:
               COMPLIANCE WITH LAW
               You must know, respect and comply with all laws, rules, and regulations applicable
               to the conduct of Oppenheimer's businesses in the areas in which you work.
               Oppenheimer actively promotes compliance with the laws, rules, and regulations
               that govern Oppenheimer's business. Obeying both the letter and spirit of the law is
               one of the foundations of Oppenheimer’s ethical standards. You must follow and
               obey the laws of all the states and countries where we operate.
               Paragraph 11 of the Culture of Corruption Oppenheimer Code of Conduct provides:
               REPORT PROBLEMS OR IRREGULARITIES
               If you believe that you may have breached the Code or a supplemental code or
               guideline that applies to you, or have observed: a breach of the Code or a
               supplemental code or guideline by another Oppenheimer employee; or a serious
               weakness or deficiency in Oppenheimer's policies, procedures or controls which
               might enable breaches to occur or go undetected; you have a responsibility to
               Oppenheimer, your fellow Oppenheimer employees and yourself to report it
               immediately to your Manager, that employee's Manager, a Senior Officer, the Chief
               Compliance Officer or the General Counsel. Any Manager in receipt of such a
               report should immediately escalate it to one of the individuals listed in Section 14.
           b. FinCEN requires financial institutions to report Suspicious Activity Reports (SARs)
              describing instances of suspected elder financial exploitation.
219. Culture of Corruption Elmore violated the Code of Conduct of Culture of Corruption
      Oppenheimer, the FinCEN rules and Federal Laws that mandate he report suspected financial
      exploitation by an Oppenheimer employee and suspected financial exploitation of an elder
      adult.
220. Instead, Culture of Corruption Elmore threatened Plaintiff Stone and acted in criminal
      violation of the law that provides any person who fails to protect an elderly adult from harm
      is considered an accomplice.
221. It is well publicized that Culture of Corruption Oppenheimer has a pattern and practice of
      hiring brokers with a background of misconduct. 70
222. Culture of Corruption Elmore and Mark Francis Raymond sought each other out to perpetrate
      an attack by Mark Francis Raymond on Plaintiff Stone in a personal vendetta for exposing
      his kingpin operations in the Guardian Human Trafficking/Corruption Racket.

 69
      https://www.fincen.gov/resources/advisories/fincen-advisory-fin-2011-a003
 70
      http://www.investorprotection.com/blog/2016/06/09/oppenheimer-co-widespread-culture-of-corruption/

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223. In order to financially extort Plaintiff Stone for exposing their racket, Culture of Corruption
      Elmore and Mark Francis Raymond, they concocted a vicious SLAPP suit against Stone.
224. Unbridled corruption breeds more devastating and explosive corruption. That is exactly what
      has occurred whereby Nelson Mullins, Mark Raymond and Carl Rosen patterned a “copy-
      cat” embezzlement racket identical to the Roy R. Lustig Embezzlement Racket.
225. They formulated and patterned this illegal SLAPP suit on that masterminded by Roy R.
      Lustig, another of their racketeers in the Guardian Human Trafficking/Corruption Racket, by
      using their own crimes as accomplices and accessories in that racket to attack Plaintiff Stone
      for exposing and reporting these crimes and exposing Culture of Corruption Elmore’s failure
      to report financial crimes against a vulnerable adult.
226. They coin the same statements in their attacks on Plaintiff Stone, using such language as
      “scorched earth” and nebulous statements that these predators somehow ‘crossed paths” with
      Plaintiff Stone as if they bumped into each other on the street which breed their
      embezzlement racket when these monsters who fit within the definition of sociopaths and
      psychopaths collude in inventing diabolical scams by their interaction with corrupt attorneys
      throughout the country.
227. In fact the Roy R. Lustig Human Trafficking Racket began when another racketeer attorney
      with whom Plaintiff Stone consulted in an effort to free her mother from the human
      trafficking racket, dishonestly breached Plaintiff Stone’s confidential communication and
      enlisted unindicted felon Roy R. Lustig into the human trafficking racket.
228. Nelson Mullins, Mark Francis Raymond and Carl Rosen enlisted their corrupt client, Culture
      of Corruption Elmore and Culture of Corruption Oppenheimer to do their dirty work and be
      the front person for their racket and file the illegal SLAPP suit against Plaintiff Stone also
      thereby engaging in a litany of ethical violations.71
229. Ironically, in the smarmy world of Nelson Mullins, ironically, even Culture of Corruption
      Elmore is being conned and scammed by Nelson Mullins, Mark Francis Raymond and Carl
      Rosen who are using him to benefit themselves by perpetrating a personal vendetta against
      Plaintiff Stone and taking fees from Culture of Corruption Elmore to do so..
230. The kingpins of guardian corruption, Nelson Mullins, Mark Francis Raymond and Carl
      Rosen now diabolically and perversely represent two racketeers in common with the
 71
    See ABA Standards for Imposing Lawyer Sanctions § 5.11(b) (1986) (disbarment appropriate when lawyer
 engages in "intentional conduct involving dishonesty, fraud, deceit, or misrepresentation that seriously adversely
 reflects on the lawyer's fitness to practice."). See Florida Bar rule 3-4.3 (engaging in the commission of an act that is
 unlawful or contrary to honesty and justice); and rule 4-8.4(c) (engaging in conduct involving dishonesty, fraud,
 deceit or misrepresentation).
 The Florida Bar, Complainant, v. Steven Evan WOLIS, Respondent, No. SC97019 (2001).
 The court therein stated: “Wolis's] offense for which he was convicted goes to the very essence of the legal
 profession. The truth cannot be sacrificed for convenience or personal gain. It cannot be abrogated because of a
 client's needs. Simply stated, society must be able to rely upon an attorney's representations. The Oath of
 Admission to The Florida Bar, The Rules Regulating the Florida Bar and the interest of the general public mandate
 that attorneys tell the truth and act in an honorable fashion.”


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      guardian racket – human trafficker, embezzler and murderer Alan Stone and his
      former employer Culture of Corruption Elmore with whom to collude in their vicious
      attacks on Plaintiff Stone.
231. The matters reported by Plaintiff Stone herein are capital crimes and this court is mandated to
      order the intervention of the F.B.I. and D.O.J. just as required in the KidsForCash racket.
232. They have dragged their embezzlement racket through multiple courts, including the
      bankruptcy court hereafter described where Plaintiff Stone was forced to file to attempt futile
      redress from unindicted felon Roy R. Lustig’s illegal judgment that is the product of his own
      crimes and in other courts where they continue to seek illegal gag orders blocking Plaintiff
      Stone from reporting and exposing their crimes.
233. After being bounced around by various judges, the Embezzlement Racket landed in the
      corrupt court of Defendant Carol-Lisa Phillips, who should have been removed from the
      bench years ago and investigated on the basis of her fraudulent financial statements alone but
      corrupt judges are the foundation of the corrupt, tyrannical Florida illegal “legal” system, and
      are infiltrated and indoctrinated into the Florida courts to go forth and destroy lives in order
      to steal, loot, plunder and embezzle the assets of anyone who is captured in the Florida
      illegal, “legal system” racket.
234. In the playbook of the Florida courts, it has become a newly minted tactic in the ceaseless
      swamp of diabolical dirty tools used by corrupt judges who are disqualified as a matter of
      law to NEVER remove themselves from the matter.
235. Like her corrupt brethren, Milton Hirsch, Carol-Lisa Phillips is also disqualified as a matter of
      law having failed to respond to Plaintiff Stone’s petition for her disqualification as she is so
      mandated within 30 days by law, but illegally refuses to remove herself in the embezzlement
      racket matter and is therefore acting without jurisdiction.
236. In addition, color of law Carol-Lisa Phillips is civilly and criminally depriving Plaintiff Stone
      of her rights including her right of access to the court under color of law.
237. Color of law, disqualified “judge” Carol Lisa Philliips is blithely violating the law and acting
      without jurisdiction and ruthlessly engaged in the Embezzlement Racket and stealing
      Plaintiff Stone’s constitutional right to free speech.
238. We wonder: Could it be graft, kickbacks and bribes?
                            E. THE BANKRUPTCY RACKET
239. Because Plaintiff Stone is subjected to an illegal void “judgment” by corrupt judges who are
     obviously on the take by rewarding unindicted felon Roy R. Lustig for his crimes, Plaintiff
     Stone was forced to file bankruptcy where she is embroiled in another terrifying court racket.
240. A new cartel of racketeers have emerged in the bankruptcy racket.




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241. Former attorney general John Ashcroft fittingly gave a speech about the racket in the
     bankruptcy court at the International Criminal Court. 72 wherein jurisdiction lies.
242. However, the United States has precluded the ability of Plaintiffs to seek remedy warranted
     by filing suit in the International Criminal Court by its unconscionable failure to ratify
     membership therein73.
243. Notice of this action and the atrocities, crimes against humanity and crimes in the nature of
     war crimes being perpetrated on American citizens by the American government is being
     provided to the International Criminal Court and the United States Security Council.
244. The crimes perpetrated in the bankruptcy racket as exposed by John Ashcroft are epitomized
     by the corrupt color of law bankruptcy judge who:
     a. In criminal violation of the Government in Ethics Act of 1978 failed to file her financial
         statements FOR 14 YEARS (these financial statements mysterious emerged in an
         illegible form after Plaintiff Stone filed a futile lawsuit against her that was deviously
         assigned to a member of her law school class).
     b. Assembles an incestuous, extortion “team” of crony attorneys and dirty trustees who are
         illegally the principal players in her court racket by her illegal and unethical
         “extrajudicial activities” where she acts as an officer in bar associations and other
         enterprises where she assembles her illegal team in violation of law and judicial ethics.
     c. She then brazenly strips her victims, the hapless defendants in her color of law
         bankruptcy court of their assets by ordering through illegal void orders, obscene “fees” to
         her incestuous team members that violate the caps set forth in the Federal Code. In one
         instance, the illegal fee WAS IN EXCESS OF $10 MILLION OVER THE LIMIT.
     d. We wonder: Could it be graft, kickbacks and bribes?
245. This court is mandated to report these crimes and perverse ethical violations to the
      authorities pursuant to 18 USC 4 and judicial canons.

                   VII.     STATEMENT OF CLAIMS AND COUNTS
                                BY PLAINTIFF STONE
                      A. COUNT ONE: NEGLIGENCE
      AGAINST NELSON MULLINS AND ALL ATTORNEYS AT NELSON MULLINS
           AGAINST WHOM THIS ACTION IS BROUGHT; ALAN STONE;




 72
     To Hague Global Forum on Corruption AG Aschroft on Corrupt ...
 www.dailykos.com/stories/2012/5/5/1089083/-To...
 To Hague Global Forum on Corruption AG Aschroft on Corrupt Federal Judges Collusion w US Trustee's.
 ... John Ashcroft. He penned that corruption goes all the way to the top where he wrote this to ...
 73
   https://delawarestatenews.net/opinion/commentary-america-must-become-member-of-international-criminal-
 court/

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   MILTON HIRSCH; OPPENHEIMER AND ALL PARTIES AT OPPENHEIMER
 AGAINST WHOM THIS ACTION IS BROUGHT AND THE FLORIDA PUBLIC STATE
                        ACTOR DEFENDANTS
                    (“COLLUSIVE DEFENDANTS”)

246. The provisions of paragraphs 1-245 are incorporated herein.
247. At all relevant times, Mrs. Stone was fully competent.
248. There was no physical examination of Mrs. Stone as required by law in order to make a
     determination of incapacity.
249. Moreover, there was no testing of Mrs. Stone’s capacity by standardized written tests.
250. Moreover, there was no standard accepted testing whatsoever.
251. This was known to Nelson Mullins, Mark Francis Raymond, Carl Rosen, Alan Stone and
     Milton Hirsch.
252. Nelson Mullins, Mark Francis Raymond, Carl Rosen, Alan Stone and Milton Hirsch had a
     duty to Mrs. Stone and negligently failed to investigate the issue of Mrs. Stone’s mental state.
253. As a direct and proximate result of Nelson Mullins, Mark Francis Raymond and Carl Rosen’s
     failure to comply with laws and standard testing procedures or standards to investigate Mrs.
     Stone’s mental condition, they perpetrated a sham guardian.
254. The illegal sham guardianship was known to the Florida State Actor Public Defendants who
     are responsible to and failed to follow and enforce the law.
255. As a direct and proximate result of Collusive Defendants perpetration of a sham
     guardianship, Plaintiff Stone suffered devastating trauma, was forced to participate in an
     expense astronomical legal and other fees in a sham proceeding and failure to medically
     investigate Mrs. Stone’s mental condition and suffered loss of livelihood and has suffered
     damages in excess of $25,000,000 and is entitled to attorneys fees, costs and expenses
256. Wherefore Plaintiff Stone seeks damages individually, jointly and severally against Collusive
     Defendants in the sum of $10,000,000 together with all attorneys fees, costs and expenses.
257. Wherefore, Plaintiff Stone seeks a separate, special award of damages in individually, jointly
     and severally against Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone in
     the sum of $25,000,000 together with all attorneys fees, costs and expenses.

                  B. COUNT TWO: LOSS OF FAMILIAL ASSOCIATION
                         AGAINST COLLUSIVE DEFENDANTS

258. The provisions of paragraphs 1-257 are incorporated herein.
259. Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone knew that Plaintiff
     Stone had a particularly close relationship with her mother, a familial association protected
     by the Constitution.




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260. Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone deliberately, illegally,
     viciously, cruelly and wantonly set out to destroy that relationship by forcibly disappearing
     Mrs. Stone from her Plaintiff Stone and isolating Plaintiff Stone from her mother.
261. In addition to the vicious, cruel and illegal acts of forcibly disappearance in sadistic revenge
     and as a personal vendetta by Mark Francis Raymond and Alan Stone for exposing their
     human trafficking of Mrs. Stone, the forcible disappearance of Mrs. Stone was used as a
     diabolical method to incite and extort fees that were self-created.
262. The criminal acts taking place in this illegal sham guardianship were known to the Florida
     State Actor Public Defendants who are responsible and failed to follow and enforce the law.
263. As a direct and proximate result of Collusive Defendants depraved forcible disappearance of
     Mrs. Stone and isolation of Plaintiff Stone from her mother, Plaintiff Stone has been
     damaged in excess of $25,000,000 and entitled to attorneys fees, costs and expenses.
264. Wherefore Plaintiff Stone seeks damages jointly and severally against Collusive Defendants
     in the sum of $10,000,000 together with all attorneys fees, costs and expenses.
265. Wherefore, Plaintiff Stone seeks a separate, special award of damages in individually, jointly
     and severally against Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone in
     the sum of $25,000,000 together with all attorneys fees, costs and expenses.

                          C. COUNT THREE: WRONGFUL DEATH
                             AGAINST COLLUSIVE DEFENDANTS

266. The provisions of paragraphs 1-265 are incorporated herein.
267. Plaintiff’s Stone’s mother suffered atrocities on the order of war crimes perpetrated by and
     colluded in by Collusive Defendants.
268. These atrocities, set forth on Exhibit B, are a graphic description of ruthless drugging,
     deprivation of food and medical services, water boarding, sensory deprivation and human
     trafficking.
269. Mrs. Stone’s relentless drugging with toxic psychotropic drugs is admitted.
270. These atrocities, deliberately and wantonly perpetrated on a vulnerable adult are beyond
     comprehension of anything except atrocities committed as war crimes and are prohibited acts
     under war crime legislation.
271. These atrocities also constitute hate crimes.
272. These depraved acts and hate crimes were known to the Florida State Public Actors who are
     responsible to follow and enforce the law.
273. As a direct and proximate result of the wrongful death of Mrs. Stone, Plaintiff Stone has been
     damaged in excess of $100,000,000 and is entitled to attorneys fees, costs and expenses
274. Wherefore Plaintiff Stone seeks damages jointly and severally against Collusive Defendants
     in the sum of $25,000,000 together with all attorneys fees, costs and expenses.




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275. Wherefore, Plaintiff Stone seeks a separate, special award of damages in individually, jointly
     and severally against Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone in
     the sum of $100,000,000 together with all attorneys fees, costs and expenses.

                         D. COUNT FOUR: RACKETEERING AND
                         CONSPIRACY TO COMMIT RACKETEERING
                            AGAINST COLLUSIVE DEFENDANTS
276. The provisions of paragraphs 1-275 are incorporated herein.
277. 18 U.S.C. § 1964(c) defines “racketeering activity” as follows:
        (1) “racketeering activity” means
        (A) any act or threat involving murder, kidnapping, gambling, arson, robbery, bribery,
        extortion, dealing in obscene matter,…which is chargeable under State law and punishable
        by imprisonment for more than one year;
        (B) any act which is indictable under any of the following provisions of title 18, United
        States Code:
          Section 201 (relating to bribery), sections 471, 472, and 473 (relating to counterfeiting),
          section 659 (relating to theft from interstate shipment) if the act indictable under section
          659 is felonious, section 1028 (relating to fraud and related activity in connection with
          identification documents), section 1029 (relating to fraud and related activity in
          connection with access devices), section 1341 (relating to mail fraud), section 1343
          (relating to wire fraud), sections 1461–1465 (relating to obscene matter), section 1503
          (relating to obstruction of justice), section 1510 (relating to obstruction of criminal
          investigations), section 1511 (relating to the obstruction of State or local law
          enforcement), section 1512 (relating to tampering with a witness, victim, or an
          informant), section 1513 (relating to retaliating against a witness, victim, or an
          informant), [1] section 1951 (relating to interference with commerce, robbery, or
          extortion), section 1952 (relating to racketeering),
        (D) any offense involving fraud connected with a case under title 11 (except a case under
        section 157 of this title), if the act indictable under such section of such Act was
        committed for the purpose of financial gain, or
        (G) any act that is indictable under any provision listed in section 2332b (g)(5)(B);
 278.Collusive Defendants had, and continue to have, the common purpose of profiting from and
     receiving payments from and through the Guardian Human Trafficking/Corruption Racket.
 279.Collusive Defendants, in association with the Guardian Human Trafficking/Corruption
     Racket conducted affairs of the sham Guardianship of Mrs. Stone through a pattern of corrupt
     activity in violation of 18 U.S.C. § 1964.
 280.The wrongful conduct, corrupt activities, pattern of corrupt activities and, offenses set forth
     above fall within the definition of corrupt activity set forth in 18 U.S.C. § 1964.


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281. Collusive Defendants participated in the affairs of the Guardianship through a pattern of
     corrupt activity in violation of 18 U.S.C. § 1964.
282. Collusive Defendants though fraudulent and deceptive means used the Guardianship to
     control and deprive Plaintiff Stone and her mother of their property and personal property
     through “racketeering activity” under the “Organized Crime Control Act of 1970,” 84 Stat.
     941, 18 U.S.C. 1961(1)(B), (1)(C), (1)(D), and (1)(E), as amended.
283. Collusive Defendants work together and act in collusion to use the Florida courts as a vehicle
     to run a human trafficking racket and to embezzle and convert the assets of Plaintiff Stone
     and her mother and all Plaintiff in violation of 18 U.S.C.§ 641, 18 U.S. C. § 645 and 18 U.S.
     C. § 654 and collude in the issuance of void, illegal orders to make it appear a legitimate
     proceeding is taking place.
284. Collusive Defendants are principals and./or accomplices and accessories to the Guardian
     Human Trafficking/Corruption Racket in violation of 18 USC 2 and 18 USC 3.
285. Moreover, as the Guardian Human Trafficking/Corruption Racket is directed at and targets a
     class of citizens, vulnerable adults, the acts of Collusive Defendants constitute hate crimes.
286. By their acts alleged herein, Collusive Defendants, each and every one of them, jointly and
     severally, have aided and abetted and conspired in the Guardian Human Trafficking/Corrupt
     Racket to deprive Plaintiff Stone and her mother of their property, liberty, Constitutional and
     other rights and subject them to Crimes Against Humanity through their ongoing criminal
     enterprise as set forth herein.
 287.Collusive Defendants directly and indirectly engaged and continue to engage in the corrupt
     activity in violation of 18 U.S.C. § 1964 by kidnapping and removing Mrs. Stone from her
     home and continuing to restrain the liberty of Mrs. Stone and repeatedly orchestrating the
     illegal incarceration of Plaintiff Stone.
 288.But for this corrupt activity, Collective Defendants would be unable to personally benefit by
     receiving payments from the Guardianship from funds and property owned by Plaintiff Stone
     and her mother.
 289.Collusive Defendants, in association with the Guardianship, directly and indirectly engaged,
     and continue to engage in a pattern of corrupt activities as aforesaid and by knowingly
     depriving Plaintiffs Stone of control and ownership of property, personal property and funds
     through deceptive means, through false statements and withholding material information
     from the Federal Court, Probate Court and Guardian which allowed Collusive Defendants to
     serve their common purpose to embezzle the assets of Plaintiff Stone and her mother.
 290.Collusive Defendants further, directly and/or indirectly engaged in activities which
     perpetrating financial crimes against a vulnerable adult, Mrs. Stone by fraudulent transfers of
     her assets and sham judgment entries issued by the Probate and Guardian court including
     those of Milton Hirsch, corrupt activities in violation of Federal law including 18 U.S.C. §
     1961 and 18 U.S.C. § 1964.


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 291.Collusive Defendants, directly and indirectly, continue to participate through association with
     the Guardianship with knowledge the property and funds obtained from unlawful activities as
     aforesaid with the purpose of committing and furthering the commission of additional corrupt
     activities in violation of Federal law including 18 U.S.C. § 1961 and 18 U.S.C. § 1964.
 292.Plaintiff Stone has and will suffer financial damages and loss of property as a direct and
     proximate result of Collusive Defendants’ pattern of corrupt activities, fraudulent schemes,
     misconduct and predicate acts enumerated by 18 USC 1961 (1).
 293.During the time period commencing November, 2012 up through the present, Collusive
     Defendants (and/or as to Florida State Actor Public Official Defendants, their predecessors)
     have engaged in and continue to engage in an ongoing pattern of misconduct, fraudulent
     misconduct, and pattern of corrupt activities which include, inter alia, kidnapping, theft,
     violations of 18 U.S.C. §1343-Wire Fraud; and 18 U.S.C. § 664-Unlawful Conversion of
     Employee Benefit Plan and Social Security.
 294.At all relevant times, and based upon reasonable belief, Collusive Defendants engaged in the
     pattern of predicate activities together with other associated third parties including unindicted
     felon, Roy R. Lustig and Blaire Lapides, the predator guardian who masterminded and
     orchestrated deranged acts set forth herein and acted as the “mouthpiece” for Alan Stone.
 295.These individuals when acting together and in association furthered a common purpose and
     constitute a pattern of corrupt activities and prohibited predicate acts through an “enterprise”
     as set forth in 18 U.S.C. §1962 (a).
 296.Through the illegal, sham Guardianship, Collusive Defendants engaged in a fraudulent
     scheme, pattern of corrupt activities and predicate acts for their common and direct personal
     economic benefit, including the extortion of Mrs. Stone and Plaintiff Stone to embezzle their
     assets by colluding in the issuance of illegal void color of law “orders” that perpetrated the
     embezzlement of Mrs. Stone’s assets under the ruse of “fees” and “expenses” that constitute
     financial exploitation of a vulnerable adult in criminal violation of state and federal law.
 297.Without the use of the illegal sham Guardianship as an enterprise, Collusive Defendants
     would not have been paid fees and expenses as set forth in this Action.
 298.All of the money obtained and/or deposited into Guardianship accounts (which themselves
     were also illegal pursuant to the sham “settlement agreement”) and then paid to the Collusive
     Defendants have been misappropriated, looted, embezzled and stolen from Plaintiff Stone
     and Mrs. Stone who have suffered direct financial loss and damages.
299. Collusive Defendants acting in collusion routinely falsify records, transcripts and orders in
     violation of 18 U.S.C.§1519, sometimes called “anticipatory obstruction of justice.”
300. Collusive Defendants acting in collusion issue and enable the issuance of illegal, void and
     “minute” orders that are blocked from access and done ex parte to perpetrate the Guardian
     Human Trafficking/Collusion Racket, an organized crime racket run through the court.
301. These are Predicate Criminal Acts of Conspiracy to Conceal and Remove Official Records
     which form a pattern and which violations are each potentially punishable by more than one

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     year in jail constituting concealment, removal, or destructions – or attempts to do so – of
     public records.
302. Collusive Defendants have conspired to commit offense or to defraud the U.S. in violation of
     18 U.S.C. 371 by conspiring to and /or sanctioning the use of a court to operate a racket.
303. A pattern of illegal activities committed by Collusive Defendants the “Predicate Acts,”
     described herein were done with the purpose of financial gain and were done within the past
     ten (10) years and continuing.
304. Collusive Defendants did cooperate jointly and severally in the commission of two (2) or
     more of the RICO predicate acts that are itemized in the RICO laws at 18 U.S.C. §§
     1961(1)(A) and (B) by operating a Guardian Human Trafficking/Collusion Racket.
305. Collusive Defendants engaged in these RICO predicate acts in violation of the RICO law at
     18 U.S.C. § 1962(b) (prohibited activities).
306. Collusive Defendants are engaged in prohibited activities in criminal violation of 18 U.S.C.§
     1961(5) and 18 U.S.C.§ 1962(b) by operating a Guardian Human Trafficking/Collusion
     Racket.
307. Collusive Defendants did commit two (2) or more of the offenses itemized above in a
     manner which they calculated and premeditated intentionally to threaten continuity, i.e. a
     continuing threat of their respective racketeering activities by operating a Guardian Human
     Trafficking/Collusion Racket in violation of the RICO law at 18 U.S.C. § 1962(b).
308. Collusive Defendants are involved in the Acquisition and Maintenance of an Interest in and
     Control of an Enterprise Engaged in a Pattern of Racketeering Activity by operating a
     Guardian Human Trafficking/Collusion Racket in violation of 18 U.S.C. §§ 1961(5) 1962(b).
309. Collusive Defendants did associate with a RICO enterprise of individuals who were
     associated in fact and who engaged in, and whose activities did affect, interstate and foreign
     commerce by operating a Guardian Human Trafficking/Collusion Racket.
310. Collusive Defendants operate as an “enterprise” within the meaning of RICO, the activities
     of which effect interstate and foreign commerce by operating a Guardian Human
     Trafficking/Collusion Racket.
311. Likewise, Collusive Defendants did conduct and/or participate, either directly or indirectly, in
     the conduct of the affairs of said RICO enterprise through a pattern of racketeering activity by
     operating a Guardian Human Trafficking/Collusion Racket all in violation of 18 U.S.C. §§
     1961(4), (5), (9), and 1962(c).
312. Collusive Defendants did conspire to acquire and maintain an interest in a RICO enterprise
     engaged in a pattern of racketeering activity by operating a Guardian Human
     Trafficking/Collusion Racket in violation of 18 U.S.C.§1961(5) and 18 U.S.C.§1962(b) and
     (d).
313. Collusive Defendants did commit two (2) or more of the offenses itemized above in a manner
     which they calculated and premeditated intentionally to threaten continuity, i.e. a continuing


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     threat of their respective racketeering activities by operating a Guardian Human
     Trafficking/Collusion Racket also in violation of 18 U.S.C. § 1962(d) (prohibited activities).
314. Collusive Defendants criminally violated the federal mail fraud statute 18 U.S.C.§1341 by
     using the court to perpetrate a Guardian Human Trafficking/Collusion Racket.
315. Collusive Defendants acted in criminal violation of the federal wire fraud statute under 18
     U.S.C. 1343 when they transmitted or caused to be transmitted by means of writings, signs,
     signals, pictures, sounds, telephone and cellular telephone calls, documents, facsimiles,
     emails, instant messages, wire, radio, or television communication and any other form of
     communication in interstate or foreign commerce, for the purpose of executing such scheme
     or artifice to perpetrate a Guardian Human Trafficking/Collusion Racket.
 316.Collusive Defendants have made false statements in violation of 18 U.S.C. § 1001 and could
     be charged and convicted of multiple, related violations of law which form a pattern and
     practice and which violations are each potentially punishable by more than one year in jail
     constituting false statements to officials of the U.S. Government to perpetrate a Guardian
     Human Trafficking/Collusion Racket.
 317.By virtue of the predicate acts described in this Complaint, including without limitations:
     engaging in monetary transactions improperly derived from unlawful activity, the Collusive
     Defendants transferred, received, furthered income that was derived, both directly and
     indirectly, from a pattern of racketeering activity in which each of them participated as a
     principal and used and invested, both directly and indirectly, such income and the proceeds of
     such income, in establishing, operating and furthering a Florida Sanctioned Guardian Racket,
     an illegal enterprises in violation of 18 U.S.C. § 1962(a).
 318.Plaintiff Stone enjoys a liberty interest in her persons of not being deprived of life by actions
     of the Government without due process of law, as guaranteed by the Fifth Amendment.
 319.Collusive Defendants have violated Plaintiff Stone’s Fifth Amendment Rights.
 320.Collusive Defendants have violated Plaintiff Stone’s First Amendment Rights.
 321.By reason of the wrongful conduct of the Collusive Defendants, each and every one of them,
     jointly and severally, Plaintiff Stone has suffered harm in the form of having her guaranteed
     Constitutional rights violated, her business and property rights violated, and her rights and
     property under the due process clause and her freedom of speech and association guaranteed
     under the U.S. Constitution has been severely comprised.
 322.Collusive Defendants conspire in the operation of a façade of a court to run a Florida
     Sanctioned Guardian Racket in violation of Plaintiff Stone’s equal rights under 42 U.S.
     Code § 1961.
323. Collusive Defendants are maliciously retaliating against Plaintiff Stone and intimidating
     Plaintiff Stone for exposing and opposing their corrupt color of law activities.
324. Collusive Defendants are violating 42 U.S.C. § 12203
325. Collusive Defendants conduct is directly related to the damages, financial injuries and
     emotional distress sustained by Plaintiff Stone.

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 326. As a direct and proximate result of Collusive Defendants violation of 18 U.S.C. § 1962(a),
      Plaintiff Stone suffered the loss of valuable property, financial services and support, and
      suffered other business and pecuniary damages.
 327. As a direct and proximate result of Collusive Defendants violation of 18 U.S.C. § 1962(a),
      Plaintiff Stone has suffered severe emotional distress.
  328.The injuries and damages sustained by Plaintiff Stone were the direct and proximate result of
      the Defendants’ commission of predicate acts defined by 18 USC § 1961(1)(B) specifically
      including but not limited to 18 USC § 664 (relating to embezzlement, theft, unlawful
      abstracting from pension and welfare funds), 18 USC § 1343 (relating to wire fraud).
 329. Collusive Defendants are operating a state sanctioned Guardian Human Trafficking/Collusion
      Racket, forcibly seizing Plaintiff Stone’s beloved mother to use her in a human trafficking
      scheme and seizing the home of Plaintiff Stone’s loved one, other real property and life
      savings in violation of 18 U.S. Code § 373.
330. This is the ultimate racketeering enterprise – a state acknowledged, sanctioned and
      perpetrated program of human trafficking of vulnerable citizens.
331. Only a federal criminal investigation probe similar to Operation Greylord and Kids For Cash
      described herein can root out the perpetrators of this demonic cancer in America perpetrated
      by the Florida Sponsored Guardian Racket.
332. As a direct and proximate result of the intentional and willful actions of Collusive
      Defendants, Plaintiff Stone has been damaged in excess of $25,000,000
333. Wherefore Plaintiff Stone demands judgment be entered against each and every Collusive
      Defendant each and every one of them, jointly and severally, in their individual and official
      capacities, including an award of compensatory and actual damages, punitive damages, and
      equitable relief, reasonable attorneys’ fees, interest and costs, and award in the sum of
      $25,000,000.00.
334. Wherefore, Plaintiff Stone seeks a separate, special award of damages in individually, jointly
      and severally against Nelson Mullins, Mark Francis Raymond, Carl Rosen and Alan Stone in
      the sum of $100,000,000 together with all attorneys fees, costs and expenses.
335. Plaintiff Stone demands that judgment be entered against Collusive Defendants each and
      every one of them, jointly and severally, an award of treble damages as consistent with 18
      U.S.C. § 1964(c).
336. Plaintiff Stone demands declaratory and injunctive and other equitable relief against
      Collusive Defendants to cease their illegal acts.
337. This Court being notified of and made aware of the criminal racket is mandated to report
      these crimes to the authorities pursuant to Judicial Ethics and 18 USC 4.

                     E.
                      COUNT FIVE: RACKETEERING AND
                     CONSPIRACY TO COMMIT RACKETEERING
             AGAINST COLLUSIVE DEFENDANTS AND CAROL-LISA PHILLIPS

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                                      (“ALL DEFENDANTS”)
338. The provisions of paragraphs 1- 337 are incorporated herein.
339. The Nelson Mullins/Oppenheimer Embezzlement Racket is a racketeering activity under 18
      U.S.C. § 1964(c), including but not limited to conspiracy to commit theft; obstruction of
      justice, mail fraud and wire fraud and is related to the Guardian Human
      Trafficking/Corruption Racket.
340. All Defendants had, and continue to have, the common purpose of profiting from and
      receiving payments directly and/or indirectly from and through the Nelson
      Mullins/Oppenheimer Embezzlement Racket.
341. All Defendants conducted affairs of the sham Nelson Mullins/Oppenheimer Embezzlement
      Racket through a pattern of corrupt activity in violation of 18 U.S.C. § 1964..
342. The wrongful conduct, corrupt activities, pattern of corrupt activities and, offenses set forth
      above fall within the definition of corrupt activity set forth in 18 U.S.C. § 1964.
 343. All Defendants though fraudulent and deceptive means used the Nelson
      Mullins/Oppenheimer Embezzlement Racket to control and deprive Plaintiff Stone of her
      property and personal property through “racketeering activity” under the “Organized Crime
      Control Act of 1970,” 84 Stat. 941, 18 U.S.C. 1961(1)(B), (1)(C), (1)(D), and (1)(E), as
      amended.
 344. All Defendants work together and act in collusion to use the Florida courts as a vehicle to run
      the Nelson Mullins/Oppenheimer Embezzlement Racket to embezzle and convert the assets
      of Plaintiff Stone in violation of 18 U.S.C.§ 641, 18 U.S. C. § 645 and 18 U.S. C. § 654 and
      collude in the issuance of void, illegal orders to make it appear a legitimate proceeding is
      taking place.
 345. All Defendants are principals and/or accomplices and accessories to the Nelson
      Mullins/Oppenheimer Embezzlement Racket in violation of 18 USC 2 84 and 18 USC 3 85.
 346. Moreover, as the Nelson Mullins/Oppenheimer Embezzlement Racket perpetrates crimes
      against a class of citizens, vulnerable adults, the acts of Collusive Defendants are hate crimes.
 347. By their acts alleged herein, All Defendants, each and every one of them, jointly and
      severally, have aided and abetted and conspired in the Nelson Mullins/Oppenheimer
      Embezzlement Racket to deprive Plaintiff Stone and her mother of their property, liberty,
      Constitutional and other rights through their ongoing criminal enterprise as set forth herein.
 348. All Defendants directly and indirectly engaged and continue to engage in the corrupt activity
      in violation of 18 U.S.C. § 1964 by threatening and stalking Plaintiff Stone with a sham
      threatening illegal lawsuit to restrain her free speech, intimidate her and threaten her safety.
 349. But for this corrupt activity, All Defendants would be unable to personally benefit by
      receiving payments from funds and property owned by Plaintiff Stone.
 350. All Defendants directly and indirectly engaged and continue to engage in a pattern of corrupt
      activities as aforesaid and by knowingly threatening to deprive Plaintiffs Stone of control and


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     ownership of property, personal property and funds through deceptive means, through false
     statements and withholding material information to serve their common purpose to embezzle
     the assets of Plaintiff Stone.
351. Plaintiff Stone has and will suffer financial damages and loss of property as a direct and
     proximate result of All Defendants’ pattern of corrupt activities, fraudulent schemes,
     misconduct and predicate acts enumerated by 18 USC 1961 (1).
352. During the time period commencing in 2019 up through the present, All Defendants (and/or
     as to Florida State Actor Public Official Defendants, their predecessors) have engaged in and
     continue to engage in an ongoing pattern of misconduct, fraudulent misconduct, and pattern
     of corrupt activities including but not limited to inter alia, conspiracy to commit theft,
     obstruction of justice, violations of 18 U.S.C. §1343-Wire Fraud.
353. At all relevant times, and based upon reasonable belief, All Defendants engaged in the pattern
     of predicate activities together with other associated third parties.
354. These individuals when acting together and in association furthered a common purpose and
     constitute a pattern of corrupt activities and prohibited predicate acts through an “enterprise”
     as set forth in as set forth in 18 U.S.C. §1962 (a).
355. Through the illegal, sham Nelson Mullins/Oppenheimer Embezzlement Racket, All
     Defendants engaged in a fraudulent scheme, pattern of corrupt activities and predicate acts
     for their common and direct personal economic benefit, including the extortion of Plaintiff
     Stone to embezzle her assets by colluding in issuance of illegal void color of law “orders.”
356. All Defendants acting in collusion routinely falsify records, transcripts and orders in violation
     of 18 U.S.C.§1519, sometimes called “anticipatory obstruction of justice.”
357. All Defendants acting in collusion issue and enable the issuance of illegal, void and “minute”
     orders that are blocked from access and done ex parte to perpetrate the Nelson
     Mullins/Oppenheimer Embezzlement Racket, an organized crime racket.
358. These are Predicate Criminal Acts of Conspiracy to Conceal and Remove Official Records
     which form a pattern and which violations are each potentially punishable by more than one
     year in jail constituting concealment, removal, or destructions – or attempts to do so – of
     public records.
359. All Defendants have conspired to commit offense or to defraud the United States in violation
     of 18 U.S.C. 371 87 by conspiring to and /or sanctioning the use of a court to operate a racket.
360. A pattern of illegal activities committed by All Defendants the “Predicate Acts,” described
     herein were done with the purpose of financial gain and were done within the past ten (10)
     years and continuing.
361. All Defendants did cooperate jointly and severally in the commission of two (2) or more of
     the RICO predicate acts that are itemized in the RICO laws at 18 U.S.C. §§ 1961(1)(A) and
     (B) by operating the Nelson Mullins/Oppenheimer Embezzlement Racket.
362. All Defendants engaged in these RICO predicate acts in violation of the RICO law at 18
     U.S.C. § 1962(b) (prohibited activities).

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363. All Defendants are engaged in prohibited activities in criminal violation of 18 U.S.C.§
     1961(5) and 18 U.S.C.§ 1962(b) by operating the Nelson Mullins Nelson
     Mullins/Oppenheimer Embezzlement Racket.
364. All Defendants did commit two (2) or more of the offenses itemized above in a manner
     which they calculated and premeditated intentionally to threaten continuity, i.e. a continuing
     threat of their respective racketeering activities by operating an Nelson Mullins/Oppenheimer
     Embezzlement Racket in violation of the RICO law at 18 U.S.C. § 1962(b).
365. All Defendants are involved in the Acquisition and Maintenance of an Interest in and
     Control of an Enterprise Engaged in a Pattern of Racketeering Activity by operating the
     Nelson Mullins/Oppenheimer Embezzlement Racket in violation of 18 U.S.C. §§ 1961(5),
     1962(b).
 366. All Defendants did associate with a RICO enterprise of individuals who were associated in
     fact and who engaged in, and whose activities did affect, interstate and foreign commerce by
     operating the Nelson Mullins/Oppenheimer Embezzlement Racket.
 367. All Defendants operate as an “enterprise” within the meaning of RICO, the activities of
     which effect interstate and foreign commerce by operating the Nelson Mullins/Oppenheimer
     Nelson Mullins/Oppenheimer Embezzlement Racket.
 368.Likewise, All Defendants did conduct and/or participate, either directly or indirectly, in the
     conduct of the affairs of said RICO enterprise through a pattern of racketeering activity by
     operating the Nelson Mullins/Oppenheimer Embezzlement Racket all in violation of 18
     U.S.C. §§ 1961(4), (5), (9), and 1962(c).
 369.All Defendants did conspire to acquire and maintain an interest in a RICO enterprise engaged
     in a pattern of racketeering activity by operating the Nelson Mullins/Oppenheimer
     Embezzlement Racket in violation of 18 U.S.C. §§ 1961(5) and 18 U.S.C. §§ 1962(b) and
     (d).
 370.All Defendants did commit two (2) or more of the offenses itemized above in a manner which
     they calculated and premeditated intentionally to threaten continuity, i.e. a continuing threat
     of their respective racketeering activities by operating the Nelson Mullins/Oppenheimer
     Embezzlement Racket also in violation of 18 U.S.C. § 1962(d) (prohibited activities).
 371.All Defendants acted in criminal violation of the federal mail fraud statute 18 U.S.C. § 1341
     by using the court to perpetrate the Nelson Mullins/Oppenheimer Embezzlement Racket.
 372.All Defendants acted in criminal violation of the federal wire fraud statute under 18 U.S.C.
     1343 when they transmitted or caused to be transmitted by means of writings, signs, signals,
     pictures, sounds, telephone and cellular telephone calls, documents, facsimiles, emails,
     instant messages, wire, radio, or television communication and any other form of
     communication in interstate or foreign commerce, for the purpose of executing such scheme
     or artifice to perpetrate the Nelson Mullins/Oppenheimer Embezzlement Racket.
 373.All Defendants have made false statements in violation of 18 U.S.C. § 1001 and could be
     charged and convicted of multiple, related violations of law which form a pattern and practice

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    and which violations are each potentially punishable by more than one year in jail
    constituting false statements to officials of the U.S. Government to perpetrate the Nelson
    Mullins/Oppenheimer Embezzlement Racket.
374.By virtue of the predicate acts described in this Complaint, including without limitations:
    engaging in monetary transactions improperly derived from unlawful activity, All Defendants
    transferred, received, furthered income that was derived, both directly and indirectly, from a
    pattern of racketeering activity in which each of them participated as a principal and used and
    invested, both directly and indirectly, such income and the proceeds of such income, in
    establishing, operating and furthering the Nelson Mullins/Oppenheimer Embezzlement
    Racket, an illegal enterprises in violation of 18 U.S.C. § 1962(a).
375.Plaintiff Stone enjoys a liberty interest in her persons of not being deprived of life by actions
    of the Government without due process of law, as guaranteed by the Fifth Amendment.
376.All Defendants, each and every one violated Plaintiff Stone’s Fifth Amendment Rights.
377.All Defendants have violated Plaintiff Stone’s First Amendment Rights.
378.By reason of the wrongful conduct of All Defendants, each and every one of them, jointly
    and severally, Plaintiff Stone has suffered harm in the form of having her guaranteed
    Constitutional rights violated, her business and property rights have been violated, and her
    rights and property under the due process clause of the U.S. Constitution and her freedom of
    speech and association guaranteed to Plaintiff Stone under the U.S. Constitution have been
    severely comprised.
379.All Defendants conspire in the operation of a façade of a court to run the Nelson
    Mullins/Oppenheimer Embezzlement Racket in violation of Plaintiffs equal rights under 42
    U.S. Code § 1961.
380.All Defendants are maliciously retaliating against Plaintiff Stone and intimidating Plaintiff
    Stone for exposing and opposing their corrupt color of law activities.
381.All Defendants are violating 42 U.S.C. § 12203
382.All Defendants conduct is directly related to the damages, financial injuries and emotional
    distress sustained by Plaintiff Stone.
383.As a direct and proximate result of All Defendants violation of 18 U.S.C. § 1962(a), Plaintiff
    Stone suffered the loss of valuable property, financial services and support, and suffered
    other business and pecuniary damages.
384.As a direct and proximate result of All Defendants violation of 18 U.S.C. § 1962(a), Plaintiff
    Stone has suffered severe emotional distress.
385.The injuries and damages sustained by Plaintiffs were the direct and proximate result of All
    Defendants’ commission of predicate acts defined by 18 USC § 1961(1)(B) specifically
    including but not limited to 18 USC § 664 (relating to embezzlement and theft), 18 USC §
    1343 (relating to wire fraud).
386.As a direct and proximate result of the intentional and willful actions of All Defendants each
    and every one of them, jointly and severally, in their individual and official capacities,

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      Plaintiff Stone demands judgment be entered against All Defendants, each and every one of
      them, jointly and severally, including an award of compensatory and actual damages,
      punitive damages, and equitable relief, reasonable attorneys’ fees, interest and costs, and
      award in the sum of $25,000,000.00.
387. Wherefore, Plaintiff Stone seeks a separate, special award of damages in individually, jointly
      and severally against Nelson Mullins, Mark Francis Raymond, Carl Rosen, Culture of
      Corruption Oppenheimer and Culture of Corruption Elmore in the sum of $100,000,000
      together with all attorneys fees, costs and expenses.
  388.Plaintiff Stone demands that judgment be entered against All Defendants each and every one
      of them, jointly and severally, an award of treble damages as consistent with 18 U.S.C. §
      1964(c).
  389. Plaintiff Stone demands declaratory and injunctive and other equitable relief against All
      Defendants to cease their illegal acts.
  390.This Court being notified of and made aware of the criminal racket is mandated to report
      these crimes to the authorities pursuant to Judicial Ethics and 18 USC 4.

             F. COUNT SIX: CONSPIRACY TO INTERFERE WITH RIGHTS
                            UNDER 18 U.S.C. § 1985; AND
         FAILURE TO PROTECT PLAINTIFF STONE UNDER 42 U.S.C. § 1986; AND
                 DEPRIVATION OF RIGHTS UNDER COLOR OF LAW
                       UNDER 42 U.S.C. § 1983 AND 18 U.S.C. § 242
             AGAINST THE FLORIDA PUBLIC STATE ACTOR DEFENDANTS

 391.The provisions of Paragraphs 1-390 are incorporated herein.
 392.U.S. Const. amend. XIV, § 1 provide no state shall “deprive any person of life, liberty, or
     property, without due process of law.” A violation of procedural due process occurs where
     the state fails to provide due process in the deprivation of a protected liberty interest.
     McKinney v. Pate, 20 F.3d 1550, 1557 (11th Cir. 1994) (en banc). On the other hand, a
     violation of substantive due process occurs where an individual’s fundamental rights, those
     “implicit in the concept of ordered liberty,” are infringed—no matter the fairness of the
     procedure. Id. at 1556.
 393.The U.S. Supreme Court, in Scheuer v. Rhodes, 416 U.S. 232, 94 S.Ct. 1683, 1687 (1974)
     stated that "when a state officer acts under a state law in a manner violative of the Federal
     Constitution, he "comes into conflict with the superior authority of that Constitution, and he
     is in that case stripped of his official or representative character and is subjected in his person
     to the consequences of his individual conduct. The State has no power to impart to him
     any immunity from responsibility to the supreme authority of the United States." [Emphasis
     supplied in original]." When any court violates the clean and unambiguous language of the
     Constitution, a fraud is perpetrated and no one is bound to obey it." State v. Sutton, Minn. 147
     65 NW 262 30 LRA 630 AM ST 459.

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394.Incredibly, the government itself commissioned “studies” to “track” and “collect data” about
    the abuses committed against vulnerable adults in guardianship.
395.These “studies” have been done routinely for years by the U.S. Government Accountability
    Office (“GAO”) on guardianship. The latest “study” was done in November, 2016. 74
396.The GAO study found vulnerable American adults in court ordered guardianships all over the
    country were subjected to horrific atrocities - physical and sexual abuse, bug infested living
    conditions and languishing in filth.
397.The GAO found the assets of vulnerable American adults in guardianship were stolen.
398.The GAO reports nonchalantly state that courts failed to adequately screen potential
    guardians, appointing individuals with criminal convictions or significant financial problems
    to manage high- dollar estates; courts failed to oversee guardians once they were appointed,
    allowing the abuse of vulnerable seniors and their assets to continue and courts and federal
    agencies did not communicate effectively or at all with each other about abusive guardians,
    allowing the guardian to continue the abuse of the victim and/or others.
399.Even after identifying and exposing hundreds of cases of physical abuse, neglect and
    financial exploitation by guardians in 45 states and the District of Columbia, instead of
    criminally investigating the predator judges, attorneys and guardians perpetrating
    these crimes the Florida Public State Actor Defendants did nothing, thereby acting as
    accomplice and accessory.
400.Therefore, all the while Plaintiff Stone and all Plaintiffs were filing complaints with Florida
    Public State Actor Defendants desperately seeking remedy, unbeknownst to them, all efforts
    to obtain remedy were futile as the Guardian Human Trafficking/Corruption Racket is state
    and federal sanctioned and sponsored.
401.Plaintiff Stone and all Plaintiff have filed civil and criminal complaints and lawsuits against
    and held futile meetings with all Florida government agencies and officials including the
    Florida Public State Actor Defendants to which the only response is NOTHING or a “NO
    ACTION” letter or the summarily dismissal of a lawsuit.
402.Moreover, in criminal conflict of interest; acts of rebellion and insurrection against the
    Constitution; and obstruction of justice, the Attorney Generals of Florida use public funds to
    provide counsel to represent and defend corrupt color of law judges when lawsuits are
    brought against them by Plaintiff Stone and all Plaintiffs.

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  https://www.gao.gov/products/GAO-17-33
“GAO was asked to review whether abusive practices by guardians are widespread. This report describes (1) what is
known about the extent of elder abuse by guardians; and (2) what measures federal agencies and selected state and
local guardianship programs have taken to help protect older adults with guardians. GAO reviewed relevant
research, reports, studies, and other publications issued by organizations with expertise on elder abuse and
guardianship issues. GAO also conducted interviews with various guardianship stakeholders including federal
agencies such as HHS, six selected state courts, and nongovernmental organizations with expertise in guardianship-
related issues. In addition, GAO identified eight closed cases of abuse by guardians in which there was a criminal
conviction or finding of civil or administrative liability to use as nongeneralizable illustrative examples. GAO makes
no recommendations in this report.”

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403.The Attorney Generals and their state actor officers routinely ignore their mandate under the
    Florida and U.S. Constitution to protect the public from danger and ignore their oath of office
    to uphold the Constitution.
404.They routinely willfully and wantonly pretend they are not responsible to protect Plaintiffs
    and divert Plaintiffs and mislead them by directing them to other agencies when such other
    agencies do not have jurisdiction or prosecutorial power and when it is the office of the
    Attorney General who is responsible to enforce the law pursuant to the Florida Constitution
    as the Attorney General is or should be well aware.
405.Objection is made to use of any public funds to pay for appointment of any attorney by
    attorney general, Ashley Moody’s office to represent, protect and shield any Defendant
    herein from their liability herein and jurisdiction is not recognized of such attorney as:
  a. It violates the public trust as under the Florida Constitution, the Attorney General is
       responsible to protect Florida consumers from fraud and to investigate and take legal action
       against violations of Floridians’ civil rights through its Office of Civil Rights;
  b. It is a criminal conflict of interest for Ashley Moody to protect any Defendant herein as
       Ashley Moody is responsible to protect the public from the organized crime and public
       corruption. Thus such appointment is illegal and a criminal violation of the duties of
       Attorney General Ashley Moody as the Florida attorney general as Ashley Moody is
       required to criminally investigate the crimes of Defendants set forth herein, not protect
       them from their criminal acts;
  c. The Attorney General is responsible for the prosecution of public corruption by appointing
       a statewide prosecutor of crimes in two or more circuits;
  d. It constitutes theft of services to use public funds to pay for an attorney in the office of the
       Florida attorney general to accompany and accomplice public corruption and racketeering.
  e. In addition, such appointment would be a further crime of accomplice to public corruption;
       racketeering; obstruction of justice; concealing a false scheme of exploitation 75;
       accomplice to the abuse and exploitation of a vulnerable adult in violation of Florida and
       Federal law; a violation of their duty to report abuse and exploitation of a vulnerable adult
       and other federal felony crimes by the Attorney General including violation of the Hobbs
       Act, 18 U.S.C. § 1951; Such appointment would violate Florida Bar ethics and legal rules
       76
          mandating sanctions including disbarment.


75
   18 U.S.C. § 1001 provides: (a) except as otherwise provided in this section, whoever, in any manner within the
jurisdiction of the executive, legislative, or judicial branch of the Government of the United States, knowingly and
willfully – (1) falsifies, conceals, or covers up by any trick scheme, or device a material fact; (2) makes any
materially false, fictitious, or fraudulent statement or representation; or (3) makes or uses any false writing or
document knowing the same to contain any materially false, fictitious, or fraudulent statement or entry.
76
   Rule 4-1.2(d) prohibits the lawyer from assisting a client in conduct that the lawyer knows or reasonably should
know is criminal or fraudulent. Similarly, a lawyer has a duty under rule 4-3.3(a)(4) not to use false evidence. This
duty is essentially a special instance of the duty prescribed in rule 4-1.2(d) to avoid assisting a client in criminal or
fraudulent conduct. Under 4-1.2(b)(1), the lawyer must reveal information in order to prevent these consequences.

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 403. Ron DeSantis, prior Florida Governor Rick Scott, Attorney General Ashley Moody and prior
     Attorney General Pam Bondi who have been instrumental in the proliferation of the Guardian
     Human Trafficking/Corruption Racket are responsible under the Constitution of the State of
     Florida to insure the laws are enforced and instead insure that the laws are not enforced.
 404. The Guardian Human Trafficking/Corruption Racket deprives Plaintiff Stone and all
     Plaintiffs of meaningful access to the Court by engaging in fraudulent and rigged practices
     with preordained access to the court to impose unlawful, fraudulent and illegal deprivations
     restrictions and penalties on Plaintiff Stone and all Plaintiffs through illegal “protective” and
     “stay away orders” by use of perjured and illegal petitions.
 405. Threats have been made by the racketeers not only against Plaintiff Stone but her counsel.
406. The Guardian Human Trafficking/Corruption Racket has caused Plaintiff Stone and all
     Plaintiffs to expend astronomical fees on futile litigation by attorneys hired by Plaintiff Stone
     and all Plaintiffs who are secretly working with the Guardian Human Trafficking/Corruption
     Racket to incite devious schemes to perpetuate rigged, orchestrated litigation and extort
     Plaintiff Stone, Plaintiff Stone’s mother and all Plaintiffs and their family member’s assets
     to pay for schemes and scams and diabolical plots masterminded by the Guardian Human
     Trafficking/Corruption Racket. .
407. These are acts of treason against the Constitution and crimes of rebellion or insurrection. 77
408. Plaintiff Stone and all Plaintiffs’ very existence and the lives of their family have been wiped
     out as out-of-control litigation consumes their existence.
409. Plaintiff Stone and all Plaintiffs are embroiled in an overwhelming, bottomless pit of corrupt
     farcical litigation where pending cases spawn a ceaseless array of other cases forcing them to
     be at the mercy of threatening, illegal court deadlines, hearings, pleadings in relentless,
     staged, futile litigation.
410. While the attorneys are billing machines who illegal gain from orchestrated litigation,
     Plaintiffs are drowning in a shameful cesspool of judicial corruption that deprives them of
     their livelihood, their family life and any possible quality of life.
411. All attempts to obtain redress are futile, as the Guardian Human Trafficking/Corruption
     Racket is deliberate and protected by every court, agency and law enforcement official
     throughout the state of Florida.


  Rule 4-1.6(b)(2) requires the lawyer to disclose information reasonably necessary to prevent the future death or
  substantial bodily harm to another, even though the act of the client has been completed.
  Lawyers holding public office assume legal responsibilities going beyond those of other citizens. A lawyer’s abuse
  of public office can suggest an inability to fulfill the professional role of attorney. The same is true of abuse of
  positions of private trust such as trustee, executor, administrator, guardian, or agent and officer, director, or manager
  of a corporation or other organization.
  77
      18 U.S.C. §2383. Rebellion or insurrection
  Whoever incites, sets on foot, assists, or engages in any rebellion or insurrection against the authority of the United
  States or the laws thereof, or gives aid or comfort thereto, shall be fined under this title or imprisoned not more than
  ten years, or both; and shall be incapable of holding any office under the United States.

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 412. The Florida Public State Actor Defendants have knowledge of and conspire with the
      Guardian Human Trafficking/Corruption Racket, have the power to prevent such conspiracy,
      and neglected or refused to prevent such conspiracy.
 413. The Florida Public State Actor Defendants have a policy, practice, or custom of neglecting to
      prevent 42 U.S.C.A. § 1985 78 violations by its agents or employees.
 414. The Florida Public State Actor Defendants have final enforcement authority over the
      Guardian Human Trafficking/Corruption Racket.
 415. The Florida Public State Actor Defendants through the enforcement of an official policy,
      practice, custom or decision of a final policy maker, conspire in and failed to prevent a
      conspiracy to deprive Plaintiffs of their Constitutional Rights.
 416. 42 U.S.C. § 1983 provides that: Every person, who under color of any statute, ordinance,
      regulation, custom or usage of any state or territory or the District of Columbia subjects or
      causes to be subjected any citizen of the United States or other person within the jurisdiction
      thereof to the deprivation of any rights, privileges or immunities secured by the constitution
      and law shall be liable to the party injured in an action at law, suit in equity, or other
      appropriate proceeding for redress . . .
417. Plaintiff Stone and all Plaintiffs have every right to rely on the Florida Public State Actor
     Defendants to protect them from unlawful violations of the Constitution but instead were
     denied protections and their inalienable rights were violated under the Constitution by the
     Florida Public State Actor Defendants including:
         AMENDMENT I: Congress shall make no law respecting an establishment of religion, or
         prohibiting the free exercise thereof; or abridging the freedom of speech, or of the press;
         or the right of the people peaceably to assemble, and to petition the government for a
         redress of grievances. The Supreme Court held in NAACP v. Alabama (1958) that
         freedom of association is an essential part of freedom of speech because, in many cases,
         people can engage in effective speech only when they join with others.
         AMENDMENT V
         No person shall be held to answer for a capital, or otherwise infamous crime, unless on a
         presentment or indictment of a grand jury, except in cases arising in the land or naval
         forces, or in the militia, when in actual service in time of war or public danger; nor shall
         any person be subject for the same offense to be twice put in jeopardy of life or limb; nor
         shall be compelled in any criminal case to be a witness against himself, nor be deprived of
         life, liberty, or property, without due process of law; nor shall private property be taken
         for public use, without just compensation.
         AMENDMENT 14: Section 1. All persons born or naturalized in the United States, and
         subject to the jurisdiction thereof, are citizens of the United States and of the State

  78
     42 U.S. Code § 1985.Conspiracy to interfere with civil rights
   (2)OBSTRUCTING JUSTICE; INTIMIDATING PARTY, WITNESS, OR JUROR


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       wherein they reside. No State shall make or enforce any law which shall abridge the
       privileges or immunities of citizens of the United States; nor shall any State deprive any
       person of life, liberty, or property, without due process of law; nor deny to any person
       within its jurisdiction the equal protection of the laws
       PRIVACY PROTECTION: The Constitution provides a second type of privacy
       protection. This protection is not explicit, since no clause in the Constitution refers
       expressly to privacy. But the courts have repeatedly recognized that the Constitution does
       expressly protect certain aspects of privacy under the Bill of Rights. These include a right
       to privacy of belief as guaranteed under the First Amendment and a right to privacy within
       our homes as guaranteed under the Third Amendment. But perhaps the most concrete of
       the privacy rights suggested by the Bill of Rights are those covered by the Fourth
       Amendment—the right to be secure in our persons and property against unreasonable
       searches and seizures.
       The Fourth Amendment, specifies that "no warrants shall issue, but upon probable cause,
       supported by oath or affirmation, and particularly describing the place to be searched, and
       the persons or things to be seized." The amendment's first clause spoke to a more general
       "right of the people to be secure in their persons, houses, papers, and effects, against
       unreasonable searches and seizures." This more general right was tied to an ancient British
       legal principle guaranteeing personal security in our homes. The belief that "every man's
       home is his castle" was firmly entrenched in British law.
       In Katz v. United States, the Court concluded that the Fourth Amendment protects people,
       not just places; the amendment's intent was not just to protect our homes and property
       from government's unreasonable encroachment, but also people and the privacy that they
       have come to expect in certain places and situations. More precisely, the Court held that
       when and where there is a reasonable expectation of privacy, that privacy must be
       respected. It cannot be violated unreasonably; authorities may encroach upon it only with
       a warrant or by meeting one of the exceptions that authorize a warrantless search.
418. Plaintiff Stone and all Plaintiffs are denied protections and their inalienable rights were
    violated under the Constitution by the Florida Public State Actor Defendants.
419. Consistent with the unequivocal words of the statute, the Supreme Court has ruled that a
    Plaintiff must prove only two elements to establish a prima facie case under § 1983: 1)
    defendant acted under color of state law, and 2) defendant's conduct caused Plaintiff to be
    deprived of a right protected by the Constitution. The legislative history of § 1983 confirms
    Congress intended the statute to generously afford relief to persons injured by officials.
420. The Florida Public State Actor Defendants have created an atmosphere of lawlessness, and
    have developed and maintained a pattern and practice of lawlessness and willful and
    deliberate indifference to the constitutional rights of Plaintiffs.




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421. As a direct and proximate result of the Florida Public State Actor Defendants' actions,
    Plaintiff Stone and all Plaintiffs’ interests were harmed and they were deprived of due
    process, equal protection of the laws and/or of equal privileges and immunities.
422. As a direct and proximate result of the Florida Public State Actor Defendants' actions as
    alleged in this Complaint, Plaintiff Stone and all Plaintiffs have suffered loss of life by
    genocide, bodily harm, loss of reputation, and other non-economic harm including emotional
    and mental distress, degradation, embarrassment, and humiliation for which Plaintiffs seeks
    compensation in an amount to be determined at trial by a jury.
423. As a direct and proximate result of the Florida State Actor Defendants' violation of Plaintiffs'
    constitutionally guaranteed rights and their actions/inactions alleged in this Complaint,
    Plaintiff Stone and all Plaintiffs have suffered severe economic loss in the form of loss of job
    and livelihood, investment and loss of future business, in an amount to be proven at trial.
424. Plaintiff Stone and all Plaintiffs seek compensatory damages against the Florida Public State
     Actor Defendants in an amount to be determined at trial by a jury.
425. The Florida Public State Actor Defendants' actions were intentional, willful, and with
    reckless disregard to Plaintiff Stone and all Plaintiffs' rights. Such conduct exceeds the
    bounds of social toleration and is of the type that punitive damages deter. Plaintiff Stone and
    all Plaintiffs seek an award of punitive damages in an amount to be determined at jury trial.
426. Plaintiff Stone and all Plaintiffs seek injunctive relief to enjoin the Florida Public State Actor
    Defendants, its owners, officers, management personnel, employees, agents, successors, and
    assigns, and all persons in active concert or participation with the Florida Public State Actor
    Defendants, from engaging in any practice which discriminates against its citizens and their
    right to equal protection of the laws and/or of equal privileges and immunities under the laws
    on account of their race, on such terms as the court may direct.
427. Plaintiff Stone and all Plaintiffs are entitled to reasonable attorneys' fees and costs incurred,
    including expert witness fees, pursuant to 42 U.S.C. § 1988.
428. By reason of the wrongful conduct of the Florida Public State Actor Defendants, each and
    every one of them, jointly and severally, Plaintiff Stone and all Plaintiffs have suffered harm
    having their guaranteed Constitutional rights violated, their business and property rights
    violated, and their rights and property under due process and their freedom of speech and
    association guaranteed to Plaintiffs under the Constitution have been severely comprised.
 429. The Florida Public State Actor Defendants conspire in the operation of a façade of a court
     to run a Guardian Human Trafficking//Corruption Racket in violation of Plaintiff Stone’s
     and all Plaintiffs’ equal rights under 42 U.S. Code § 1961 79.

79
  42 U.S. Code § 1961 (a)STATEMENT OF EQUAL RIGHTS
All persons within the jurisdiction of the United States shall have the same right in every State and Territory to make
and enforce contracts, to sue, be parties, give evidence, and to the full and equal benefit of all laws and proceedings
for the security of persons and property as is enjoyed by white citizens, and shall be subject to like punishment,
pains, penalties, taxes,licenses, and exactions of every kind, and to no other.

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 430. The Florida Public State Actor Defendants are maliciously retaliating against Plaintiff Stone
      and all Plaintiffs and intimidating Plaintiff Stone and all Plaintiffs for exposing and
      opposing their corrupt color of law activities.
 431. The Florida State Actor Defendants are violating 42 U.S.C. § 12203 80
432. As a direct and proximate result of the Florida State Actor Defendants violation of 18 U.S.C.
      § 1962(a), Plaintiff Stone and all Plaintiffs suffered the loss of valuable property, financial
      services and support, and suffered other business and pecuniary damages.
433. As a direct and proximate result of the Florida Public State Actor Defendants violation of 18
      U.S.C. § 1962(a), Plaintiff Stone and all Plaintiffs have suffered severe emotional distress.
434. Wherefore, Plaintiff Stone seeks an award of damages in individually, jointly and severally
      against the Florida Public State Actor Defendants in the sum of $25,000,000 together with
      all attorneys’ fees, costs and expenses.
435. Plaintiff Stone and all Plaintiffs seek an order enjoining the State Attorney defendant from
      providing representation to any Defendant set forth herein.
436. Plaintiffs seek an order mandating the criminal investigation of all Defendants and the
      issuance of injunctions and damages as set forth herein.
437. There is no immunity. See Article XII.
438. The Supreme Court has declared, "Certainly the right to petition extends to all departments
      of the Government. The right of access to the courts is but one aspect of the right of
      petition." California Transport v Trucking Unlimited, 404 US 508, 510 (1972). The
      California Supreme Court, based on an analysis of U.S. Supreme Court holdings, found:
     "The authorities make it clear the right of petition protects attempts to obtain redress
      through the institution of judicial proceedings as well as through importuning executive
      officials and the Legislature. It is equally apparent that the right encompasses the act
      of filing a lawsuit solely to obtain monetary compensation for individualized wrongs, as
      well as filing suit to draw attention to issues of broader public interest or political
      significance.

     G. COUNT SEVEN: DISCRIMINATION AND RETALIATION IN VIOLATION OF
                      AMERICANS WITH DISABILITIES ACT
                          AGAINST ALL DEFENDANTS


80
   42 U.S. Code § 12203.Prohibition against retaliation and coercion
 (a)RETALIATION
No person shall discriminate against any individual because such individual has opposed any act or practice made
unlawful by this chapter or because such individual made a charge, testified, assisted, or participated in any manner
in an investigation, proceeding, or hearing under this chapter.
(b)INTERFERENCE, COERCION, OR INTIMIDATION
It shall be unlawful to coerce, intimidate, threaten, or interfere with any individual in the exercise or enjoyment of,
or on account of his or her having exercised or enjoyed, or on account of his or her having aided or encouraged any
other individual in the exercise or enjoyment of, any right granted or protected by this chapter.


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439. The allegations set forth in Paragraphs 1-438 are incorporated herein.
440. The Department of Justice (DOJ) was delegated the authority by Congress to promulgate
     regulations implementing the Americans with Disabilities Act of 1990 as amended (“ADA”)
     under 42 U.S.C.A. § 12134(a). The DOJ's regulations provide that “all programs, services,
     and regulatory activities relating to law enforcement, public safety, and the administration of
     justice, including courts and correctional institutions, are governed by the ADA”. 28 C.F.R. §
     35.190(b)(6).
441. Title II of the ADA prohibits the exclusion of persons with disabilities from participating in,
     or denying the benefits of, the goods services, programs and activities of the entity or
     otherwise discriminating against persons on the basis of disability. 42 U.S.C.A. § 12132.
442. Plaintiff Stone’s mother and Plaintiff Stone are disabled persons as defined by 42 U.S.C.A. §
     12131(1).
443. At all times relevant hereto and because of their disability, All Defendants have individually,
     collectively, jointly and whether in concert among all or select few, in violation of Title II of
     42 U.S.C. § 12101 et seq. the ADA and in violation of the First, Fifth and Fourteenth
     Amendments of the U.S. Constitutional, denied and deprived Plaintiff Stone and her mother:
      a. All meaningful and equal access to the courts and to the services, programs and activities
          of the Florida State Court including without limitation equal access to a meaning review
          and appeal process;
      b. Any reasonable accommodation to Plaintiff Stone’s and her mother, notwithstanding
           that the requested accommodations have been provided to others under the same
           circumstances, thereby evidencing discrimination and retaliation against Plaintiffs.
444. At all times relevant hereto and because of their disability, Defendants have whether
     individually, collectively, jointly and whether in concert among all or select few, in violation
     of Title II of 42 U.S.C. § 12101 et seq. the ADA and in violation of the First, Fifth and
     Fourteenth Amendments of the Constitutional, Denied and deprived Plaintiff Stone and her
     mother adequate healthcare and access to the public accommodations of healthcare services
     sufficient to address Plaintiff Stone’s and her mother’s special needs relating to their
     disability which included among other things, adequate assessment and therapeutic treatment
     sufficiently goal oriented toward restoration and rehabilitation.
445. At all times relevant hereto and because of their disability, the Defendants have whether
     individually, collectively, jointly and whether in concert among all or select few, in violation
     of Title II of 42 U.S.C. § 12101 et seq. the ADA and in violation of the First, Fifth and
     Fourteenth Amendments of the Constitutional intentionally and with deliberate indifference,
     excluded Plaintiff Stone and her mother completely appearing at and or participating in any
     and all proceeding involving the administration of the guardianship matter and likewise
     exclude Plaintiff Stone and her mother from participation in any and all decision-making
     which effect the course of their life and the ultimate disposition and control of her assets
446. At all times relevant hereto and because of their disability, All Defendants have individually,

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    collectively, jointly and whether in concert among all or select few, in violation of Title II of
    42 U.S.C. § 12101 et seq. the ADA and the First, Fifth and Fourteenth Amendments have in
    bad faith, assumed roles adversarial to Plaintiff Stone and her mothers’ rights, privileges and
    immunities and depriving Plaintiff Stone and her mother of in violation of 42 USC Sections
    1981, 1983 and 1985, the free exercise of the First Amendment right to petition for redress
    and to associate freely with those of their choosing, the Fourth Amendment right to privacy
    and to be secure in their person and free from unreasonable search and seizures, the fifth and
    fourteenth Amendment rights to due process of law and equal protection under the law and
    the rights of familiar unity and the Ninth Amendment right to privacy and persona autonomy
    in Plaintiff Stone and her mothers’ rights to choose freely in pursuit of their own happiness,
    dignity and self- determination.
447. At all times relevant hereto and since the very inception of this cause, Plaintiff Stone and her
    mothers have been the victims of invidious discrimination by the willful and deliberate
    indifference of the Defendants and the State of Florida Courts, including Probate Courts (the
    “Florida Probate Courts”), and its appointed agent guardians, in violation of the ADA. In
    particular and as a “public entity” within the scope and meaning of 42 U.S.C. §12131(1), the
    Defendants and the Florida Probate Courts and their agent appointed guardians have:
       a. in violation of 28 C.F.R. § 35.134(b) and because Plaintiff Stone and her mother Stone
            has asserted themselves to aid and encourage their loved ones in the full attainment
            and enjoyment of their rights as a qualified individual with a disability, the public
            entities, the Defendants and the Florida Probate Courts and its appointed agent
            guardians have deliberately retaliated against Plaintiff Stone and her mothers by
            resorting to coercion, threats, intimidation and interference with both Plaintiff Stone
            and her mothers in the exercise and enjoyment of those rights granted and protected by
            the ADA and 28 C.F.R. Part 35;
       b. because of Plaintiff Stone and her mothers’ disability and in violation of 42 U.S.C. §
            12132 and 42 U.S.C. § 12203; see also 28 C.F.R. Part 35 Subpart B – General
            Requirements, 28 C.F.R. § 35.134(a), the public entities, the Defendants and the
            Florida Probate Courts and its appointed agent guardians have maliciously and
            deliberately discriminated against Plaintiff Stone and her mother.
       c. because some of the Plaintiff Stone and her mother have made charges against the
            state agency Florida Probate Courts by stating the state agency has engaged in gross
            criminal conduct and discrimination against said Plaintiff Stone and her mother’ loved
            ones which are unlawful under the ADA and requested a grand jury investigation by
            state agency State Attorney’s office of such unlawful conduct by the state agency State
            Probate Court and its appointed agent guardians which the public entities, the
            Defendants and the State Probate Courts and its appointed agent guardians denied
            relief thereby grossly engaging in willful and malicious discrimination and in
            malicious retaliation wrongfully arrested said Plaintiff Stone and her mother.

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      d. because of Plaintiff Stone and her mother’s disability and in violation of 42 U.S.C. §
          12132; see also 28 C.F.R. Part 35 Subpart B – General Requirements, 28 C.F.R. §
          35.130(a), excluded Plaintiff Stone and her mother from any and all opportunity to
          participate in the services, programs activities of both, i). the Florida Probate Courts;
          and, ii). those of the services programs and activities of the guardianship proceeding
          under administration in the Florida Probate Courts;
      e. because of Plaintiff Stone and her mother’ disability and in violation of 42 U.S.C. §
          12132; see also 28 C.F.R. Part 35 Subpart B – General Requirements, 28 C.F.R. §
          35.130(b)(1)(i),(ii),(iii), (v),(vi),(vii); 28 C.F.R. § 35. 130(b)(3)(i),(ii),(iii); 28 C.F.R. §
          35.130(b)(5), discriminated against Plaintiff Stone and her mother by denying them
          the opportunity to participate in and benefit equally and effectively from, the aid,
          benefit and services of both i). the Florida Probate Court; and ii). those of the
          services programs and activities of the guardianship proceeding under administration
          in the Florida Probate Court.
448. Because of Plaintiff Stone and her mothers’ disability and in violation of 42 U.S.C. § 12132
   and 42 U.S.C. § 12203; see also 28 C.F.R. Part 35 Subpart B – General Requirements, 28
   C.F.R. § 35.134(b), and because Plaintiff Stone and her mother have opposed the acts or
   practices of the public entities the Defendants and Florida Probate Courts and its appointed
   agent guardians which are unlawful by the ADA, the public entities, the Defendants and the
   Florida Probate Courts and its appointed agent guardians have viciously and vindictively
   coerced, intimidated, threatened, illegally arrested and interfered with Plaintiff Stone and her
   mother in the exercise or enjoyment of and on account of their loved ones and having aided
   or encouraged their loved ones in the exercise or enjoyment of any right granted or protected
   by the ADA or this part. Such rights and protections include but are not limited to:
     a. the prohibited action of the guardians under 28 C.F.R. § 35.130 (8) (e) (2) to decline
         food, water, medical treatment or medical services for Plaintiff Stone and her mother
     b. excluding Plaintiff Stone and her mother from participation in and denied the benefits
         of the services, programs or activities of access to the Court, a public entity or be
         subjected to discriminating by the Court, a public entity
     c. the failure of the Florida Probate Courts, a public entity to administer services,
         programs and activities in the most integrated setting appropriate to the needs of
         qualified individuals with disabilities
     d. excluding or otherwise denying equal services, programs or activities to Plaintiff Stone
         and her mother because of the known disability of loved ones with whom Plaintiff
         Stone and her mother are known to have a relationship in violation of 28 C.F.R. §
         35.130 (8) (g).
     e. depriving Plaintiff Stone and her mother of visitation with family members in violation
         of 28 C.F.R. § 35.152 (2) (iv)


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        f. failure of the public entity the Florida Probate Courts to take appropriate steps to ensure
            that communications with applicants, participants, members of the public and
            companions with disabilities are as effect as communications with others as provided in
            28 C.F.R. § 35.160 (a) (1) Pursuant to 28 C.F.R. § 35.160 (a) (2) “companion” means a
            family member, friend, or associate of an individual seeking access to a service,
            program, or activity of a public entity who along with such individuals is an appropriate
            person with whom the public entity should communicate.
 449. In addition, the public entity, the Florida Probate Division has aided and perpetuated the
      discrimination against Plaintiff Stone and her mother by providing substantial assistance to
      an agency, organization and persons that discriminate on the basis of disability in providing
      aid, benefit and service to Plaintiff Stone and her mother as a beneficiary of the State Probate
      Courts’ guardianship services programs and activities; and/or has otherwise limited Plaintiff
      Stone and her mothers in the enjoyment of those rights, privileges, advantages and/or
      opportunities enjoyed by others receiving the aid, benefit and services of both
      a. the Florida Probate Courts; and,
      b. those of the services programs and activities of “guardianship” including, without
           limitations, the opportunity to participate in the planning and advisement of Plaintiff
           Stone and her mother’s own preferences, autonomy and self-determination while under
           guardianship;
450. In spite of Plaintiff Stone and her mother’s disability and in violation of 42 U.S.C. § 12132;
      see also 28 C.F.R. Part 35 Subpart B – General Requirements, 28 C.F.R. § 35.130(b)(7), the
      public entity Florida Probate Court has willfully, deliberately and indifferently failed and
      refused to make reasonable modifications in the policies, practices and procedures when the
      modifications are necessary to avoid discrimination of Plaintiff Stone and her mothers.
451. Because of Plaintiff Stone and her mother’s disability and in violation of 28 C.F.R.
      §35.130(d) the public entity, the Florida Probate Courts and its agent appointed guardians
      have failed and refused to provide and administer their services to Plaintiff Stone and her
      mothers in the most integrated setting appropriate to their needs.
452. Contrary to the mandates of 28 C.F.R. § 35.130(d), because of Plaintiff Stone and her mothers
      disability and in violation of 42 U.S.C. § 12132, see also 28 C.F.R. Part 35 Subpart B –
      General Requirements, 28 C.F.R. § 35.149, the public entity, the Florida Probate Courts and
      its appointed agent guardians have, by providing their services programs and activities in the
      most oppressive and restrictive environment, rendered inaccessible and unusable to Plaintiff
      Stone and her mother the facilities of the public entity, the Florida Probate Courts and have
      excluded Plaintiff Stone and her mother from participation in and denied Plaintiff Stone and
      her mother the benefit of the services programs and activities of the same public entity.
453. Because of Plaintiff Stone and her mothers’ disability and in violation of 42 U.S.C. § 12132;
      see also 28 C.F.R. Part 35 Subpart B – General Requirements, 28 C.F.R. § 35.130(e)(1), the
      public entity, the Florida Probate Courts have compelled upon Plaintiff Stone and her

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     mothers an accommodation that she would otherwise choose not to accept, and have, in
     violation of 28 C.F.R. 35.130(f), surcharged Plaintiff Stone and her mothers for those
      accommodations programs, auxiliary aids and services forced on them;
454. Because of Plaintiff Stone and her mothers’ disability and in violation of 42 U.S.C. § 12132;
     see also 28 C.F.R. Part 35 Subpart F – Communications, 28 C.F.R. § 35.160(a)(1)(2), the
     public entity, the Florida Probates Courts and its appointed agent guardians have failed and
     refused, deliberately and indifferently, to take appropriate steps to ensure effective
     communications with Plaintiff Stone and her mothers equal to communications with others;
455. Because of Plaintiff Stone and her mothers’ disability and in violation of 42 U.S.C. § 12132;
     see also 28 C.F.R. Part 35 Subpart F – Communications, 28 C.F.R. § 35.160(b)(1), the
     public entity, the Florida Probate Courts and its appointed agent guardians have failed and
     refused, deliberately and indifferently, to furnish auxiliary aids and services necessary to
     afford Plaintiff Stone and her mother an equal opportunity to participate in and benefits of
     the services programs and activities of the public entity, the Florida Probate Courts and those
     services programs and activities of the guardian proceeding under administration in the
     public entity, the Florida Probate Courts;
456. Contrary to those mandates of 28 C.F.R § 35.160(a),(b), the public entity, the Florida Probate
     Courts have, in violation of 28 C.F.R. 35.160(c)(1),(2),(3), required and relied upon the un-
     facilitated and un-interpreted communications of Plaintiff Stone and her mothers;
457. Because of Plaintiff Stone and her mothers’ disability and in violation of 42 U.S.C. § 12132;
     see also 28 C.F.R. Part 35 Subpart B – General Requirements, 28 C.F.R 35.130(g), the
     public entity, the Florida Probate Courts and its appointed agent guardians have
     discriminated against Plaintiff Stone and her mothers because of their association and
     companionship and have denied to Plaintiff Stone and her mothers the emotional support and
     informed perspective of participation in the services programs and activities of both the
     public entity, the Florida Probate Court and the services programs and activities of the
     guardianship under administration before the public entity, the Florida Probate Courts;
458. As Plaintiff Stone and her mothers have testified against and made charges against the Florida
     State Actor Defendants, they knowingly and maliciously engaged in an ongoing and habitual
     pattern of unlawful discrimination and retaliation against Plaintiff Stone and her mothers.
459. The public entities, the Florida State Actors and the Florida Probate Court and its appointed
     agent guardians unlawfully engaged in gross and deliberate discrimination against Plaintiff
     Stone and her mothers and vicious retaliation against Plaintiff Stone and her mothers in
     violation of the ADA.
460. As the direct and proximate result of the foregoing acts of discrimination, retaliation and
     violations of the ADA, Plaintiff Stone and her mother have been denied and deprived of due
     process of law and equal protection under the law by the public entity, the State Probate
     Court and Plaintiff Stone and her mother cannot receive a fair, unbiased and prejudice-free
     process in the venue of the public entity, the Florida Probate Courts.

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461. Wherefore, Plaintiff Stone demands that judgment be entered against All Defendants each
     and every one of them, jointly and severally, compensatory and punitive damages in the sum
     of $25,000,000 and attorneys fees and costs.

 H. COUNT EIGHT: BREACH OF FIDUCIARY DUTY AND IPSO FACTO LIABILITY
                   AGAINST COLLUSIVE DEFENDANTS
                                AND
LEGAL MALPRACTICE AGAINST NELSON MULLINS, MARK FRANCIS RAYMOND
                            AND CARL ROSEN
      AND INTERFERENCE WITH EXPECTANCY AGAINST ALAN STONE

462. The allegations in Paragraphs 1-461 are incorporated herein.
463. Nelson Mullins, Mark Raymond, Carl Rosen and Alan Stone are fiduciaries who have
    undertaken to act for and on behalf of another in a particular matter in circumstances which
    give rise to a relationship of trust and confidence.
464. A fiduciary duty is the highest standard of care in equity or law.
465. When a fiduciary duty is imposed, equity requires a different, stricter standard of behavior
    than the comparable tortious duty of care in common law. The fiduciary has a duty not to be
    in a situation where personal interests and fiduciary duty conflict, not to be in a situation
    where his fiduciary duty conflicts with another fiduciary duty, and a duty not to profit from
    his fiduciary position without knowledge and consent.
466. Further Nelson Mullins, Mark Raymond, Carl Rosen have a fiduciary duty not only to
    Plaintiff Stone’s mother but to Plaintiff Stone under attorney ethical rules as does Alan Stone
    as he purports to act as a fiduciary on her behalf.
467. Collusive Defendants have a duty and heightened duty to Plaintiff Stone and her mother as
    their activities were conducted under the auspices of a state proceeding.
468. The acts of the Collusive Defendants in perpetrating crimes against Plaintiff’s mother and
    Plaintiff- engaging in an onslaught of drugging, chemical restraints, failing to provide and
    depriving Helen Stone of food and medical attention, secretive filings, deprived Helen Stone
    of the use of her own assets, viciously and cruelly isolated Helen Stone from Counter-
    Plaintiff, the very person who sought to protect her mother, removed Helen Stone from her
    prior life, friends and activities, the guardians failed to marshal the extorted assets, mis-
    managed Helen Stone’s assets and engaged in a series of divisive and fraudulent pleadings
    and filings solely for the purpose of extorting Helen Stone’s assets, in a gross
    understatement, violates their fiduciary duties.
469. They are also acting in civil and criminal conflict of interest by profiting from and seizing
    and stealing Mrs. Stone’s assets and those of Plaintiff Stone.
470. Their conduct constitutes constructive fraud, being based on acts, omissions or concealments
    fraudulent that gives them an illegal advantage against Plaintiff Stone and her mother.


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471. These intentional acts by Nelson Mullins, Mark Raymond and Carl Rosen constitute legal
    malpractice.
472. These intentional acts by Alan Stone constitute conspiracy.
473. As a direct and proximate result of the foregoing acts, Plaintiff Stone has been grossly
    damaged and is entitled to attorneys fees, costs and expenses
474. Wherefore Plaintiff Stone seeks damages jointly and severally against Collusive Defendants
    in the sum of $7,500,000 together with all attorneys fees, costs and expenses.
475. Wherefore Plaintiff Stone seeks separate and special damages jointly and severally against
    Nelson Mullins, Mark Francis Raymond, Carl Rosen for legal malpractice in the sum of
    $25,000,000 together with all attorneys fees, costs and expenses.
476. Wherefore Plaintiff Stone seeks separate and special damages against Alan Stone for malice,
    intentional interference with expectancy and outrageous acts of inhumanity of in the sum of
    $25,000,000 together with all attorneys’ fees, costs and expenses.
   I. COUNT NINE: UNJUST ENRICHMENT AND FRAUD IN THE INDUCEMENT
                        AGAINST ALL DEFENDANTS
477. The allegations in Paragraphs 1-476 are incorporated herein.
478. As a result of All Defendants fraudulent, deceptive and unconscionable acts and the
    perpetration of a sham proceeding built on their own fraud and deception, they have obtained
    illegal financial gain.
479. It would be unjust and inequitable to permit All Defendants to retain the benefits they
    illegally procured as a result of their own unlawful acts.
480. As a direct and proximate result of Defendant’s conduct, Plaintiff Stone has been damaged
    in excess of $7,500,000 and is entitled to attorneys fees, costs and expenses.
481. Wherefore, Plaintiff Stone seeks damages individually, jointly and severally against All
    Defendants in the sum of $7,500,000 together with all attorneys fees, costs and expenses.

   J. COUNT ELEVEN: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
        HARASSMENT, BULLYING, INTENTIONAL ABUSE OF AND TORTIOUS
       INTERFERENCE WITH FAMILY ASSOCIATION, INVASION OF PRIVACY,
                    FALSE LIGHT AND CIVIL EXTORTION
                        AGAINST ALL DEFENDANTS
482. The allegations in Paragraphs 1-481 are incorporated herein.
483. This is a count against All Defendants for injury by virtue of the intentional and extreme and
    outrageous nature of their conduct causing severe mental distress and deprivation of rights.
484. Defendants collude openly with Stone’s counsel and collude in secretive back-door deals.
485. Mark Francis Raymond has secretive business dealings with one of Plaintiff Stone’s counsel
    unbeknownst to her.
486. Mark Francis Raymond conjures devious insidious attacks on Plaintiff Stone in the presence
    of her counsel to undermine her.

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487. Many of the Defendants have threatened Plaintiff Stone’s counsel.
488. All Defendants deviously make it virtually impossible to Plaintiff Stone to retain counsel.
489. A vicious retaliatory bar complaint was filed against one of Plaintiff Stone’s counsel after
    she filed an affidavit reporting that she was threatened.
490. All Defendants have poisoned Plaintiff Stone’s counsel against her.
491. All Defendants have painted Plaintiff Stone in a false light.
492. All Defendants fabricated Plaintiff Stone’s false arrest as a result of their own criminal acts.
493. In performing each act ascribed to them each Defendant intended to cause, acted in reckless
    disregard of the likelihood of causing and did cause Stone extreme emotional distress.
494. As an actual and foreseeable result of the actions of Defendants, Plaintiff Stone has suffered
    severe emotional distress and resulting loss to business opportunities and income.
495. Wherefore Plaintiff Stone seeks damages individually, jointly and severally against
    Collusive Defendants in the sum of $10,000,000 with attorneys fees, costs and expenses.

   K. COUNT TWELVE: ABUSE OF PROCESS AND MALICIOUS PROSECUTION
     AGAINST NELSON MULLINS AND ALL ATTORNEYS AT NELSON MULLINS
        WHO ARE A PARTY HERETO; AND OPPENHEIMER AND CO AND
         OPPENHEIMER HOLDINGS AND ALL PARTIES EMPLOYED BY
                OPPENHEIMER WHO ARE A PARTY HERETO
                  (the Nelson Mullins/Oppenheimer Defendants”)
496. The allegations in Paragraphs 1 – 495 are incorporated herein.
497. This Count asserts a claim for malicious prosecution and deprivation of constitutional rights
    under color of law pursuant to 42 U.S.C. § 1983.
498. Malicious prosecution tort law seeks to protect against unjustifiable and unreasonable
    litigation. It requires a showing that the action was brought to harm the defendant or another
    improper motive. Malice is generally a wrongful intent, typically based in dislike of or
    animosity toward a person.
499. This may be shown by, among others, sloppy legal or factual research, disparaging
    comments, a great imbalance in power between the parties, or an apparent desire by the
    original plaintiff to intimidate or punish the original defendant.
500. It is glaringly obvious the Nelson Mullins/Oppenheimer Defendants are spewing their
    vengeance against Stone in the Nelson Mullins/Oppenheimer Embezzlement Racket using
    poisonous words against Stone to defame her and using Culture of Corruption Elmore for the
    purpose of seeking “revenge” on Stone.
501. Ironically Culture of Corruption Elmore is also being scammed by Nelson Mullins as the
    lawsuit by Culture of Corruption Elmore filed by Mark Francis Raymond is intended by him
    to benefit himself by carrying his personal vendetta against Stone.
502. Moreover, it could not be more apparent that Nelson Mullins, Mark Francis Raymond and
    Carl Rosen have orchestrated and is using a fake, fraudulent “guardianship” that Nelson

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     Mullins and Mark Francis Raymond orchestrated through a fraudulent Settlement Agreement
     that he illegally prepared on the basis of fraud on the court and fraud in the inducement.

                    VIII. BACKGROUND AS TO PLAINTIFF MARTINO

503. The allegations in Paragraphs 1 – 503 are incorporated herein.
504. Plaintiff Martino’s father, Roland T. Martino was being financially exploited by his daughter,
     Lena Fussell CPA.
505. She placed herself as sole beneficiary of his 800,000 dollar Morgan Stanley account when he
    had all 3 of his children listed as beneficiaries in his will.
506. Plaintiff Martino contacted Gerald Hemness Esq. who railroaded her into agreeing to filing a
    Petition for Guardianship with misinformation and false statements concerning guardianship.
507. Roland was wrongly incapacitated by an unqualified examining committee by state paid
    actors acting without capacity; medical training and without physical, mental or medical tests
    and on the basis of a 5 minute secretive “meeting”, falsely issued a fraudulent “opinion” of
    incapacity against Mr. Martino.
508. Mr. Martino, a competent vulnerable adult was then kidnapped and forced into
    “guardianship” where he was illegally stripped of all of his rights and subjected to physical
    abuse and atrocities in the nature of war crimes, isolated/forcibly disappeared from his family,
    left to languish alone, mercilessly drugged, unattended and deprived of medical attention;
    mental stimulation and association with his daughter, Plaintiff Martino, his grandchildren, his
    dog, and all former friends.
509. He was left with untreated urinary tract infections, shortness of breath, extreme confusion,
    drooling, and untimely incontinence care.
510. Plaintiff Martino has been falsely threatened with arrest for reporting her father’s abuse. Her
    home has been seized by an illegally judgment that was orchestrated by the guardian, Tracy
    Samuel Hudson.
511. Tracy Samuel Hudson has been arrested with first degree felony charges of elderly financial
    exploitation.
512. YET the fabricated accusations against Plaintiff Martino and the extortion attempts by the
    arrested guardian to steal Plaintiff Martino’s home are still being illegally perpetrated in the
    corrupt courts in collusion with the corrupt Florida Public State Actor Defendants who are
    orchestrating this charade.
513. A more complete statement of Plaintiff Martino’s claims are set forth in Exhibit F.
             IX.     STATEMENT OF CLAIMS AND COUNTS
                            BY PLAINTIFF MARTINO
                          A. COUNT ONE: RACKETEERING
                   AND CONSPIRACY TO COMMIT RACKETEERING
                        BROUGHT BY PLAINTIFF MARTINO

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        AGAINST THE FLORIDA PUBLIC STATE ACTOR DEFENDANTS
514. The provisions of paragraphs 1-513 are incorporated herein.
515. Plaintiff Martino hereby specifically incorporates, affirms and makes the same claims in
    their entirety set forth by Plaintiff Stone against the Florida Public State Actor Defendants in
    Article VII Paragraph D – Count Four.
516. The Florida Public State Actor Defendants conduct is directly related to the damages,
    financial injuries and emotional distress sustained by Plaintiff Martino.
517. As a direct and proximate result of the Florida Public State Actor Defendants violation of 18
    U.S.C. § 1962(a), Plaintiff Martino suffered the loss of valuable property, financial services
    and support, and suffered other business and pecuniary damages.
518. As a direct and proximate result of the Florida Public State Actor Defendants violation of 18
    U.S.C. § 1962(a), Plaintiff Martino has suffered severe emotional distress and damages.
519. The injuries and damages sustained by Plaintiff Martino were the direct and proximate result
    of the Florida Public State Actor Defendants’ commission of predicate acts defined by 18
    USC § 1961(1)(B) specifically including but not limited to 18 USC § 664 (relating to
    embezzlement, theft, unlawful abstracting from pension and welfare funds), 18 USC § 1343
    (relating to wire fraud).
520. The Florida Public State Actor Defendants did commit two (2) or more of the offenses in a
    manner which they calculated and premeditated intentionally to threaten continuity, i.e. a
    continuing threat of their respective racketeering activities by operating a Guardian Human
    Trafficking/Collusion Racket in violation of the RICO law at 18 U.S.C. § 1962(b).
521. As a direct and proximate result of the intentional and willful actions of the Florida Public
     State Actor, Plaintiff Martino has been damaged in excess of $25,000,000.
522. Wherefore Plaintiff Martino demands judgment be entered against each and every Florida
     Public State Actor Defendant each and every one of them, jointly and severally, in their
     individual and official capacities, including an award of compensatory and actual damages,
     punitive damages, and equitable relief, reasonable attorneys’ fees, interest and costs, and
     award in the sum of $25,000,000.00.
523. Wherefore, Plaintiff Martino individually demands that judgment be entered against the
    Florida Public State Actor Defendants each and every one of them, jointly and severally, an
    award of treble damages as consistent with 18 U.S.C. § 1964(c).
524. Plaintiff Martino demands declaratory and injunctive and other equitable relief against the
    Florida Public State Actor Defendants to cease their illegal acts.
525. This Court being notified of and made aware of the criminal racket is mandated to report
    these crimes to the authorities pursuant to Judicial Ethics and 18 USC 4.
         B. COUNT TWO: CONSPIRACY TO INTERFERE WITH RIGHTS
                       UNDER 18 U.S.C. § 1985; AND
               FAILURE TO PROTECT UNDER 42 U.S.C. § 1986; AND


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                DEPRIVATION OF RIGHTS UNDER COLOR OF LAW
                      UNDER 42 U.S.C. § 1983 AND 18 U.S.C. § 242
             AGAINST THE FLORIDA PUBLIC STATE ACTOR DEFENDANTS
526. The provisions of paragraphs 1-525 are incorporated herein.
527. Plaintiff Martino hereby specifically incorporates, affirms and makes the same claims in
    their entirety set forth by Plaintiff Stone against the Florida Public State Actor Defendant in
    Article VII Paragraph F – Count Six.
528. As a direct and proximate result of the Florida Public State Actor Defendants' actions,
    Plaintiff Martino’s interests were harmed and she was deprived of due process, equal
    protection of the laws and/or of equal privileges and immunities under the laws.
529. As a direct and proximate result of the Florida Public State Actor Defendants' actions as
    alleged in this Complaint, Plaintiff Martino has suffered bodily harm, loss of reputation, and
    other non-economic harm including emotional and mental distress, degradation,
    embarrassment, and humiliation for which Plaintiff Martino seeks compensation in an
    amount to be determined at trial by a jury.
530. As a direct and proximate result of the Florida State Actor Defendants' violation of Plaintiff
    Martino’s constitutionally guaranteed rights and their actions/inactions alleged in this
    Complaint, Plaintiff Martino has suffered severe economic loss in the form of loss of job and
    livelihood, investment and loss of future business, in an amount to be proven at jury trial.
531. Plaintiff Martino seeks compensatory damages against the Florida Public State Actor
     Defendants in an amount to be determined at trial by a jury.
532. The Florida Public State Actor Defendants' actions were intentional, willful, and with
    reckless disregard to Plaintiff Martino's rights. Such conduct exceeds the bounds of social
    toleration and is of the type that punitive damages deter. Plaintiff Martino seeks an award of
    punitive damages in an amount to be determined at trial by a jury.
533. Plaintiff Martino seeks injunctive relief to enjoin the Florida Public State Actor Defendants,
    its owners, officers, management personnel, employees, agents, successors, and assigns, and
    all persons in active concert or participation with the Florida Public State Actor Defendants,
    from engaging in any practice which discriminates against its citizens and their right to equal
    protection of the laws and/or of equal privileges and immunities under the laws on account of
    their race, on such terms as the court may direct.
534. Plaintiff Martino is entitled to reasonable attorneys' fees and costs incurred, including expert
    witness fees, pursuant to 42 U.S.C. § 1988.
535. By reason of the wrongful conduct of the Florida Public State Actor Defendants, each and
    every one of them, jointly and severally, Plaintiff Martino has suffered harm in the form of
    having her guaranteed Constitutional rights violated, her business and property rights have
    been violated, and her rights and property under the due process clause of the U.S.



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    Constitution and her freedom of speech and association guaranteed to Plaintiff Martino under
    the U.S. Constitution have been severely comprised.
 536. The Florida Public State Actor Defendants conspire in the operation of a façade of a court
     to run a Guardian Human Trafficking/Corruption Racket in violation of Plaintiff Martino’s
     equal rights under 42 U.S. Code § 1961.
 537. The Florida Public State Actor Defendants are maliciously retaliating against and
     intimidating Plaintiff Martino for exposing and opposing their corrupt activities.
 538. The Florida State Actor Defendants are violating 42 U.S.C. § 12203.
539. As a direct and proximate result of the Florida State Actor Defendants violation of 18 U.S.C.
     § 1962(a), Plaintiff Martino suffered the loss of valuable property, financial services and
     support, and suffered other business and pecuniary damages.
540. As a direct and proximate result of the Florida Public State Actor Defendants violation of 18
     U.S.C. § 1962(a), Plaintiff Martino suffered severe emotional distress.
541. Wherefore, Plaintiff Martino seeks an award of damages in individually, jointly and
     severally against the Florida Public State Actor Defendants in the sum of $25,000,000
     together with all attorneys’ fees, costs and expenses.
542. Plaintiff Martino seeks an order enjoining the State Attorney defendant from providing
     representation to any Defendant set forth herein.

        C. COUNT THREE: DISCRIMINATION AND RETALIATION IN VIOLATION
                      OF AMERICANS WITH DISABILITIES ACT
             AGAINST THE FLORIDA PUBLIC STATE ACTOR DEFENDANTS
 543. The allegations set forth in Paragraphs 1-542 are incorporated herein.
 544. Plaintiff Martino hereby specifically incorporates, affirms and makes the same claims in
     their entirety set forth by Plaintiff Stone against the Florida Public State Actor Defendants in
     Article VII Paragraph G – Count Seven.
545. As the direct and proximate result of the foregoing acts of discrimination, retaliation and
     violations of the ADA, Plaintiff Martino has denied and deprived of due process of law and
     equal protection under the law by the public entity, the State Probate Court and Plaintiff
     Martino and her father cannot receive a fair, unbiased and prejudice-free process in the venue
     of the public entity, the Florida Probate Courts.
546. Wherefore, Plaintiff Martino demands that judgment be entered against the Florida Public
     State Actor Defendants each and every one of them, jointly and severally, compensatory and
     punitive damages in the sum of $25,000,000 and attorneys fees and costs.

                X.      BACKGROUND AS TO PLAINTIFF SARHAN
547. The allegations set forth in Paragraphs 1-436 are incorporated herein.
548. Plaintiff, Sarhan’s mother, Yvonne Sarhan was murdered by the Guardian Human
     Trafficking/Corruption Racket.

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 549. Mrs. Sarhan DIED from cardiac arrest after being administered illegal psychotropic drugs that
      contain black box warning against their use by elderly adults as they cause cardiac arrest.
 550. Dr. Sarhan frantically pleaded for his beautiful mother’s life in state and federal courts
      throughout Florida, each of whom colluded with the Florida Sponsored Guardians Racket
      and denied relief.
 551. Mrs. Sarhan was subjected to acts of terror and war crimes throughout the “guardianship” to
      incite fabricated litigation in order to embezzle her life savings and her home.
552. Dr. Sarhan lost his home to a fraudulent foreclosure as he spent his life savings trying to save
     his mother’s life and fell prey to a mortgage fraud scheme during the time he spent fighting
     for his mother’s life.
553. A more complete statement of Plaintiff Sarhan’s claim are set forth in Exhibit G.

              XI.    STATEMENT OF CLAIMS AND COUNTS
                            BY PLAINTIFF SARHAN
                    A. COUNT ONE: RACKETEERING
               AND CONSPIRACY TO COMMIT RACKETEERING
                     BROUGHT BY PLAINTIFF SARHAN
          AGAINST THE FLORIDA PUBLIC STATE ACTOR DEFENDANTS
 554. The provisions of paragraphs 1-553 are incorporated herein.
 555. Plaintiff Sarhan hereby specifically incorporates, affirms and makes the same claims in their
     entirety set forth by Plaintiff Stone against the Florida Public State Actor Defendants in
     Article VII Paragraph D – Count Four.
 556. The Florida Public State Actor Defendants conduct is directly related to the damages,
     financial injuries and emotional distress sustained by Plaintiff Sarhan.
 557. As a direct and proximate result of the Florida Public State Actor Defendants violation of 18
     U.S.C. § 1962(a), Plaintiff Sarhan suffered the loss of valuable property, financial services
     and support, and suffered other business and pecuniary damages.
 558. As a direct and proximate result of the Florida Public State Actor Defendants violation of 18
     U.S.C. § 1962(a), Plaintiff Sarhan has suffered severe emotional distress and damages.
 559. The injuries and damages sustained by Plaintiff Sarhan were the direct and proximate result
     of the Florida Public State Actor Defendants’ commission of predicate acts defined by 18
     USC § 1961(1)(B) specifically including but not limited to 18 USC § 664 (relating to
     embezzlement, theft, unlawful abstracting from pension and welfare funds), 18 USC § 1343
     (relating to wire fraud).
 560. The Florida Public State Actor Defendants did commit two (2) or more offenses itemized
     herein in a manner they calculated and premeditated intentionally to threaten continuity, i.e. a
     continuing threat of their respective racketeering activities by operating a Guardian Human
     Trafficking/Collusion Racket in violation of the RICO law at 18 U.S.C. § 1962(b).


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561. As a direct and proximate result of the intentional and willful actions of the Florida Public
     State Actor, Plaintiff Sarhan has been damaged in excess of $25,000,000.
562. Wherefore Plaintiff Sarhan demands judgment be entered against each and every Florida
     Public State Actor Defendant each and every one of them, jointly and severally, in their
     individual and official capacities, including an award of compensatory and actual damages,
     punitive damages, and equitable relief, reasonable attorneys’ fees, interest and costs, and
     award in the sum of $25,000,000.00.
563. Wherefore, Plaintiff Sarhan individually demands that judgment be entered against the
    Florida Public State Actor Defendants each and every one of them, jointly and severally, an
    award of treble damages as consistent with 18 U.S.C. § 1964(c).
564. Plaintiff Sarhan demands declaratory and injunctive and other equitable relief against the
    Florida Public State Actor Defendants to cease their illegal acts.
565. This Court being notified of and made aware of the criminal racket is mandated to report
    these crimes to the authorities pursuant to Judicial Ethics and 18 USC 4.
         D. COUNT TWO: CONSPIRACY TO INTERFERE WITH RIGHTS
                       UNDER 18 U.S.C. § 1985; AND
               FAILURE TO PROTECT UNDER 42 U.S.C. § 1986; AND
               DEPRIVATION OF RIGHTS UNDER COLOR OF LAW
                     UNDER 42 U.S.C. § 1983 AND 18 U.S.C. § 242
            AGAINST THE FLORIDA PUBLIC STATE ACTOR DEFENDANTS
566. The provisions of paragraphs 1-514 are incorporated herein.
567. Plaintiff Sarhan hereby specifically incorporates, affirms and makes the same claims in their
    entirety set forth by Plaintiff Stone against the Florida Public State Actor Defendant in
    Article VII Paragraph F – Count Six.
568. As a direct and proximate result of the Florida Public State Actor Defendants' actions,
    Plaintiff Sarhan’s interests were harmed and she was deprived of due process, equal
    protection of the laws and/or of equal privileges and immunities under the laws.
569. As a direct and proximate result of the Florida Public State Actor Defendants' actions as
    alleged in this Complaint, Plaintiff Sarhan has suffered bodily harm, loss of reputation, and
    other non-economic harm including emotional and mental distress, degradation,
    embarrassment, and humiliation for which Plaintiff Sarhan seeks compensation in an amount
    to be determined at trial by a jury.
570. As a direct and proximate result of the Florida State Actor Defendants' violation of Plaintiff
    Sarhan’s constitutionally guaranteed rights and their actions/inactions alleged in this
    Complaint, Plaintiff Sarhan has suffered severe economic loss in the form of loss of job and
    livelihood, investment and loss of future business, in an amount to be proven at trial, plus
    interest.



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571. Plaintiff Sarhan seeks compensatory damages against the Florida Public State Actor
     Defendants in an amount to be determined at trial by a jury.
572. The Florida Public State Actor Defendants' actions were intentional, willful, and with
    reckless disregard to Plaintiff Sarhan's rights. Such conduct exceeds the bounds of social
    toleration and is of the type that punitive damages deter. Plaintiff Sarhan seeks an award of
    punitive damages in an amount to be determined at trial by a jury.
573. Plaintiff Sarhan seeks injunctive relief to enjoin the Florida Public State Actor Defendants,
    its owners, officers, management personnel, employees, agents, successors, and assigns, and
    all persons in active concert or participation with the Florida Public State Actor Defendants,
    from engaging in any practice which discriminates against its citizens and their right to equal
    protection of the laws and/or of equal privileges and immunities under the laws on account of
    their race, on such terms as the court may direct.
574. Plaintiff Sarhan is entitled to reasonable attorneys' fees and costs incurred, including expert
    witness fees, pursuant to 42 U.S.C. § 1988.
575. By reason of the wrongful conduct of the Florida Public State Actor Defendants, each and
    every one of them, jointly and severally, Plaintiff Sarhan has suffered harm in the form of
    having her guaranteed Constitutional rights violated, her business and property rights have
    been violated, and her rights and property under the due process clause of the U.S.
    Constitution and her freedom of speech and association guaranteed to Plaintiff Sarhan under
    the U.S. Constitution have been severely comprised.
 576. The Florida Public State Actor Defendants conspire in the operation of a façade of a court
     to run a Guardian Human Trafficking/Corruption Racket in violation of Plaintiff Sarhan’s
     equal rights under 42 U.S. Code § 1961.
 577. The Florida Public State Actor Defendants are maliciously retaliating against Plaintiff
     Sarhan and intimidating Plaintiff Sarhan for exposing and opposing their corrupt color of
     law activities.
 578. The Florida State Actor Defendants are violating 42 U.S.C. § 12203.
579. As a direct and proximate result of the Florida State Actor Defendants violation of 18 U.S.C.
     § 1962(a), Plaintiff Sarhan suffered the loss of valuable property, financial services and
     support, and suffered other business and pecuniary damages.
580. As a direct and proximate result of the Florida Public State Actor Defendants violation of 18
     U.S.C. § 1962(a), Plaintiff Sarhan suffered severe emotional distress.
581. Wherefore, Plaintiff Sarhan seeks an award of damages in individually, jointly and severally
     against the Florida Public State Actor Defendants in the sum of $25,000,000 together with
     all attorneys’ fees, costs and expenses.
582. Plaintiff Sarhan seeks an order enjoining the State Attorney defendant from providing
     representation to any Defendant set forth herein.




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            E. COUNT THREE: DISCRIMINATION AND RETALIATION IN VIOLATION
                          OF AMERICANS WITH DISABILITIES ACT
                 AGAINST THE FLORIDA PUBLIC STATE ACTOR DEFENDANTS
 583. The allegations set forth in Paragraphs 1-436 are incorporated herein.
 584. Plaintiff Sarhan hereby specifically incorporates, affirms and makes the same claims in their
     entirety set forth by Plaintiff Stone against the Florida Public State Actor Defendants in
     Article VII Paragraph G – Count Seven.
585. As the direct and proximate result of the foregoing acts of discrimination, retaliation and
     violations of the ADA, Plaintiff Sarhan has denied and deprived of due process of law and
     equal protection under the law by the public entity, the State Probate Court and Plaintiff
     Sarhan and his mother cannot receive a fair, unbiased and prejudice-free process in the venue
     of the public entity, the Florida Probate Courts.
586. Wherefore, Plaintiff Sarhan demands that judgment be entered against the Florida Public
     State Actor Defendants each and every one of them, jointly and severally, compensatory and
     punitive damages in the sum of $25,000,000 and attorneys fees and costs.

                                      XII.    THERE IS NO IMMUNITY
 587. The provisions of Paragraphs 1 –586 are incorporated herein.
 588. Immunity is illegal. It is a farce, an utter and preposterous fraud and scam on the public.
 589. No one, including American public servants wearing black robes or other public servants,
       including the Florida Public State Actor Defendants who are paid by the public are immune
       from violation of the Constitution, misconduct or criminal acts.
 590. IN FACT, THEY ARE HELD TO A HIGHER STANDARD BY VIRTUE OF THEIR
       POSITION AND A HIGHER STANDARD TO KNOW AND FOLLOW THE LAW.
 591. Therefore, any violation or breach of the Constitution OR ANY LAW should make them
       civilly liable for compensation and punitive damages but criminally liable – not only for
       violating the law but for criminal acts including engaging in honest services fraud 81and fraud
       and false statements. 82
592. Public officials and judges have no immunity, as officials and judges are deemed to know the
     law and sworn to uphold the law; and cannot claim to act in good faith in willful deprivation
     of law, they certainly cannot plead ignorance of the law, even the Citizen cannot plead
     ignorance of the law, the courts have ruled there is no such thing as ignorance of the law, it is
     ludicrous for learned officials and judges to plead ignorance of the law therefore there is no
     immunity, judicial or otherwise, in matters of rights secured by the Constitution for the United
     States of America. (See: Owen vs. City of Independence, 100 S Ct. 1398; Maine vs.
     Thiboutot, 100 S. Ct. 2502; and Hafer vs. Melo, 502 U.S. 21; Title 42 U.S.C. Sec. 1983).
  81
       18 U.S. Code § 1346.Definition of “scheme or artifice to defraud”
  82
       18 U.S. Code § 1001.Fraud and false statement


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593. Even using the standards of the self-serving and self- interest judicial system, judicial
      immunity flies in the face of “commonsense” the fundamental principle of the America
      legal system as shown herein.
594. Judicial Immunity on its face contradicts the Constitution. The Constitution either sets the
      limits of "Jurisdiction" or it does not. If it does, then a judge has no jurisdiction to do what
      it forbids, nor to do what it commands or allows in ways it forbids; nor can he change
      that legal reality by redefining words. "Subject matter jurisdiction" means the jurisdiction to
      do what the supreme law of the land commands, and no other.
595. Judicial immunity fails under the right to petition for redress of grievances under the First
      Amendment of the Constitution.
      a. In U.S. v Hylton the Fifth Circuit held that filing a complaint against federal
           officers with state agencies is a petition for redress protected by the Petition Clause, at
           710 F2d 1111:
              "As the U.S. Supreme Court has held, the right to petition for redress of grievances
              is 'among the most precious of the liberties safeguarded in the bill of rights'. (Cites)
              Inseparable from the guaranteed rights entrenched in the First Amendment, the
              right to petition for redress of grievances occupies a “preferred place” in our
              system of representative government and enjoys a 'sanctity and a sanction
              not permitting dubious intrusions.' Thomas v Collins, 323 US 516; 65 S.Ct 315,
              322. Indeed, 'It was not by accident or coincidence that the rights to freedom
              in speech and press were coupled in a single guarantee with the rights of the people
              peaceably to assemble and to petition for redress of grievances.' Id. at 323."
      b. The Supreme Court has declared in California Transport v Trucking Unlimited, 404 US
           508, 510 (1972):
              "Certainly the right to petition extends to all departments of the Government. The right
              of access to the courts is but one aspect of the right of petition." The right of access to
              the courts is but one aspect of the right of petition." California Transport v Trucking
              Unlimited, 404 US 508, 510 (1972).
      c. The California Supreme Court, based on an analysis of Supreme Court holdings, found:
                 "The authorities make it clear that the right of petition protects attempts to obtain
                 redress through the institution of judicial proceedings as well as
                 through importuning executive officials and the Legislature. It is equally
                 apparent that the right encompasses the act of filing a lawsuit solely to obtain
                 monetary compensation for individualized wrongs, as well as filing suit to draw
                 attention to issues of broader public interest or political significance
      d. The Supreme Court stated in Mine Workers v Illinois Bar Assn 318 US 217, 223,
               “The First Amendment does not protect speech and assembly only to the extent it
                can be characterized as political.” (see also Thomas v Collins, supra, 323 US 516,
                531) Hence, the act of filing suit against a governmental entity represents
                an exercise of the right of petition and thus invokes constitutional protection."
                City of Long Beach v Bozek, 31 Cal.3d 527, at 533-534 (1982). "The right of
                petition is of parallel importance to the right of free speech and the other
                overlapping, cognate rights contained in the First Amendment and in equivalent

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               provisions of the California Constitution. Although it has seldom been
               independently analyzed, it does contain an inherent meaning and scope
               distinct from the right of free speech. It is essential to protect the ability of those
               who        perceive      themselves      to be       aggrieved by the      activities of
               governmental authorities to seek redress through all the channels of government.
               A tort action against a municipality is but one of the available means of seeking
               redress." City of Long Beach v Bozek, 31 Cal.3d 527, at 535.
596. U.S. Const. amend. XIV, § 1 provide no state shall “deprive any person of life, liberty, or
      property, without due process of law.”. A violation of procedural due process occurs where
      the state fails to provide due process in the deprivation of a protected liberty interest.
      McKinney v. Pate, 20 F.3d 1550, 1557 (11th Cir. 1994) (en banc). On the other hand, a
      violation of substantive due process occurs where an individual’s fundamental rights, those
      “implicit in the concept of ordered liberty,” are infringed—no matter the fairness of the
      procedure. Id. at 1556.
597. Immunity is an illegal, irrational policy of government coercively taking rights and property,
      without due process; it is a systemic injustice by government upon the governed.
598. Government officials cannot illegally grant themselves immunity from their own misconduct
      in violation of the Constitution. This premise is irrational, unlawful and incomprehensible; a
      false body of law that begins with a contradiction:
      a. A constitution that "implies" a right for judges or other government officials to violate it
           with impunity is not a constitution at all, but a license to violate rights under color of
           judicial fiat.
      b. Unenforceable rights are not rights at all.
599. Judicial immunity is an immensely effective device for depreciating human dignity. It
      degrades a litigant the human respect to which they are due under the Constitution.
600. Judicial immunity is not lawful as it deprives litigants of all remedies:
      a. When a litigant is deprived of Constitutional rights and is subjected to crimes under 18
            USC 241/242, judicial immunity bars civil damage remedy.
      b. It deprives a litigant of injunctive relief to restrain violation of civil rights.
      c. It cuts off the rights of a litigant to criminal remedies as for example, 42 USC 1987
            commands the U.S. Attorney to prosecute for crimes all persons who violate 18 USC
            241/242.
601. When a Judge knows that he lacks jurisdiction or acts in the face of clearly valid statutes
      expressly depriving him of jurisdiction, judicial immunity is lost. Rankin v. Howard (1980)
      633 F. 2d 844, cert den. Zeller v. Rankin, 101 S.Ct. 2020, 451 U.S. 939, 68 L.Ed 2d 326.
602. No judge or government official has "jurisdiction" to violate constitutional rights. A
      constitution that "implies" a right for judges to violate it with impunity is not a constitution at
      all, but a license to violate rights under color of judicial fiat.
      a. "Judicial immunity is no defense to a judge acting in the clear absence of
            jurisdiction." Bradley v. Fisher, US 13 Wall 335 (1871)
      b. "Judges may be punished criminally for willful deprivation of...rights on the strength of 18
            U.S.C. 242." Imbler v. Pachtman, US 47 L Ed 2d 128, 96 S Ct 37. "Judges have no

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           immunity from prosecution for their judicial acts." Bradley v. Fisher, US 13 Wall
           335(1871)
603. Moreover, under Article I, only Congress can make law; under Article IV, only the
     Constitution and law made pursuant to it, not in derogation of it, are the Supreme Law of
     the Land; and under Article VI, all judges are sworn to support "This Constitution."
604. There are many federal statutes that encourage private enforcement by allowing prevailing
     plaintiffs to collect attorney's fees. The object of RICO is thus not merely to compensate
     victims "but to turn them into prosecutors," acting as "private attorneys generals," dedicated to
     eliminating racketeering activity, and has the "further purpose [of] encouraging potential
     private plaintiffs diligently to investigate." (Malley-Duff, 483 U.S., at 151; 3 Id., at 187), and
     have been awarded judgments declaring entire cities, townships and counties corrupt criminal
     enterprises. "The provision for treble damages is accordingly justified by the expected benefit
     of suppressing racketeering activity, an object pursued the sooner the better." (Rotella v.
     Wood et al., 528 U.S. 549 (2000); Dasher v. Housing Authority of City of Atlanta, Ga.,
     D.C.Ga., 64 F.R.D. 720, 722; See also Equal Access to Justice Act, and Civil Rights
     Attorney's Fees Award Act of 1976)
605. The Eleventh Amendment does not protect state officials from claims for prospective relief
     when it is alleged that state officials acted in violation of federal law (Warnock v. Pecos
     County, Tex., 88 F3d 341 (5th Cir. 1996), “Officers of the court have no immunity, when
     violating a Constitutional right, from liability. For they are deemed to know the law.” (Owen
     v. Independence, 100 S.C.T. 1398, 445 US 622), and Inadequate training of subordinates may
     be basis for title 42 subsection 1983 claim. (Mandonado-Denis v. Castillo-Rodriguez, 23 F.3d
     576 (1st Cir. 1994). "Public officers are merely the agents of the public, whose powers and
     authority are defined and limited by law. Any act without the scope of the authority so defined
     does not bind the principal, and all persons dealing with such agents are charged with
     knowledge of the extent of their authority. (Continental Casualty Co. v. United States, 113
     F.2d 284, 286 (5th Cir. 1940)).
606. When the judiciary creates an institution to deprive injured persons of redress based upon
     twists in the meaning of "jurisdiction," and when it creates case law (with roots in "Floyd
     and Barker, reported by Coke, in 1608, (12 Coke 25)") to deprive injured persons
     of remedies for violating Our Constitution, why is that not an institution of involuntary
     servitude prohibited by the Thirteenth Amendment? The Supreme Court in Yick Wo v
     Hopkins, 118 US 356, 370 (1886) found that:
       “For, the very idea that one man may be compelled to hold his life, or the means of
       living, or any material right essential to the enjoyment of life, at the mere will of another,
       seems to be intolerable in any country where freedom prevails, as being the essence of
       slavery itself."
     Here, the Supreme Court declared that the essence of slavery is the holding of any material
     right essential to the enjoyment of life at the mere will of another. How much worse a


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      betrayal of the human spirit that such rights be lost at the whim of the judicial branch of
      one's own government to whom he turns for protection of those rights! [Emph. J4J]
607. Judicial immunity violates equal protection.
608. Judicial immunity undermines judicial credibility.
609. With respect to the impairment of judicial function, the day of judicial immunity is barbaric.
      The respectability and usefulness of the judiciary depends upon the soundness of judicial
      principle and reasoning, not immunity from accountability.
610. No judge has "jurisdiction" to violate constitutional rights. In the sense by which immunity
      attaches, "jurisdiction" means the "personal right of the judge to do as he pleases." As so used,
      it is an arbitrary and capricious designation that violates Due Process of Law.                A
      "Jurisdiction" arising under the Constitution that violates due process is a contradiction and
      can hardly be the basis for a legitimate judicial doctrine. Judicial immunity, which comes
      from the same intellectual era as Dred Scott, prevents development of ideas and institutions
      for government accountability to the People under the Constitution for its wrongs to them. It
      is an anti-democratic institution in a democratic age.
611. Judicial immunity has created a kingship of the judiciary and designed "judicial supremacy"
      over the Constitution: "[W]e are harnessed with a judiciary that insists on immunity from the
      people based in the bygone philosophy of 'The Divine Right of Kings.' Per Justice Jay, the
      'reason' America adopted that medieval judicial philosophy is his lack of the courage of
      constitutional conviction. A few years later, Justice Marshall designed judicial supremacy
      over the Constitution so that it now means whatever The Court says that it means. Between
      them, they found a novel way to avoid the 'messy business' of amending the Constitution. We
      can call that 'Constitutional Amendment by Judicial Fiat.' It is not legal, and in effect, it
      undermines the entire reason for having a constitution at all.” 83
612. Reference should be made to the Cato Journal, Vol.7, No.2 (Fall 1987)84 which states:
      “In just 20 years, these precedents and others like them have established near-total judicial
      immunity as a settled feature of American law. Under the current doctrine, any act performed
      in a “judicial capacity” is shielded from suit. Thus, the simple expedient of disguising a
      corrupt act as a routine judicial function guarantees immunity from suit.
613. In no other area of American life are public officials granted such license to engage in abuse of
      power and intentional disregard of the Constitution and laws they are sworn to defend. Those
      who are harmed, no matter how extensive and irreparable the injury, are deprived of any
      method of obtaining compensation. They are confined to disciplinary actions that only rarely
      result in the judge’s removal from office despite the troubling frequency of judicial abuses
      (see Alschuler 1972).


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       31 UWLA Law Review [p.269]
  84
       https://object.cato.org/sites/cato.org/files/serials/files/cato-journal/1987/11/cj7n2-13.pdf


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                              XIII. TRIAL BY JURY
614. The provisions of Paragraphs 1 –613 are incorporated herein.
615. Plaintiffs seek and demand a Trial by Jury on each claim for damages set out herein.

             XIV. OBJECTION TO AND NO CONSENT TO MAGISTRATE
616. The provisions of Paragraphs 1 –615 are incorporated herein.
617. Plaintiffs do not recognize the jurisdiction of any magistrate judge and object and do not
    consent to a magistrate judge nor any involvement by a magistrate whatsoever in this matter.

  XV.     RESERVATION OF RIGHTS AND DEMAND FOR EQUITY AND JUSTICE
618. The provisions of Paragraphs 1 –617 are incorporated herein.
619. Plaintiffs reserve the right to liberally amend and supplement this Complaint as is their right
    by law as sui juris Plaintiffs and as is their right under fundamental principles of the
    Constitution.
620. This is all the more mandated in light of the restrictions imposed by the corona virus.
621. Plaintiffs demand liberal “discovery” uncover the mountain of fraud and cover up inherent in
    any racket but particularly in a racket perpetrated by predators under the guise of state actors.
622. Plaintiff demand the same powers afforded to law enforcement including the power to
    execute wiretaps, search warrants and seize court records.

                        IX.       REMEDIES AND DAMAGES
623. The provisions of Paragraphs 1 –622 are incorporated herein.
624. Plaintiff Stone seeks:
      a. compensatory, punitive and treble damages; damages for emotional distress and pain
          and suffering; and attorneys fees, costs, expenses and interest against the Defendants as
          set forth herein;
      b. separate and special damages for aggravating circumstances against Nelson Mullins and
          the parties employed by Nelson Mullins who are sued herein as set forth herein and
          attorneys fees, costs, expenses and interest as set forth herein;
      c. separate and special damages for aggravating circumstances against Oppenheimer and
          Co. and Oppenheimer Holdings and the parties employed by the foregoing parties who
          are sued herein as set forth herein; and
      d. all other remedy requested herein.
625. Plaintiff Martino seeks:
      a. compensatory, punitive and treble damages; damages for emotional distress and pain
          and suffering; and attorneys fees, costs, expenses and interest against the Defendants as
          set forth herein;
      b. all other remedy requested herein.
626. Plaintiff Sarhan seeks:

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      a. compensatory, punitive and treble damages; damages for emotional distress and pain
          and suffering; and attorneys fees, costs, expenses and interest against the Defendants as
          set forth herein;
      b. all other remedy requested herein.
627. All Plaintiffs seek:
      a. In addition to the damages set forth in each Plaintiff’s individual counts, Plaintiff Stone,
          Plaintiff Sarhan and Plaintiff Martino collectively seek an additional award of
          $1,000,000,000 (One Billion dollars) from Defendant, Jimmy Patronis, Florida Risk
          Management Fund to be applied to a fund to be established on behalf of victims of the
          Guardian Human Trafficking/Collusion Guardian Racket; and
      b. Criminal remedy including:
            i. As done by Congress and Courts where documented allegations of crimes are made
                in a civil proceeding, Plaintiffs seek the issuance of an Order requiring a Federal
                Grand Jury and/or Transfer of this matter to the F.B.I. and D.O.J.for investigation
                and arrests of the crimes set forth herein and they issue subpoenas, wiretap and
                confiscate all documents, computers, telephone records, medical, bank and all other
                records, all communications and other documents involved in this matter;
           ii. An Order requiring Defendant Donald J Trump to issue Executive Orders requiring
                criminal investigation of the Guardian Human Trafficking/Collusion Racket; and
          iii. Plaintiff Stone, Plaintiff Martino and Plaintiff Sarhan seek a Speedy Trial /Trial by
                Jury under Rules 38 and hearing on actual damages, general, compensatory,
                punitive and treble damages as set forth below for violations of rights, privileges
                and immunities including but not limited to due process of 1aw both procedurally
                and substantively, pain, suffering, mental and emotional distress and applicable
                fees, costs and interests as allowed by law.
 628. Plaintiff Stone, Plaintiff Martino and Plaintiff Sarhan seek this Court order any other relief
    the Court deems just or proper.
                        XV.     CERTIFICATION AND CLOSING
 Under Federal Rule of Civil Procedure 11, by signing below, we certify to the best of our
 knowledge, information, and belief that this complaint: (1) is not being presented for an improper
 purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of litigation;
 (2) is supported by existing law or by a non-frivolous argument for extending, modifying, or
 reversing existing law; (3) the factual contentions have evidentiary support or, if specifically so
 identified, will likely have evidentiary support after a reasonable opportunity for further
 investigation or discovery; and (4) the complaint otherwise complies with the requirements of
 Rule 11.

 We agree to provide the Clerk’s Office with any changes to our address where case-related
 papers may be served. We understand that failure to keep a current address on file with the
 Clerk’s Office may result in dismissal.

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